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                                                                                           APLBAP, DirApl




                                     U.S. Bankruptcy Court
                                  District of Colorado (Denver)
                             Adversary Proceeding #: 17−01274−KHT

   Assigned to: Kimberley H. Tyson                                  Date Filed: 07/12/17
   Lead BK Case: 09−37480
   Lead BK Title: Byron Patterson McDaniel, JR and Laura Paige
   McDaniel
   Lead BK Chapter: 13
   Demand: $50000
    Nature[s] of Suit: 63 Dischargeability − 523(a)(8), student loan
                       11 Recovery of money/property − 542 turnover of property



   Plaintiff
   −−−−−−−−−−−−−−−−−−−−−−−
   Byron Patterson McDaniel, JR                      represented by Austin C. Smith
   20349 Vista Circle                                               3 Mitchell Place, Ste. 5
   Parker, CO 80138                                                 New York, NY 10017
   SSN / ITIN: xxx−xx−4055                                          917−992−2121
                                                                    Email: austin@acsmithlawgroup.com
                                                                    LEAD ATTORNEY


   Plaintiff
   −−−−−−−−−−−−−−−−−−−−−−−
   Laura Paige McDaniel                              represented by Austin C. Smith
   20349 Vista Circle                                               (See above for address)
   Parker, CO 80138
   SSN / ITIN: xxx−xx−1580


   V.

   Defendant
   −−−−−−−−−−−−−−−−−−−−−−−
   Navient Solutions Inc.                            represented by Eric E. Johnson
                                                                    633 17th St.
                                                                    Ste. 3000
                                                                    Denver, CO 80202
                                                                    303−297−2900
                                                                    Fax : 303−298−0940
                                                                    Email: ejohnson@shermanhoward.com

                                                                    Carla Martin
                                                                    633 17th St.
                                                                    Ste. 3000
                                                                    Denver, CO 80202
                                                                    303−297−2900
                                                                    Fax : 303−298−0940
                                                                    Email: cmartin@shermanhoward.com


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     Filing Date    #                                        Docket Text

                        1    Adversary case 17−01274. Complaint by Byron Patterson McDaniel JR,
                             Laura Paige McDaniel against Navient Solutions Inc.. The Plaintiff in this
                             adversary proceeding is either the debtor in an underlying chapter 7 or 13
                             case, or the United States other than the U.S. Trustee acting as a trustee in
                             the underlying bankruptcy case. Pursuant to paragraph (6) of the
                             Bankruptcy Court Miscellaneous Fee Schedule, there is no fee to file an
                             adversary proceeding when the plaintiff is the United States, other than a
                             U.S. Trustee acting as a trustee in a case, or the debtor in a chapter 7 or 13
                             case. Accordingly, this adversary proceeding shall be commenced without
                             payment of the filing fee.. Adversary Status Deadline 11/9/2017
                             (Attachments: # 1 Exhibit Exhibit A # 2 Exhibit B # 3 Exhibit Exhibit C #
                             4 Other AP Cover Sheet) (63 (Dischargeability − 523(a)(8), student
                             loan)),(11 (Recovery of money/property − 542 turnover of property))
    07/12/2017               (Smith, Austin) (Entered: 07/12/2017)

                        2    Summons Issued on Navient Solutions Inc. Answer Due 08/11/2017.
                             Government Agencies Are Allowed 35 Days From Service Of The
                             Summons To Answer This Complaint. Notice To Litigants required to be
                             served with Summons per General Procedure Order. (Smith, Austin)
    07/12/2017               (Entered: 07/12/2017)

                        3    Summons Service Executed On: Navient Solutions LLC on July 15, 2017
                             Filed by Austin C. Smith on behalf of Byron Patterson McDaniel JR,
    07/18/2017               Laura Paige McDaniel. (Smith, Austin) (Entered: 07/18/2017)

                        4    Unopposed Motion to Extend Time To File Answer to Complaint Filed by
                             Eric E. Johnson on behalf of Navient Solutions Inc. (related document(s):1
                             Complaint). (Attachments: # 1 Proposed/Unsigned Order) (Johnson, Eric)
    08/09/2017               (Entered: 08/09/2017)

                        5    Amended Motion to Extend Time To File Answer to Complaint Filed by
                             Eric E. Johnson on behalf of Navient Solutions Inc. (related document(s):1
                             Complaint). (Attachments: # 1 Proposed/Unsigned Order) (Johnson, Eric)
    08/15/2017               (Entered: 08/15/2017)

                        6    Order Granting Motion to Extend Time To File Answer to Complaint
                             Navient Solutions Inc. Answer Due 10/10/2017 (related document(s):4
                             Motion to Extend Time To File Answer to Complaint, 5 Motion to Extend
    08/15/2017               Time To File Answer to Complaint). (mcs) (Entered: 08/15/2017)

                        7    Courts Notice or Order and BNC Certificate of Mailing (related
                             document(s)6 Order on Motion to Extend Time To File Answer to
                             Complaint). No. of Notices: 5. Notice Date 08/17/2017. (Admin.)
    08/17/2017               (Entered: 08/17/2017)

                        8    Motion to Dismiss Adversary Proceeding Filed by Eric E. Johnson on
                             behalf of Navient Solutions Inc. (related document(s):1 Complaint).
                             (Attachments: # 1 Proposed/Unsigned Order) (Johnson, Eric) (Entered:
    10/10/2017               10/10/2017)

                        9    Notice of Appearance and Request for Notice Filed by Carla Martin on
    10/11/2017               behalf of Navient Solutions Inc.. (Martin, Carla) (Entered: 10/11/2017)

                        10   Response Filed by Austin C. Smith on behalf of Byron Patterson
                             McDaniel JR, Laura Paige McDaniel (related document(s):8 Motion to
                             Dismiss Adversary Proceeding). (Attachments: # 1 Exhibit A # 2 Exhibit
    10/24/2017               B # 3 Exhibit C) (Smith, Austin) (Entered: 10/24/2017)
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                       11   Unopposed Motion for Leave to File Reply in Support of Its Motion to
                            Dismiss Filed by Eric E. Johnson on behalf of Navient Solutions Inc.
                            (related document(s):8 Motion to Dismiss Adversary Proceeding, 10
                            Response). (Attachments: # 1 Proposed/Unsigned Order) (Johnson, Eric)
    10/26/2017              (Entered: 10/26/2017)

                       12   ORDER GRANTING DEFENDANT NAVIENT SOLUTIONS, LLCS
                            UNOPPOSEDMOTION UNDER L.B.R. 7007−1 FOR LEAVE TO FILE
                            A REPLY IN SUPPORT OF ITSMOTION TO DISMISS PLAINTIFFS
                            CLAIMS UNDER FED. R. CIV. P. 12(b)(6) ANDMOTION TO STRIKE
                            IMMATERIAL AND IMPERTINENTMATTER UNDER FED. R. CIV.
                            P. 12(f) (related document(s):11 Motion for Leave to File). (mcs)
    10/27/2017              (Entered: 10/27/2017)

                       13   Courts Notice or Order and BNC Certificate of Mailing (related
                            document(s)12 Order on Motion For Leave to File). No. of Notices: 5.
    10/29/2017              Notice Date 10/29/2017. (Admin.) (Entered: 10/29/2017)

                       14   Reply Filed by Eric E. Johnson on behalf of Navient Solutions Inc.
                            (related document(s):8 Motion to Dismiss Adversary Proceeding, 10
    11/14/2017              Response). (Johnson, Eric) (Entered: 11/14/2017)

                       15   Motion For Supplemental Authority Filed by Austin C. Smith on behalf of
                            Byron Patterson McDaniel JR, Laura Paige McDaniel. (Attachments: # 1
                            Exhibit # 2 Exhibit Exhibit B # 3 Exhibit C) (Smith, Austin) (Entered:
    01/18/2018              01/18/2018)

                       16   ORDER SETTING ORAL ARGUMENT. (related document(s)8 Motion
                            to Dismiss Adversary Proceeding, 10 Response, 14 Reply, 15 Other
                            Motion). Hearing to be held on 3/20/2018 at 09:30 AM Courtroom D for
    02/20/2018              10 and for 15 and for 8 and for 14, . (bel) (Entered: 02/21/2018)

                       17   Courts Notice or Order and BNC Certificate of Mailing (related
                            document(s)16 Order Setting Hearing). No. of Notices: 4. Notice Date
    02/23/2018              02/23/2018. (Admin.) (Entered: 02/23/2018)

                       18   Notice Re: Supplemental Authority in Support of Motion to Dismiss
                            Plaintiffs Claims Under Fed. R. Civ. P. 12(b)(6) and Motion to Strike
                            Immaterial and Impertinent Matter Under Fed. R. Civ. P. 12(f). Filed by
                            Eric E. Johnson on behalf of Navient Solutions Inc. (related
                            document(s)14 Reply). (Attachments: # 1 Exhibit A to I)(Johnson, Eric)
    02/27/2018              (Entered: 02/27/2018)

                       21   Minutes of Proceedings. Oral argument held. The Court took the matter
                            under advisement. (related document(s)8 Motion to Dismiss Adversary
                            Proceeding, 10 Response, 14 Reply, 15 Other Motion). Matter Under
                            Advisement Until 5/21/2018 for 10 and for 15 and for 8 and for 14, (bel)
    03/20/2018              (Entered: 03/27/2018)

                       19   Motion For Supp Authority Filed by Austin C. Smith on behalf of Byron
                            Patterson McDaniel JR, Laura Paige McDaniel. (Attachments: # 1 Exhibit
    03/26/2018              A) (Smith, Austin) (Entered: 03/26/2018)

                       20   Notice Re: Supplemental Authority in Support of Motion to Dismiss
                            Plaintiffs' Claims Under Fed.R.Civ.P. 12(b)(6). Filed by Eric E. Johnson
                            on behalf of Navient Solutions Inc. (related document(s)14 Reply).
    03/27/2018              (Johnson, Eric) (Entered: 03/27/2018)


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                       22   Courts Notice or Order and BNC Certificate of Mailing (related
                            document(s)21 Minutes of Proceedings/Minute Order). No. of Notices: 4.
    03/29/2018              Notice Date 03/29/2018. (Admin.) (Entered: 03/29/2018)

                       23   Transcript of Hearing Held on ORAL ARGUMENT ON DEFENDANT'S
                            MOTION TO DISMISS. Date Of Hearing: TUESDAY, MARCH 20,
                            2018, 9:22 A.M. before Judge HONORABLE KIMBERLEY H. TYSON.
                            THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY
                            AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                            DATE OF FILING, TRANSCRIPT RELEASE DATE IS 6/28/2018. Until
                            that time the transcript may be viewed at the Bankruptcy Court or a copy
                            may be obtained from the official court transcriber. Requested by
                            SHERMAN HOWARD, L.L.C. on MARCH 29, 2018. Transcribed and
                            filed by Agren Blando Court Reporting & Video, Inc. Total cost of
                            Transcript $598.95 (RE: related document(s) 21 Minutes of
                            Proceedings/Minute Order). Notice of Intent to Request Redaction
                            Deadline Due By 4/6/2018. Redaction Request Due By 4/20/2018.
                            Redacted Transcript Submission Due By 4/30/2018. Transcript Access
    03/30/2018              Will Be Restricted Through 6/28/2018. (leg) (Entered: 03/30/2018)

                       24   Notice of Filing of Official Transcript. Notice is hereby given that an
                            official transcript of the Oral Argument on Defendant's Motion to Dismiss
                            held on March 20, 2018 has been filed. Pursuant to the new policy adopted
                            by the Judicial Conference, transcripts are available for inspection only at
                            the clerk's office or may be purchased from the court transcriber for a 90
                            day period. (related document(s)23 Transcript). (leg) (Entered:
    03/30/2018              03/30/2018)

                       25   Courts Notice or Order and BNC Certificate of Mailing (related
                            document(s)24 Notice of Filing of Official Transcript). No. of Notices: 4.
    04/01/2018              Notice Date 04/01/2018. (Admin.) (Entered: 04/01/2018)

                       26   Notice Re: Supp Authority. Filed by Austin C. Smith on behalf of Laura
                            Paige McDaniel. (Attachments: # 1 Exhibit A # 2 Exhibit B)(Smith,
    04/06/2018              Austin) (Entered: 04/06/2018)

                       27   Notice Re: Supplemental Authority in Support of Motion to Dismiss
                            Plaintiffs' Claims Under Fed.R.Civ.P. 12(b)(6). Filed by Eric E. Johnson
                            on behalf of Navient Solutions Inc. (related document(s)14 Reply).
    04/24/2018              (Johnson, Eric) (Entered: 04/24/2018)

                       28   Notice Re: Supplemental Authority in Support of Motionto Dismiss
                            Plaintiffs'Claims. Filed by Eric E. Johnson on behalf of Navient Solutions
                            Inc. (related document(s):14 Reply)... (Johnson, Eric) (Entered:
    06/15/2018              06/15/2018)

                       29   Notice Re: Supplemental Authority in Support of Motion to Dismiss
                            Plaintiffs' Claims Under Fed.R.Civ.P. 12(b)(6). Filed by Eric E. Johnson
                            on behalf of Navient Solutions Inc. (related document(s)14 Reply).
    09/19/2018              (Johnson, Eric) (Entered: 09/19/2018)

                       30   ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE
                            (related document(s):8 Motion to Dismiss Adversary Proceeding). (mcs)
    09/24/2018              (Entered: 09/24/2018)

                       31   Courts Notice or Order and BNC Certificate of Mailing (related
                            document(s)30 Order on Motion to Dismiss Adversary Proceeding). No.
    09/26/2018              of Notices: 4. Notice Date 09/26/2018. (Admin.) (Entered: 09/26/2018)


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                       32   Notice of Appeal and Statement of Election to BAP Filed by Eric E.
                            Johnson on behalf of Navient Solutions Inc. (related document(s)30 Order
                            on Motion to Dismiss Adversary Proceeding). New Appeal Status
                            Deadline 10/23/2018. (Attachments: # 1 Exhibit A)(Johnson, Eric)
    10/09/2018              (Entered: 10/09/2018)

                       33   Receipt of Notice of Appeal and Statement of Election(17−01274−KHT)
                            [appeal,ntcaplea] ( 298.00) Filing Fee. Receipt number 26493241. Fee
    10/09/2018              amount 298.00 (U.S. Treasury) (Entered: 10/09/2018)

                       34   Joint Certification of Direct Appeal to Court of Appeals Filed by Eric E.
                            Johnson on behalf of Navient Solutions Inc. (related document(s)32 Notice
                            of Appeal and Statement of Election). (Johnson, Eric) (Entered:
    10/09/2018              10/09/2018)

                       35   Unopposed Motion for Leave to Appeal RE:Order Denying Motion to
                            Dismiss Filed by Eric E. Johnson on behalf of Navient Solutions Inc.
                            (related document(s):30 Order on Motion to Dismiss Adversary
                            Proceeding). (Attachments: # 1 Exhibit A # 2 Exhibit B) (Johnson, Eric)
    10/09/2018              (Entered: 10/09/2018)

                       36   Unopposed Motion To Stay Pending Appeal Filed by Eric E. Johnson on
                            behalf of Navient Solutions Inc. (related document(s):30 Order on Motion
                            to Dismiss Adversary Proceeding). (Attachments: # 1 Exhibit A # 2
    10/09/2018              Proposed/Unsigned Order) (Johnson, Eric) (Entered: 10/09/2018)

                       37   This Appeal Has Been Accepted by the BAP and Assigned Case No.
                            18−090 (related document(s)32 Notice of Appeal and Statement of
    10/10/2018              Election). (rjr) (Entered: 10/10/2018)

                       38   Order Granting Unopposed Motion To Stay Adversary Proceeding
                            Pending Interlocutory Appeal (related document(s):36 Motion To Stay
    10/11/2018              Pending Appeal). (mlr) (Entered: 10/11/2018)

                       39   Certification Pursuant to 28 U.S.C. §158(d)(2) (related document(s)30
                            Order on Motion to Dismiss Adversary Proceeding, 32 Notice of Appeal
                            and Statement of Election, 34 Certification of Direct Appeal). (mlr)
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

   In re:

   BYRON PATTERSON McDANIEL JR.                Case No. 09-37480 KHT
   and LAURA PAIGE McDANIEL,
                                               Chapter 13
        Debtors.


   BYRON PATTERSON McDANIEL JR.                Adversary No. 17-01274 KHT
   and LAURA PAIGE McDANIEL,

        Plaintiff,
   v.

   NAVIENT SOLUTIONS, LLC,

        Defendant.


              ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE

         THIS MATTER comes before the Court on a Motion to Dismiss Plaintiffs’
  Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
  Impertinent Matter Under Fed.R.Civ.P. 12(f) (the “Motion”) (Docket #8) filed by
  Defendant Navient Solutions, LLC (“Navient”), the Response (Docket #10) filed by
  Debtors Byron Patterson McDaniel Jr. and Laura Paige McDaniel (together,
  “Plaintiffs” or “Debtors”), and Navient’s Reply (Docket #14). The Court heard oral
  argument on March 20, 2018 and has considered the pleadings, arguments, and
  supplemental authorities submitted. For the reasons stated herein, the Court
  denies the Motion.

  I.        JURISDICTION

        This Court has jurisdiction of this proceeding pursuant to 28 U.S.C. §§ 1334
  and 157. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2). Navient
  consents to entry of final orders or judgments of the Bankruptcy Court in this
  matter.




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  Adversary No. 17-01274 KHT


  II.    BACKGROUND

        On December 24, 2009, Plaintiffs filed a voluntary Chapter 13 case and plan,
  using the standard form (Case No. 09-37480, Docket #2).

        In their bankruptcy schedules, Plaintiffs listed debts to “Sallie Mae,”
  described as “educational,” and they also listed debts to “Great Lakes.” (Case
  No. 09-37480, Docket #1). Nevertheless, Plaintiffs did not check the box in
  Section V.E. of the plan indicating they had student loans. The Chapter 13 Trustee
  objected to the plan on several grounds, including the plan “ma[de] no provision
  for debtor’s non-dischargeable student loan.” Case No. 09-37480, Docket #12.

         On April 1, 2010, Plaintiffs filed an amended Chapter 13 plan (the “Plan”).
  This time, Plaintiffs indicated in Section V.E. of the Plan they had student loans
  and proposed to treat them “as an unsecured Class Four claim or as follows:
  deferred until end of plan.” Case No. 09-37480, Docket #25. The Court confirmed
  the Plan on May 4, 2010. Case No. 09-37480, Docket #32.

        A total of nine proofs of claim were filed by Sallie Mae entities and Great
  Lakes Higher Education Corp. Case No. 09-37480, Claims Register. The Great
  Lakes claims (Proofs of Claim Nos. 6 and 7) were subsequently assigned to
  Educational Credit Management Corp. and are based upon Federal Stafford
  Loans. At least five of the Sallie Mae claims (Proofs of Claim Nos. 25 through 29)
  were filed by or on behalf of Navient.

        The Court entered an Order for Discharge of Plaintiffs on March 3, 2015,
  granting them a discharge under section 1328(a) of Title 11, United States Code
  (“Discharge Order”). Case No. 09-37480, Docket #54.

        On June 30, 2017, the Court granted Plaintiffs’ motion to reopen their
  Chapter 13 case. Thereafter, Plaintiffs filed this adversary proceeding against
  Navient, requesting a declaratory judgment pursuant to 28 U.S.C. § 2201 and
  Fed.R.Bankr.P. 7001(9) that certain “Tuition Answer Loans” held by Navient are
  not excepted from discharge under 11 U.S.C. § 523(a)(8) and were, therefore,
  discharged upon entry of the Discharge Order. They also seek damages for
  alleged willful violations of the discharge injunction by Navient pursuant to
  11 U.S.C. §§ 105 and 524.

  III.   PLAINTIFFS’ CLAIMS

        The Complaint contains general allegations concerning the history of
  changes to 11 U.S.C. § 523(a)(8) and Navient’s alleged efforts to deceive “student
  debtors and subvert the orderly working of the bankruptcy courts . . . [by] originating

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  and servicing dischargeable consumer loans and disguising them as non-
  dischargeable student loans.” Complaint, ¶1. Navient seeks to strike many of
  these general allegations.

         Plaintiffs allege Section 523(a)(8)1, as originally enacted in 1978, prohibited
  discharge of federal student loans during the first five years of repayment absent
  undue hardship but “[t]hrough a series of amendments, which first lengthened and
  then eliminated the five-year non-dischargeability time frame, it has become
  increasingly difficult for debtors to attain discharges of their student loan debts.”
  Complaint, ¶9. Prior to BAPCPA2, Section 523(a)(8) was “easy to apply because
  the exception to dischargeability was absolute. If a student loan was issued or
  guaranteed by the federal government, it was non-dischargeable absent a showing
  of ‘undue hardship.’ [However, t]his fueled the belief that all student loans are non-
  dischargeable.” Complaint, ¶13.

         In 2005, the enactment of BAPCPA afforded limited protection to some
  private educational loan products “to the extent that such [lending] supplemented
  and mirrored federal student lending: money lent to eligible students at Title IV
  accredited schools solely for tuition, room, board, and books (‘Qualified Education
  Loans’).” Complaint, ¶11.

         Plaintiffs allege Navient (formerly known as Sallie Mae or SLM Corporation)
  was not satisfied with the loan origination volume and restrictions associated with
  Qualified Educational Loans. Complaint, ¶12. Therefore, Navient created new
  loan products that are in essence dischargeable consumer loans, deceiving
  student borrowers by representing to them that “the Bankruptcy Code prohibited
  discharge of any loan made to any person for any educational purpose.”
  Complaint, ¶16 and ¶12.3

        The problem was made worse because Section 523(a)(8) is self-executing,
  and “thus its correct application relies on the good faith and honesty of creditors.”
  Complaint, ¶14. “Importantly, the discharge order does not specifically state which
  loans, if any, are presumptively excepted from discharge. Rather, it states that the
  order does not discharge some debts, including ‘debts for most student loans.’” Id.

  1
      All Sections referred to herein are to the Bankruptcy Code, 11 U.S.C. § 101, et seq.
  2
      Bankruptcy Abuse and Consumer Protection Act, Pub. L. No. 109-8, § 220, 119 Stat. 23, 59
      (2005) (hereafter, “BAPCPA”).
  3
      While Navient was marketing these new loan products to student borrowers, Navient was also
      attempting to securitize the new loan products for sale on the secondary market. Plaintiffs allege
      to avoid securities violations, Navient disclosed to its potential (sophisticated) investors in
      student loan asset-backed securities prospectuses that “pursuant to section 523(a)(8), only
      private loans made for qualified expenses were excepted from discharge.” Complaint, ¶19.
                                                     3

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         Plaintiffs assert a creditor has the burden to prove its debt is encompassed
  by Section 523(a)(8) and is presumptively nondischargeable, then the burden
  shifts to the debtor to show undue hardship. Complaint, ¶15. “Absent an
  adversary proceeding, any educational debt not encompassed by section
  523(a)(8) is automatically and as a matter of law discharged upon entry of the
  discharge order. Accordingly, it is left to the creditors to determine whether their
  particular educational loan is excepted from discharge by Section 523(a)(8) and,
  where confusion exists, seek clarity from the court. The creditor’s good faith and
  the threat of sanctions are the only checks on compliance with discharge
  injunctions.” Id.

         In the Complaint, Plaintiffs also make specific allegations regarding the
  Tuition Answer Loans held by Navient. Plaintiffs allege the Tuition Answer
  Program is a direct-to-consumer loan product outside the confines of the financial
  aid office and in excess of the school’s published “Cost of Attendance” (“COA”).
  Complaint, ¶17. From 2004-2007, Plaintiffs borrowed $107,467 in six (6) Sallie
  Mae Tuition Answer Loans. Complaint, ¶20. The total balance of these Tuition
  Answer Loans is now $245,264, “despite consistent monthly payments of more
  than $2,000 for several years.” Complaint, ¶21.

         Plaintiff Laura Paige McDaniel attended Lakeland College from 2004 to
  2007. Complaint, ¶22. Her COA for qualified tuition and related expenses for each
  year was: $5,340 in 2004, $10,650 in 2005, $6,450 in 2006, and $6,390 in 2007,
  as reflected on Tuition Statements issued by Lakeland College to Ms. McDaniel
  attached to the Complaint as Exhibit A. Complaint, ¶23. Ms. McDaniel borrowed
  the COA in the form of federal student loans, as reflected on Federal Stafford Loan
  documentation attached to the Complaint as Exhibit C. Complaint, ¶24.

         Plaintiffs borrowed an additional $107,467 through the Tuition Answer
  Loans, “made outside the financial aid office and [not] for qualified education
  expenses.” Complaint, ¶25. Attached as Exhibit B to the Complaint are copies of
  loan applications and promissory notes for the Tuition Answer Loans. Id. The
  Tuition Answer Loans were not made solely for the COA and accordingly, were not
  “qualified education loans” as defined in Section § 523(a)(8)(B). Complaint, ¶26.4

       Debtors listed the Tuition Answer Loans on their Bankruptcy Schedule F.
  Complaint, ¶27. Debtors made payments totaling $26,782 on the Tuition Answer
  Loans during their Chapter 13 bankruptcy case. Complaint, ¶28.

  4
      The Court notes, however, one of the loan documents in Exhibit B to the Complaint contains
      the following language: “this loan is a qualified education loan as described in Section 221(d)(1)
      of the Internal Revenue Code of 1986.” Exhibit B to Complaint, p.14 of 40.

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        Navient was notified of the Discharge Order. Complaint, ¶30. Instead of
 charging the Tuition Answer Loans off, Navient demanded payments in violation
 of the Discharge Order and the Bankruptcy Code. Complaint, ¶32. Plaintiffs allege
 “owing to [Navient’s] tactics, [P]laintiffs have repaid $37,460 on these discharged
 debts. These payments were not made ‘voluntarily’ but were made solely based
 on Defendant Navient’s material misrepresentations regarding the legal status and
 character of the Tuition Answer Loans.” Complaint, ¶33. Navient’s “abusive,
 deceptive and harassing collection efforts” after entry of the Discharge Order “were
 made knowingly and willfully in violation of this Court’s discharge orders and must
 be sanctioned.” Complaint, ¶34.

 IV.    NAVIENT’S MOTION

        Navient requests dismissal of the Complaint for failure to state a claim under
 Fed.R.Civ.P. 12(b)(6) (Fed.R.Bankr.P. 7012(b)). Navient also moves to strike
 certain allegations as immaterial and impertinent matter under Fed.R.Civ.P.12(f)
 (Fed.R.Bankr.P. 7012(b)).

         Navient asserts the confirmed Plan distinguished the Tuition Answer Loans
 from Plaintiffs’ other dischargeable unsecured debts in Class Four and treated
 them “as non-dischargeable.” Motion, p.16; see also Motion, p.17 (“[i]nstead of
 filing an adversary proceeding to seek a discharge of their loans, Debtors amended
 their [P]lan to expressly provide that their [Tuition Answer] Loans would not be
 discharged along with their other unsecured claims”) (emphasis in original).
 Accordingly, Navient argues principles of res judicata prohibit Plaintiffs from
 reversing their earlier position taken in the Plan, in light of the finality of the Plan
 confirmation order and the Supreme Court’s decision in United Student Aid Funds,
 Inc. v. Espinosa, 559 U.S. 260 (2010).

        Alternatively, Navient argues dismissal is warranted because the Complaint,
 on its face, establishes the Tuition Answer Loans are excepted from discharge as
 “obligation[s] to repay funds received as an educational benefit” under Section
 523(a)(8)(A)(ii). Through the Tuition Answer Loans, Ms. McDaniel “received the
 funds that allowed [her] to attend Lakeland College. Indeed, [Plaintiffs] certified to
 Navient ‘all of the loan proceeds . . . are to pay expenses directly related to
 attending’ Lakeland College.” Motion, p.19 (quoting Complaint, Exhibit B, pp.6,
 31, 38 of 40). Then, when they filed bankruptcy, Plaintiffs scheduled the debt as
 “educational” in nature. Motion, p.19. “By enabling Ms. McDaniel to enroll in and
 attend college and support her personal decision to improve her life through higher




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 education, the loans conferred ‘educational benefits’ on her and are therefore
 excepted from discharge in bankruptcy.” Motion, p.20.

        In support, Navient cites cases holding private student loans are
 “obligation[s] to repay funds received as an educational benefit” under Section
 523(a)(8)(A)(ii). Because the “Debtors do not, and cannot, allege that they used
 their [Tuition Answer] Loans for anything but educational purposes, nothing in
 Debtors’ Complaint allows them to avoid the same result.” Motion, pp.22-23.
 Navient contends the cases that hold otherwise are badly reasoned, and those
 courts misapply the principles of statutory interpretation they invoke.

        Since the Tuition Answer Loans were not discharged, Navient asserts there
 can be no violation of the discharge injunction. In any case, Navient argues this
 claim should be dismissed because the discharge injunction is enforceable only
 through contempt proceedings and there is no private right of action for violation
 of the discharge injunction. Since Plaintiffs’ claim must be construed as a claim
 for contempt, the order under which they seek contempt must be “clear and
 specific.” The Discharge Order is not “clear and specific” but rather, provides most
 student loans are not dischargeable. Motion, p.35.

        Navient also moves to strike paragraph 1 and paragraphs 9 through 19 of
 the Complaint because the allegations set forth in these twelve paragraphs
 constitute a “superfluous attack on [Navient’s] character, inappropriate for a short
 and plain statement of the claim.” Motion, p.37 (citations omitted). Navient
 contends the overblown and non-specific allegations in these paragraphs malign
 Navient, refer to “pervasive, systemic wrongdoing” and have no bearing on any
 issues in this case. Motion, p.38. Plaintiffs’ “allegations of nonspecific fraud
 perpetrated by unnamed actors using unspecified means against unnamed victims
 are inflammatory, unnecessary, and irrelevant”, and the Court should strike them
 as either a superfluous attack on character, or deficiently pleaded fraud claims. Id.

 V.     DISCUSSION

        A.     The Rule 12(b)(6) Motion to Dismiss.

       Rule 8 notice pleading “requires a short and plan statement of the claim
 showing that the pleader is entitled to relief.” Fed.R.Civ.P. 8(a)(2); Fed.R.Bankr.P.
 7008. “[H]eightened fact pleading of specifics” is not required; rather, a party must
 assert “only enough facts to state a claim to relief that is plausible on its face . . .
 to nudg[e his] claims across the line from conceivable to plausible . . .” Bell Atl.
 Corp. v. Twombly, 550 U.S. 544, 570 (2007).



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        Failure to state a claim is a defense that may be presented by motion.
 Fed.R.Civ.P. 12(b)(6); Fed.R.Bankr.P. 7012(b). On a motion to dismiss, this Court
 must accept all well-pled facts in the Complaint as true and view them in the light
 most favorable to Plaintiff. Barnes v. Harris, 783 F.3d 1185, 1191-92 (10th Cir.
 2015) (citing Sutton v. Utah State Sch. for the Deaf & Blind, 173 F.3d 1226, 1236
 (10th Cir. 1999). But “the tenet that a court must accept as true all of the allegations
 contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal,
 556 U.S. 662, 678 (2009).

       Granting a motion to dismiss “is a harsh remedy which must be cautiously
 studied, not only to effectuate the spirit of the liberal rules of pleading but also to
 protect the interests of justice.” Dias v. City and Cnty. of Denver, 567 F.3d 1169,
 1178 (10th Cir. 2009) (citing Duran v. Carris, 238 F.3d 1268, 1270 (10th Cir. 2001)
 (quotation omitted)).

       The Court reviews Navient’s Motion with the above principles in mind.
 Section 523(a)(8) provides a discharge under section 1328(b) does not discharge
 an individual debtor from any debt –

          (8) Unless excepting such debt from discharge under this
          paragraph would impose an undue hardship on the debtor and the
          debtor’s dependents, for –

               (A)(i) an educational benefit overpayment or loan made,
               insured or guaranteed by a governmental unit, or made
               under any program funded in whole or in part by a
               governmental unit or nonprofit institution; or

                    (ii) an obligation to repay funds received as an
                    educational benefit, scholarship or stipend; or

               (B) any other educational loan that is a qualified education
               loan, as defined in section 221(d)(1) of the Internal Revenue
               Code of 1986, incurred by a debtor who is an individual . . .

 11 U.S.C. § 523(a)(8).

               1.      The Parties’ Respective Burdens.

         The parties agree Plaintiffs bear the burden of proving “undue hardship,” but
 they disagree over who must bring an adversary proceeding to determine whether
 a student loan falls within the nondischargeable rubric of Section 523(a)(8) in the
 first place, as this section of the Bankruptcy Code is self-executing. This dispute

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 is academic; Plaintiffs did bring this adversary proceeding, and the Court finds it
 was not too late for them to do so. Compare Fed.R.Bankr.P. 4007(c) (complaints
 to determine dischargeability of a debt under Section 523(c) must be filed no later
 than 60 days after the first date set for the meeting of creditors) with Gimbel v. U.S.
 Dep’t of Educ. (In re Gimbel), Adv. No. 17-01048-j, 2018 WL 1229718, *4 (Bankr.
 D.N.M. March 8, 2018) (“there is no deadline expressly imposed by the Code or
 Rules for filing an adversary proceeding to determine whether a student loan debt
 should be excepted from the discharge under § 523(a)(8)”).

       As to the burden of proof, it remains on the creditor to show its debt is
 excepted from discharge under Section 523. Grogan v. Garner, 498 U.S. 279, 287
 (1991). Thus Navient, “as a creditor, must prove, by a preponderance of the
 evidence, that a debt exists and the debt is the type excepted from discharge under
 § 523(a)(8).” Hoffman v. Educ. Credit Mgmt. Corp. (In re Hoffman), 557 B.R. 177,
 184 (Bankr. D. Colo. 2016) (citations omitted).

               2.      Principles of Res Judicata and Espinosa.

       Res judicata applies when the following three elements exist: “(1) a [final]
 judgment on the merits in an earlier action; (2) identity of parties or privies in the
 two suits; and (3) identity of the cause of action in both suits.” Wilkes v. Wyo. Dep’t
 of Emp’t Div. of Labor Standards, 314 F.3d 501, 504 (10th Cir. 2002) (as amended
 Jan. 14, 2003) (quoting King v. Union Oil Co., 117 F.2d 443, 445 (10th Cir. 1997)).

        Navient’s res judicata argument suffers from a fatal flaw: the Plan does not
 say what Navient says it does. It is true the confirmed Plan is final and binds
 Plaintiffs and all of their creditors, including Navient. But the Plan did not specify
 one way or the other whether the Tuition Answer Loans were – or were not –
 discharged; the Plan is simply not instructive on this point. Section V.E. of the Plan
 only specifies Plaintiffs’ student loans – of which they had several, including
 Federal Stafford Loans owing to Great Lakes or its assigns – were “to be treated
 as an unsecured Class Four claim or as follows: deferred until end of plan.” Case
 No. 09-37480, Docket #25. The Plan is silent as to the dischargeability or non-
 dischargeability of the Tuition Answer Loans vis-à-vis Plaintiffs’ other educational
 loans, or other unsecured debts. Nowhere in the Plan does it state the Tuition
 Answer Loans, or any of Plaintiffs’ student loans, were nondischargeable; Navient
 relies upon a mischaracterization of the terms of the Plan.

       Nor does Plaintiffs’ description of Navient’s debt on their Bankruptcy
 Schedules as “educational” influence its dischargeability. “Educational” loans, or
 “student” loans, are not nondischargeable simply because they are labeled as
 such; they must meet one or more of the criteria set forth in Section 523(a)(8). “A
 construction so broad would be incompatible with the ‘well-known’ guide that

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 exceptions to discharge ‘should be confined to those plainly expressed.’”
 Kawaauhau v. Geiger, 523 U.S. 57, 62 (1998) (quoting Gleason v. Thaw, 236 U.S.
 558, 562 (1915)).

       In Espinosa, the Supreme Court held the lender was bound by the terms of
 the debtors’ confirmed plan even though confirmation of that plan was legal error.
 United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 275 (2010). The
 Chapter 13 plan in Espinosa expressly provided the debtors’ student loans were
 discharged for undue hardship, and the creditor had actual notice of the plan and
 did not object. Id. at 264-265.

       Navient contends Espinosa applies in the reverse and mandates the
 conclusion Plaintiffs’ claims are barred on account of their confirmed Plan. But the
 true reverse of Espinosa would be a plan that expressly provided the Tuition
 Answer Loans, or any of Plaintiffs’ student loans, were not dischargeable. Here,
 the Plan contains no explicit statement or determination as to the dischargeability
 of any of Plaintiffs’ student loans. Navient’s reliance upon Espinosa as controlling
 authority over the outcome of this case is misplaced.

       Because the confirmed Plan is not a final determination on the merits, the
 Court will not dismiss Plaintiffs’ Section 523(a)(8) claim on the basis of res judicata
 or application of Espinosa.

                3.      Section 523(a)(8)(A)(ii).

        Absent undue hardship, Section 523(a)(8)(A)(ii) excepts from discharge “an
 obligation to repay funds received as an educational benefit, scholarship or
 stipend.” 11 U.S.C. 523(a)(8)(A)(ii). The crux of the dispute is whether the Tuition
 Answer Loans fall within the ambit of this subsection as a matter of law. Courts in
 other jurisdictions are divided on the issue, with some courts holding private loans
 that provide an educational benefit to the borrower fit within Section 523(a)(8)(A)(ii)
 (the view espoused by Navient), and other courts embracing a much narrower
 view, holding such educational loans are not included within this particular
 subsection (Plaintiffs’ position).5 There is no controlling authority on point within
 the Tenth Circuit.

       The Court’s inquiry “begins where all such inquiries must begin: with the
 language of the statute itself.” Unites States v. Ron Pair Enterprises, Inc., 489

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   While the parties dispute whose side is in the majority, the recent trend is clearly in favor of
 Plaintiffs’ position. In their Response, Plaintiffs indicate there are 18 cases that support Navient’s
 position, and cite 18 cases that support their own position, including 8 of the last 9 cases decided
 since 2016. Since the time the parties’ briefs were submitted, additional decisions have been
 rendered in other districts also supporting Plaintiffs’ view of Section 523(a)(8)(A)(ii).
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 U.S. 235, 241 (1989). If the statute’s language is plain, “the sole function of the
 courts is to enforce it according to its terms.” Id. (quoting Caminetti v. United
 States, 242 U.S. 470, 485 (1917)).

         “When interpreting statutory language, this court ‘must look to the particular
 statutory language at issue, as well as the language and design of the statute as
 a whole.’” Office of Thrift Supervision v. Overland Park Fin. Corp. (In re Overland
 Park Fin. Corp.), 236 F.3d 1246, 1252 (10th Cir. 2001) (citing True Oil Co. v.
 Comm’r of Internal Revenue, 170 F.3d 1294, 1299 (10th Cir.1999) (quotation
 marks and citation omitted)). Section 523(a)(8)(A)(ii) cannot be read in isolation;
 it is necessary to read Section 523(a)(8) as a whole. “The meaning – or ambiguity
 – of certain words or phrases may only become evident when placed in context.”
 Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 54 (Bankr. E.D.N.Y.
 2016) (citing Brown v. Gardner, 513 U.S. 115, 118 (1994)).

        Section 523(a)(8)(A)(ii) is sandwiched in between Sections 523(a)(8)(A)(i)
 and (B). Notably absent from Section 523(a)(8)(A)(ii) is the word “loan” which is
 used in both Sections 523(a)(8)(A)(i) and 523(a)(8)(B). In Section 523(a)(8)(A)(i),
 Congress excepted from discharge “an educational benefit overpayment or loan
 made, insured, or guaranteed by a governmental unit, or made under any program
 funded in whole or in part by a governmental unit or nonprofit institution”. 11 U.S.C.
 § 523(a)(8)(A)(i) (emphasis added). The disjunctive “or” in Section 523(a)(8)(A)(i)
 is significant, because it distinguishes an “educational benefit overpayment” from
 a “loan.” See, e.g., Loughrin v. United States, 134 S.Ct. 2384, 2390, 189 L.Ed.2d
 411 (2014) (in reviewing the language of the federal bank fraud statute in which
 elements of the crime were separated by the word “or,” the Supreme Court
 considered what “or” customarily means: “th[e] term’s ‘ordinary use is almost
 always disjunctive, that is, the words it connects are to be given separate
 meanings’”) (quoting United States v. Woods, 571 U.S. 31, 45 (2013)).

       The word “loan” is also used in Section 523(a)(8)(B), which excepts from
 discharge “any other educational loan that is a qualified education loan, as defined
 in section 221(d)(1) of the Internal Revenue Code of 1986, incurred by a debtor
 who is an individual”. 11 U.S.C. 523(a)(8)(B).

       Navient argues the fact Congress did not use the word “loan” in Section
 523(a)(8)(A)(ii) does not matter because an “obligation to repay funds received” is
 a loan; this phrase could not possibly fail to include loans – it is just more inclusive
 and expansive. Motion, pp.29-30. But given the specific language employed by
 Congress in Sections 523(a)(8)(A)(i) and (B) and the absence of the word “loan”
 from Section 523(a)(8)(A)(ii), the Court concludes “an obligation to repay funds
 received as an educational benefit, scholarship or stipend” does not include a loan.
 “[W]hen ‘Congress includes particular language in one section of a statute but

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 omits it in another’ — let alone in the very next provision — this Court ‘presume[s]’
 that Congress intended a difference in meaning.” Loughrin v. United States, 134
 S.Ct. 2384, 2390, 189 L.Ed.2d 411 (2014) (emphasis added) (quoting Russello v.
 United States, 464 U.S. 16, 23 (1983) (further citation omitted)).

       Moreover, another critical little word appearing in Section 523(a)(8)(A)(ii) is
 the word “as.” “As” is a qualifier; it denotes how the funds were received. In a
 recent decision, the Bankruptcy Court for the Southern District of Texas examined
 the word “as” in Section 523(a)(8)(A)(ii):

          The use of the word “as” denotes “in the character or under the name
          of.” [T]o the contrary, “for” denotes “in consideration for . . . in
          exchange for.” [T]he Court concludes that 523(a)(8)(A)(ii) created a
          new category of nondischargeable debts specifically tailored to
          address a perceived need. That need did not include all loans that
          were in some way used by a debtor for education.

 Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R. 830, 836 (Bankr. S.D.
 Tex. 2018) (quoting Black’s Law Dictionary (6th ed. 1990)). This Court agrees. The
 language of the statute sets an educational benefit apart from a loan, and excepts
 from discharge a category of obligations in Section 523(a)(8)(A)(ii) that does not
 include loans but rather, “educational benefit[s]”, “scholarship[s]”, and “stipend[s].”6

        If Navient’s interpretation of Section 523(a)(8)(A)(ii) is correct – i.e.,
 obligations that confer educational benefits are excepted from discharge – there
 would be no need for a separate provision excepting from discharge benefit
 overpayments or loans made, insured, or guaranteed by governmental units, or
 under programs funded by governmental units or nonprofit institutions (Section
 523(a)(8)(A)(i)). Nor would there be any need for a separate provision excepting
 from discharge “qualified education loans” (Section 523(a)(8)(B)). Navient’s
 interpretation offends a “cardinal principle” of statutory construction, that courts
 have a “duty to give effect, if possible, to every clause and word of a statute.”
 United States v. Smith, 756 F.3d 1179, 1187 (10th Cir. 2014) (quoting Duncan v.
 Walker, 533 U.S. 167, 174 (2001) (internal quotation marks and brackets omitted)).


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     Like the court in Campbell, it is not necessary for this Court to decide whether the educational
     benefits, scholarships, and stipends referred to in Section 523(a)(8)(A)(ii) include only those
     made insured, or guaranteed by a governmental unit, or made under any program funded in
     whole or in part by a governmental unit or nonprofit institution; the crux of the issue here is
     whether an “educational benefit” in Section 523(a)(8)(A)(ii) encompasses a private loan such
     as the Tuition Answer Loans. See Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 59
     (Bankr. E.D.N.Y. 2016) (comparing Sensient Technologies Corp. v. Baiocchi (In re Baiocchi),
     389 B.R. 828, 831–32 (Bankr. E.D. Wis. 2008) with In re Nunez, 527 B.R. 410, 415 (Bankr. D.
     Or. 2015)).
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        In Campbell, decided in 2016, the Bankruptcy Court for the Eastern District
 of New York denied a lender’s motion to dismiss debtor’s complaint to determine
 dischargeability of a private bar study loan, holding Section 523(a)(8)(A)(ii) did not
 encompass such a loan. Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49
 (Bankr. E.D.N.Y. 2016).         The Campbell court reasoned that if Section
 523(a)(8)(A)(ii) applied to loans, it would “swallow” the other sections of 523(a)(8).
 In re Campbell, 547 B.R. at 55.

       Navient argues Campbell was wrongly decided; Section 523(a)(8)(A)(ii)
 does not render other provisions of Section 523 superfluous but rather, that
 subsection provides “limited overlapping coverage” consistent with Supreme Court
 precedent, In Husky Int’l Elec., Inc. v. Ritz, 136 S.Ct. 1581, 194 L.Ed.2d 655 (2016)
 (concluding some overlap in coverage regarding the definition of “actual fraud” did
 not render Section 523(a) redundant). Reply, p.24. In other words, Section
 523(a)(8)(A)(ii) catches instances of nondischargeability that other subparts of
 523(a)(8) might miss, “reinforc[ing] the broad scope of the discharge exception for
 student loans.” Motion, p.26. Unlike other subsections, Navient points out that
 Section 523(a)(8)(A)(ii) requires funds to be “received,” so “both a private bar-study
 loan and a judgment debt to a co-signor on a defaulted government-backed
 university loan that the co-signor paid in full would be exempt from discharge under
 523(a)(8)(A)(ii) but not § 523(a)(8)(A)(i) or (B), respectively.” Motion, pp.25-26.
 The Court is not persuaded by this somewhat circular argument. If the legislature
 intended Section 523(a)(8)(A)(ii) to address potential liability to a co-signor, it could
 have done so explicitly; for example, Section 523 expressly includes separate
 categories of nondischargeable debt “incurred to pay a tax to the United States
 that would be nondischargeable pursuant to paragraph (1)” and “incurred to pay a
 tax to a governmental unit, other than the United States, that would be
 nondischargeable under paragraph (1).” 11 U.S.C. 523(a)(14), (14A).

       Accordingly, based upon the plain language of the statute, this Court
 embraces the trending narrower view of Section 523(a)(8)(A)(ii) espoused in
 Campbell. See, e.g., Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R.
 830 (Bankr. S.D. Tex. 2018); Nypaver v. Nypaver (In re Nypaver), 581 B.R. 431
 (Bankr. W.D. Pa. 2018); Essangui v. SLF V-2015 Trust (In re Essangui), 573 B.R.
 614 (Bankr. D. Md. 2017); Dufrane v. Navient Solutions, Inc. (In re Dufrane), 566
 B.R. 28 (Bankr. C.D. Ca. 2017); Campbell v. Citibank, N.A. (In re Campbell), 547
 B.R. 49 (Bankr. E.D.N.Y. 2016).

       To the extent there is any ambiguity in Section 523(a)(8)(A)(ii), the doctrine
 of noscitur a sociis and the legislative history both support the narrower view.
 Employing the doctrine of noscitur a sociis, the Campbell court considered the
 meaning of “educational benefit” in the context of its surrounding words:

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 “scholarship” and “stipend.” In re Campbell, 547 B.R. at 55. Under this doctrine,
 “when a statute contains a list, each word in that list presumptively has a ‘similar’
 meaning.” Id. (citing Yates v. United States, 135 S.Ct. 1074, 1089, 191 L.Ed.2d
 64 (2015) (Alito, J., concurring in the judgment) (citing Gustafson v. Alloyd Co.,
 513 U.S. 561, 576 (1995)). The Campbell court noted “‘[s]cholarship’ and ‘stipend’
 both refer to funds which are not generally required to be repaid by the recipient”
 and concluded “educational benefit” may be understood the same way; they are
 all forms of conditional grants, not loans. In re Campbell, 547 B.R. at 55. This
 Court agrees. A “scholarship” is a “grant of financial aid to a student.” The
 American Heritage College Dictionary, 1220 (3d ed. 1997). A “stipend” is a “fixed
 and regular payment, such as a salary.” Id., at 1335. A “benefit” is a “payment
 made or an entitlement available in accordance with a wage agreement, an
 insurance policy, or a public assistance program.” Id., at 127. These words all
 signify granting, not borrowing.7

       Navient argues noscitur a sociis was misapplied in Campbell, given the
 broader context of Section 523(a)(8). But in this Court’s opinion, as discussed
 above, the broader context of Section 523(a)(8) – in which the words “loan” and
 “or” appear in its neighboring subsections – supports a narrow construction of
 Section 523(a)(8)(A)(ii). Navient’s argument that a loan used for educational
 purposes confers an educational benefit on the borrower, just like scholarships and
 stipends do, strays from both the text of the statute and the context in which it was
 enacted.

       As to the context, Section 523(a)(8) was enacted to safeguard “the solvency
 of government education loan programs” for “future students”. In re Campbell, 547
 B.R. at 59-60 (citing In re Pelkowski, 990 F.2d 737, 742 (3rd Cir. 1993) (quoting
 124 Cong. Rec. 1791-9 Representative Ertel) (further citations omitted)).
 Section 523(a)(8) of the Bankruptcy Reform Act of 1978 excepted from discharge
 any debt –

          to a governmental unit, or a nonprofit institution of higher education,
          for an educational loan, unless –




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     Navient complains a list of three items is insufficient to employ the doctrine, citing Graham
     County Soil and Water Conservation Dist. v. United States ex rel. Wilson, 559 U.S. 280, 288
     (2010). But in that case, unlike here, the Supreme Court declined to employ noscitur a sociis
     to a list of three disparate terms: “congressional,” “administrative,” and “Governmental
     Accounting Office.” Graham County Soil and Water Conservation Dist. v. United States ex rel.
     Wilson, 559 U.S. at 288 (finding each of the three terms “quite distinct from the other no matter
     how construed) (emphasis added).

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           (A) such loan first became due before five years before the date of
               the filing of the petition; or

           (B) excepting such debt from discharge under this paragraph will
               impose an undue hardship on the debtor and the debtor’s
               dependents;

 Bankruptcy Reform Act of 1978, Pub. L. No. 95–598 § 523(a)(8) (H.R. 8200), Nov.
 6, 1978, 92 Stat. 2549, 2591 (1978).

      The term “educational benefit” first appeared in Section 523(a)(8) in 1990,
 when the statute was amended to except from discharge any debt:

        for an educational benefit overpayment or loan made, insured, or
        guaranteed by a governmental unit, or made under any program
        funded in whole or in part by a governmental unit or nonprofit
        institution, or for an obligation to repay funds received as an
        educational benefit, scholarship or stipend . . .

 Crime Control Act of 1990, Pub. L. No. 101-647 § 3621(1), 104 Stat. 4789, 4965
 (1990). The amendment to Section 523(a)(8) by the Crime Control Act also
 extended the period of repayment in Section 523(a)(8)(A) to seven years. Id.

        The Campbell court examined the sparse legislative history and hearing
 testimony behind the 1990 amendments to Section 523(a)(8). In re Campbell, 547
 B.R. at 55. At the hearing, Bob Wortham, a United States attorney from the
 Eastern District of Texas, explained the amendments to Section 523(a)(8) added
 “to the list of non-dischargeable debts, obligations to repay educational funds
 received in the form of benefits (such as VA benefits), scholarships (such as
 medical service corps scholarships) and stipends”, citing U.S. Dep’t of Health and
 Human Servs. v. Smith, 807 F.2d 122 (8th Cir. 1986) in his statement. See In re
 Campbell, 547 B.R. at 55 (citing Federal Debt Collection Procedures of 1990:
 Hearing on P.L. 101-647 before the H. Subcomm. on Econ. and Commercial Law,
 H. Judiciary Committee 101st Cong. 74-75 (June 14, 1990) (Mr. Brooks’ Questions
 for the Record for Mr. Wortham)).

        In Smith, the Eighth Circuit held the pre-1990 version of Section 523(a)(8)
 encompassed a federal tuition assistance grant to a medical student who had
 defaulted on its conditions. U.S. Dep’t of Health and Human Servs. v. Smith, 807
 F.2d 122 (8th Cir. 1986). In reaching its decision, the Eighth Circuit was mindful of
 the “background and purpose of 523(a)(8) of the Bankruptcy Code” to correct a
 significant problem “[u]nder the Bankruptcy Act, [i.e.,] educational loans were

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 dischargeable resulting in millions of dollars in federally guaranteed loans
 defaulted upon annually.” Smith, 807 F.2d at 126 (emphasis added) (quoting In re
 Shipman, 33 B.R. 80, 82 (Bankr. W.D. Mo. 1983)).

        Navient points out the sparse legislative history examined in Campbell is a
 single remark, not made by a legislator, regarding a prior version of the statute.
 Motion, p.31. However, that selfsame sparsity of legislative history regarding the
 addition of “educational benefit” to Section 523(a)(8) suggests the legislature did
 not intend to extensively expand nondischargeability to private educational loans.
 A subsequent amendment to the statute supports this conclusion. With the
 enactment of BAPCPA in 2005, subsection (B) was added to Section 523(a)(8),
 including as nondischargeable “any other educational loan that is a qualified
 education loan, as defined in section 221(d)(1) of the Internal Revenue Code of
 1986, incurred by a debtor who is an individual”. Bankruptcy Abuse Prevention
 and Consumer Protection Act of 2005, Pub. L. No. 109-8, S. 256, 109th Cong.,
 § 220, 119 Stat. 23, 59 (2005). BAPCPA also separated subsection (A) into two
 subsections, (A)(i) and (A)(ii), without any changes to the text. If Section
 523(a)(8)(A)(ii) expanded the statute to include all loans that confer educational
 benefits, subsection (B) – adding “qualified education loans” under 26 U.S.C.
 § 221(d)(1) as nondischargeable – would have been wholly unnecessary.

         Even if this Court were to agree with Navient, it would be premature to
 dismiss Plaintiffs’ Complaint under Section 523(a)(8)(A)(ii); at this stage in the
 litigation, the underlying facts are not sufficiently developed. But the Court is
 persuaded by Plaintiffs’ view that Section 523(a)(8)(A)(ii) does not encompass the
 Tuition Answer Loans, based upon the plain language of the statute, and in
 addition, applicable canons of statutory interpretation and the legislative history.

               4.      Claim for Violation of the Discharge Injunction.

        The Discharge Order granted Plaintiffs a discharge under Section 1328(a).
 Section 1328(a) specifies that the bankruptcy discharge for Chapter 13 debtors is
 as to “all debts provided for by the plan or disallowed under section 502 of this title,
 except any debt – . . . of the kind specified in . . . [section 523(a)(8)].” 11 U.S.C.
 § 1328(a)(2) (emphasis added). Pursuant to the Bankruptcy Code, the Discharge
 Order “operates as an injunction against the commencement or continuation of an
 action, the employment of process, or an act, to collect, recover, or offset any such
 debt as a personal liability of the debtor, whether or not discharge of such debt is
 waived”. 11 U.S.C. § 524(a)(2).

       Navient argues Plaintiffs’ claim for violation of the discharge injunction is
 defective because there is no private right of action for such claim, and the
 Discharge Order was not specific enough to be enforced against Navient on

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 contempt grounds; the Discharge Order did not clearly identify prohibited conduct
 as the Order “lacked such a statement about their [Tuition Answer] Loans”. Reply,
 p.29.

        While the Tenth Circuit has not determined whether there is a private right
 of action under Section 524(a)(2), it is clear the Court’s equitable powers under
 Section 105(a) extend to decide claims “to enforce and remedy violations of
 substantive provisions of the Bankruptcy Code, including in particular the
 discharge injunction in 524(a)(2).” Paul v. Iglehart (In re Paul), 534 F.3d 1303,
 1306 (10th Cir. 2008) (citations omitted).8 Thus, “Section 524(a)(2) operates as ‘an
 equitable remedy precluding the creditor, on pain of contempt, from taking any
 actions to enforce the discharged debt.’” Gray v. Nussbeck (In re Gray), 586 B.R.
 347, 353 (Bankr. D. Kan. 2018) (quoting Espinosa v. United States Aid Funds, Inc.,
 553 F.3d 1193, 1200 (9th Cir. 2008), aff’d, 559 U.S. 260 (2010) (emphasis in
 original)).

        To be held in contempt, a court must find (1) the party violated a specific and
 definite order; (2) the party had notice of the order; and (3) the party did in fact
 violate the order. Lucre Mgmt. Grp., LLC v. Schempp Real Estate, LLC (In re Lucre
 Mgmt. Grp., LLC), 365 F. 3d 874, 875 (10th Cir. 2004). In order to prevail in a civil
 contempt proceeding, Plaintiffs’ burden is high; they must prove the alleged
 violation by clear and convincing evidence. Reliance Ins. Co. v. Mast Const. Co.,
 159 F.3d 1311, 1315 (10th Cir. 1998).

       The Court concludes Plaintiffs have stated a valid claim for contempt. The
 Discharge Order and the statutory bases for its issuance and enforcement
 (Sections 1328 and 524(a)(2)) are broad and unequivocal. All debts were
 discharged, except those enumerated in Section 1328(a). There is no such thing
 as a personalized discharge order addressed to each creditor in a given
 bankruptcy case. That neither party sought to determine the dischargeability of
 the Tuition Answer Loans until now does not alter whether or not the debts were
 discharged under Section 523(a)(8) at the time the Discharge Order was entered;
 thereafter they both proceeded at their own risk. Any ambiguity in the law, or
 uncertainty as to the injunction’s applicability to the Tuition Answer Loans, is
 relevant to the inquiry as to whether any contempt violation, if proven, was willful.
 Accordingly, the Court will not dismiss the claim on that basis. Whether or not the
 evidence at trial will support the claim is a matter for another day.


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   The Court rejects the notion Plaintiff’s claim would need to be dismissed on procedural grounds
 for failure to file a motion for contempt in the main bankruptcy case, as that requirement would
 elevate form over substance. See, e.g., Gray v. Nussbeck (In re Gray), 586 B.R. 347, n.19 (Bankr.
 D. Kan. 2018); Montano v. First Light Fed. Credit Union (In re Montano), 398 B.R. 47, 55-56
 (Bankr. D.N.M. 2008).
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        B.     The Rule 12(f) Motion to Strike.

       Rule 12(f) allows a court to strike from a pleading “any redundant,
 immaterial, impertinent, or scandalous matter.”               Fed.R.Civ.P. 12(f);
 Fed.R.Bankr.P. 7012(b). But “[s]triking a portion of a pleading is a drastic remedy;
 the federal courts generally view motions to strike with disfavor and infrequently
 grant such requests.” Purzel Video GmbH v. Smoak, 11 F.Supp.3d 1020, 1029
 (D. Colo. 2014) (citing 5C Arthur R. Miller & Mary Kay Kane, Federal Practice and
 Procedure § 1380 (3d ed. 2011)).

         The purpose of Rule 12(f) “is to conserve time and resources by avoiding
 litigation of issues which will not affect the outcome of a case.” Sierra Club v. Tri–
 State Generation & Transmission Ass'n, 173 F.R.D. 275, 285 (D. Colo.1997) (citing
 United States v. Smuggler–Durant Mining Corp., 823 F.Supp. 873, 875
 (D. Colo.1993)). Accordingly, courts deny motions to strike immaterial and
 impertinent matter “unless it can be shown that no evidence in support of the
 allegation[s] would be admissible.” United States v. Shell Oil Co., 605 F.Supp.
 1064, 1085 (D. Colo. 1985) (quoting Lipsky v. Commonwealth United Corp., 551
 F.2d 887, 893 (2d Cir. 1976)). “Only allegations ‘so unrelated to plaintiff’s claims
 as to be unworthy of any consideration’ should be stricken.” Id. (quoting EEOC v.
 Ford Motor Co., 529 F.Supp. 643, 644 (D. Colo. 1982)). Further, “[i]rrelevant
 allegations will be stricken as scandalous only if they degrade defendants’ moral
 character, contain repulsive language, or detract from the dignity of the court.”
 Sierra Club, 173 F.R.D. at 285 (citing Nault's Auto. Sales v. American Honda Motor
 Co., 148 F.R.D. 25, 30 (D.N.H.1993) (further citation omitted)).

         “Even where the challenged allegations fall within the categories set forth
 in the rule, a party must usually make a showing of prejudice before the court will
 grant a motion to strike.” Sierra Club, 173 F.R.D. at 285. “Inappropriately
 hyperbolic allegations, ill-conceived attempts at levity, and other similar
 manifestations of bad judgment in drafting pleadings, by themselves, fall short of
 the threshold that Rule 12(f) contemplates.” Saylavee LLC v. Hockler, 228 F.R.D.
 425, 426 (D. Conn. 2005).

       It is important to keep in mind Plaintiffs’ allegations are made against a
 corporate entity in a matter that will be tried to the Court. Although Plaintiffs’
 allegations in paragraphs 1 and 9 through 19 may be hyperbolic, they are not so
 unrelated to Plaintiffs’ claims as to be unworthy of any consideration. To the
 contrary, the allegations are relevant to Plaintiffs’ claim for violation of the
 discharge injunction. The Court, therefore, denies Navient’s motion to strike the
 allegations.



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 VI.    CONCLUSION

        For the reasons stated herein, the Court DENIES the Motion to Dismiss
 Plaintiffs’ Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
 Impertinent Matter Under Fed.R.Civ.P. 12(f) filed by Defendant Navient Solutions,
 LLC.

 Dated: September 24, 2018.
                                          BY THE COURT:


                                          _________________________
                                          Kimberley H. Tyson
                                          United States Bankruptcy Judge




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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

 In re:                             )
                                    )                Case No. 09-37480 (KHT)
 BYRON PATTERSON MCDANIEL JR. )
 AND LAURA PAIGE MCDANIEL           )                Chapter 13
                                    )
       Debtors.                     )
 __________________________________ )
                                    )
 BYRON PATTERSON MCDANIEL JR. )
 AND LAURA PAIGE MCDANIEL,          )
                                    )                Adversary Proceeding No. 17-01274-KHT
       Plaintiffs,                  )
 v.                                 )
                                    )
 NAVIENT SOLUTIONS, LLC,            )
                                    )
       Defendant.                   )
 _____________________________________________________________________________

                NOTICE OF APPEAL AND STATEMENT OF ELECTION
 _____________________________________________________________________________

 Part 1: Identify the appellant(s)

          1.   Name(s) of appellant(s):

               Navient Solutions, LLC

          2.   Position of appellant(s) in the adversary proceeding or bankruptcy case that is the
               subject of this appeal:

               For appeals in an adversary proceeding.      For appeals in a bankruptcy case and
                                                            not in an adversary proceeding.

                Plaintiff                                   Debtor
                Defendant                                   Creditor
                Other (describe) __________________         Trustee
                                                             Other (describe) ______________




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 Part 2: Identify the subject of this appeal

          1.     Describe the judgment, order, or decree appealed from:

                 Order on Motion to Dismiss and Motion to Strike (Dkt. No. 30) (Copy attached as
                 Exhibit A)

          2.     State the date on which the judgment, order, or decree was entered: September
                 24, 2018.

 Part 3: Identify the other parties to the appeal

 List the names of all parties to the judgment, order, or decree appealed from and the names,
 addresses, and telephone numbers of their attorneys (attached additional pages if necessary):

          1.     Byron Patterson               Attorney:      Austin Smith
                 McDaniel, Jr.                                Smith Law Group
                 (Appellee)                                   3 Mitchell Place
                                                              New York, NY 10017
                                                              (917) 992-2121
                                                              austin@acsmithlawgroup.com

          2.     Laura Paige McDaniel          Attorney:      Austin Smith
                 (Appellee)                                   Smith Law Group
                                                              3 Mitchell Place
                                                              New York, NY 10017
                                                              (917) 992-2121
                                                              austin@acsmithlawgroup.com

 Part 4: Optional election to have appeal heard by District Court (applicable only in certain
 districts)

 If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate
 Panel will hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the
 appeal heard by the United States District Court. If an appellant filing this notice wishes to have
 the appeal heard by the United States District Court, check below. Do not check the box if the
 appellant wishes the Bankruptcy Appellate Panel to hear the appeal.

           Appellant(s) elect to have the appeal heard by the United States District Court rather
            than by the Bankruptcy Appellate Panel




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 Part 5: Sign below

          Dated this 9th day of October, 2018.

                                                 SHERMAN & HOWARD L.L.C.


                                                 /s/ Eric E. Johnson
                                                 Eric E. Johnson
                                                 Carla Martin
                                                 633 Seventeenth Street, Suite 3000
                                                 Denver, Colorado 80202
                                                 Tel: (303) 297-2900
                                                 E-Mail: ejohnson@shermanhoward.com
                                                           cmartin@shermanhoward.com

                                                 Attorney for Navient Solutions, LLC




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies the following parties received a true and correct copy of
 the foregoing NOTICE OF APPEAL AND STATEMENT OF ELECTION via a Notice of
 Electronic Filing transmitted by CM/ECF in accordance with Local Bankruptcy Rule 5005-4(a)
 on the 9th day of October, 2018:

 Austin Smith
 austin@acsmithlawgroup.com




                                              /s/ Roberta Neal
                                              Roberta Neal




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                             Exhibit A




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

   In re:

   BYRON PATTERSON McDANIEL JR.                Case No. 09-37480 KHT
   and LAURA PAIGE McDANIEL,
                                               Chapter 13
        Debtors.


   BYRON PATTERSON McDANIEL JR.                Adversary No. 17-01274 KHT
   and LAURA PAIGE McDANIEL,

        Plaintiff,
   v.

   NAVIENT SOLUTIONS, LLC,

        Defendant.


              ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE

         THIS MATTER comes before the Court on a Motion to Dismiss Plaintiffs’
  Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
  Impertinent Matter Under Fed.R.Civ.P. 12(f) (the “Motion”) (Docket #8) filed by
  Defendant Navient Solutions, LLC (“Navient”), the Response (Docket #10) filed by
  Debtors Byron Patterson McDaniel Jr. and Laura Paige McDaniel (together,
  “Plaintiffs” or “Debtors”), and Navient’s Reply (Docket #14). The Court heard oral
  argument on March 20, 2018 and has considered the pleadings, arguments, and
  supplemental authorities submitted. For the reasons stated herein, the Court
  denies the Motion.

  I.        JURISDICTION

        This Court has jurisdiction of this proceeding pursuant to 28 U.S.C. §§ 1334
  and 157. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2). Navient
  consents to entry of final orders or judgments of the Bankruptcy Court in this
  matter.




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  II.    BACKGROUND

        On December 24, 2009, Plaintiffs filed a voluntary Chapter 13 case and plan,
  using the standard form (Case No. 09-37480, Docket #2).

        In their bankruptcy schedules, Plaintiffs listed debts to “Sallie Mae,”
  described as “educational,” and they also listed debts to “Great Lakes.” (Case
  No. 09-37480, Docket #1). Nevertheless, Plaintiffs did not check the box in
  Section V.E. of the plan indicating they had student loans. The Chapter 13 Trustee
  objected to the plan on several grounds, including the plan “ma[de] no provision
  for debtor’s non-dischargeable student loan.” Case No. 09-37480, Docket #12.

         On April 1, 2010, Plaintiffs filed an amended Chapter 13 plan (the “Plan”).
  This time, Plaintiffs indicated in Section V.E. of the Plan they had student loans
  and proposed to treat them “as an unsecured Class Four claim or as follows:
  deferred until end of plan.” Case No. 09-37480, Docket #25. The Court confirmed
  the Plan on May 4, 2010. Case No. 09-37480, Docket #32.

        A total of nine proofs of claim were filed by Sallie Mae entities and Great
  Lakes Higher Education Corp. Case No. 09-37480, Claims Register. The Great
  Lakes claims (Proofs of Claim Nos. 6 and 7) were subsequently assigned to
  Educational Credit Management Corp. and are based upon Federal Stafford
  Loans. At least five of the Sallie Mae claims (Proofs of Claim Nos. 25 through 29)
  were filed by or on behalf of Navient.

        The Court entered an Order for Discharge of Plaintiffs on March 3, 2015,
  granting them a discharge under section 1328(a) of Title 11, United States Code
  (“Discharge Order”). Case No. 09-37480, Docket #54.

        On June 30, 2017, the Court granted Plaintiffs’ motion to reopen their
  Chapter 13 case. Thereafter, Plaintiffs filed this adversary proceeding against
  Navient, requesting a declaratory judgment pursuant to 28 U.S.C. § 2201 and
  Fed.R.Bankr.P. 7001(9) that certain “Tuition Answer Loans” held by Navient are
  not excepted from discharge under 11 U.S.C. § 523(a)(8) and were, therefore,
  discharged upon entry of the Discharge Order. They also seek damages for
  alleged willful violations of the discharge injunction by Navient pursuant to
  11 U.S.C. §§ 105 and 524.

  III.   PLAINTIFFS’ CLAIMS

        The Complaint contains general allegations concerning the history of
  changes to 11 U.S.C. § 523(a)(8) and Navient’s alleged efforts to deceive “student
  debtors and subvert the orderly working of the bankruptcy courts . . . [by] originating

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  and servicing dischargeable consumer loans and disguising them as non-
  dischargeable student loans.” Complaint, ¶1. Navient seeks to strike many of
  these general allegations.

         Plaintiffs allege Section 523(a)(8)1, as originally enacted in 1978, prohibited
  discharge of federal student loans during the first five years of repayment absent
  undue hardship but “[t]hrough a series of amendments, which first lengthened and
  then eliminated the five-year non-dischargeability time frame, it has become
  increasingly difficult for debtors to attain discharges of their student loan debts.”
  Complaint, ¶9. Prior to BAPCPA2, Section 523(a)(8) was “easy to apply because
  the exception to dischargeability was absolute. If a student loan was issued or
  guaranteed by the federal government, it was non-dischargeable absent a showing
  of ‘undue hardship.’ [However, t]his fueled the belief that all student loans are non-
  dischargeable.” Complaint, ¶13.

         In 2005, the enactment of BAPCPA afforded limited protection to some
  private educational loan products “to the extent that such [lending] supplemented
  and mirrored federal student lending: money lent to eligible students at Title IV
  accredited schools solely for tuition, room, board, and books (‘Qualified Education
  Loans’).” Complaint, ¶11.

         Plaintiffs allege Navient (formerly known as Sallie Mae or SLM Corporation)
  was not satisfied with the loan origination volume and restrictions associated with
  Qualified Educational Loans. Complaint, ¶12. Therefore, Navient created new
  loan products that are in essence dischargeable consumer loans, deceiving
  student borrowers by representing to them that “the Bankruptcy Code prohibited
  discharge of any loan made to any person for any educational purpose.”
  Complaint, ¶16 and ¶12.3

        The problem was made worse because Section 523(a)(8) is self-executing,
  and “thus its correct application relies on the good faith and honesty of creditors.”
  Complaint, ¶14. “Importantly, the discharge order does not specifically state which
  loans, if any, are presumptively excepted from discharge. Rather, it states that the
  order does not discharge some debts, including ‘debts for most student loans.’” Id.

  1
      All Sections referred to herein are to the Bankruptcy Code, 11 U.S.C. § 101, et seq.
  2
      Bankruptcy Abuse and Consumer Protection Act, Pub. L. No. 109-8, § 220, 119 Stat. 23, 59
      (2005) (hereafter, “BAPCPA”).
  3
      While Navient was marketing these new loan products to student borrowers, Navient was also
      attempting to securitize the new loan products for sale on the secondary market. Plaintiffs allege
      to avoid securities violations, Navient disclosed to its potential (sophisticated) investors in
      student loan asset-backed securities prospectuses that “pursuant to section 523(a)(8), only
      private loans made for qualified expenses were excepted from discharge.” Complaint, ¶19.
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         Plaintiffs assert a creditor has the burden to prove its debt is encompassed
  by Section 523(a)(8) and is presumptively nondischargeable, then the burden
  shifts to the debtor to show undue hardship. Complaint, ¶15. “Absent an
  adversary proceeding, any educational debt not encompassed by section
  523(a)(8) is automatically and as a matter of law discharged upon entry of the
  discharge order. Accordingly, it is left to the creditors to determine whether their
  particular educational loan is excepted from discharge by Section 523(a)(8) and,
  where confusion exists, seek clarity from the court. The creditor’s good faith and
  the threat of sanctions are the only checks on compliance with discharge
  injunctions.” Id.

         In the Complaint, Plaintiffs also make specific allegations regarding the
  Tuition Answer Loans held by Navient. Plaintiffs allege the Tuition Answer
  Program is a direct-to-consumer loan product outside the confines of the financial
  aid office and in excess of the school’s published “Cost of Attendance” (“COA”).
  Complaint, ¶17. From 2004-2007, Plaintiffs borrowed $107,467 in six (6) Sallie
  Mae Tuition Answer Loans. Complaint, ¶20. The total balance of these Tuition
  Answer Loans is now $245,264, “despite consistent monthly payments of more
  than $2,000 for several years.” Complaint, ¶21.

         Plaintiff Laura Paige McDaniel attended Lakeland College from 2004 to
  2007. Complaint, ¶22. Her COA for qualified tuition and related expenses for each
  year was: $5,340 in 2004, $10,650 in 2005, $6,450 in 2006, and $6,390 in 2007,
  as reflected on Tuition Statements issued by Lakeland College to Ms. McDaniel
  attached to the Complaint as Exhibit A. Complaint, ¶23. Ms. McDaniel borrowed
  the COA in the form of federal student loans, as reflected on Federal Stafford Loan
  documentation attached to the Complaint as Exhibit C. Complaint, ¶24.

         Plaintiffs borrowed an additional $107,467 through the Tuition Answer
  Loans, “made outside the financial aid office and [not] for qualified education
  expenses.” Complaint, ¶25. Attached as Exhibit B to the Complaint are copies of
  loan applications and promissory notes for the Tuition Answer Loans. Id. The
  Tuition Answer Loans were not made solely for the COA and accordingly, were not
  “qualified education loans” as defined in Section § 523(a)(8)(B). Complaint, ¶26.4

       Debtors listed the Tuition Answer Loans on their Bankruptcy Schedule F.
  Complaint, ¶27. Debtors made payments totaling $26,782 on the Tuition Answer
  Loans during their Chapter 13 bankruptcy case. Complaint, ¶28.

  4
      The Court notes, however, one of the loan documents in Exhibit B to the Complaint contains
      the following language: “this loan is a qualified education loan as described in Section 221(d)(1)
      of the Internal Revenue Code of 1986.” Exhibit B to Complaint, p.14 of 40.

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         Navient was notified of the Discharge Order. Complaint, ¶30. Instead of
  charging the Tuition Answer Loans off, Navient demanded payments in violation
  of the Discharge Order and the Bankruptcy Code. Complaint, ¶32. Plaintiffs allege
  “owing to [Navient’s] tactics, [P]laintiffs have repaid $37,460 on these discharged
  debts. These payments were not made ‘voluntarily’ but were made solely based
  on Defendant Navient’s material misrepresentations regarding the legal status and
  character of the Tuition Answer Loans.” Complaint, ¶33. Navient’s “abusive,
  deceptive and harassing collection efforts” after entry of the Discharge Order “were
  made knowingly and willfully in violation of this Court’s discharge orders and must
  be sanctioned.” Complaint, ¶34.

  IV.    NAVIENT’S MOTION

         Navient requests dismissal of the Complaint for failure to state a claim under
  Fed.R.Civ.P. 12(b)(6) (Fed.R.Bankr.P. 7012(b)). Navient also moves to strike
  certain allegations as immaterial and impertinent matter under Fed.R.Civ.P.12(f)
  (Fed.R.Bankr.P. 7012(b)).

          Navient asserts the confirmed Plan distinguished the Tuition Answer Loans
  from Plaintiffs’ other dischargeable unsecured debts in Class Four and treated
  them “as non-dischargeable.” Motion, p.16; see also Motion, p.17 (“[i]nstead of
  filing an adversary proceeding to seek a discharge of their loans, Debtors amended
  their [P]lan to expressly provide that their [Tuition Answer] Loans would not be
  discharged along with their other unsecured claims”) (emphasis in original).
  Accordingly, Navient argues principles of res judicata prohibit Plaintiffs from
  reversing their earlier position taken in the Plan, in light of the finality of the Plan
  confirmation order and the Supreme Court’s decision in United Student Aid Funds,
  Inc. v. Espinosa, 559 U.S. 260 (2010).

         Alternatively, Navient argues dismissal is warranted because the Complaint,
  on its face, establishes the Tuition Answer Loans are excepted from discharge as
  “obligation[s] to repay funds received as an educational benefit” under Section
  523(a)(8)(A)(ii). Through the Tuition Answer Loans, Ms. McDaniel “received the
  funds that allowed [her] to attend Lakeland College. Indeed, [Plaintiffs] certified to
  Navient ‘all of the loan proceeds . . . are to pay expenses directly related to
  attending’ Lakeland College.” Motion, p.19 (quoting Complaint, Exhibit B, pp.6,
  31, 38 of 40). Then, when they filed bankruptcy, Plaintiffs scheduled the debt as
  “educational” in nature. Motion, p.19. “By enabling Ms. McDaniel to enroll in and
  attend college and support her personal decision to improve her life through higher




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  education, the loans conferred ‘educational benefits’ on her and are therefore
  excepted from discharge in bankruptcy.” Motion, p.20.

         In support, Navient cites cases holding private student loans are
  “obligation[s] to repay funds received as an educational benefit” under Section
  523(a)(8)(A)(ii). Because the “Debtors do not, and cannot, allege that they used
  their [Tuition Answer] Loans for anything but educational purposes, nothing in
  Debtors’ Complaint allows them to avoid the same result.” Motion, pp.22-23.
  Navient contends the cases that hold otherwise are badly reasoned, and those
  courts misapply the principles of statutory interpretation they invoke.

         Since the Tuition Answer Loans were not discharged, Navient asserts there
  can be no violation of the discharge injunction. In any case, Navient argues this
  claim should be dismissed because the discharge injunction is enforceable only
  through contempt proceedings and there is no private right of action for violation
  of the discharge injunction. Since Plaintiffs’ claim must be construed as a claim
  for contempt, the order under which they seek contempt must be “clear and
  specific.” The Discharge Order is not “clear and specific” but rather, provides most
  student loans are not dischargeable. Motion, p.35.

         Navient also moves to strike paragraph 1 and paragraphs 9 through 19 of
  the Complaint because the allegations set forth in these twelve paragraphs
  constitute a “superfluous attack on [Navient’s] character, inappropriate for a short
  and plain statement of the claim.” Motion, p.37 (citations omitted). Navient
  contends the overblown and non-specific allegations in these paragraphs malign
  Navient, refer to “pervasive, systemic wrongdoing” and have no bearing on any
  issues in this case. Motion, p.38. Plaintiffs’ “allegations of nonspecific fraud
  perpetrated by unnamed actors using unspecified means against unnamed victims
  are inflammatory, unnecessary, and irrelevant”, and the Court should strike them
  as either a superfluous attack on character, or deficiently pleaded fraud claims. Id.

  V.     DISCUSSION

         A.     The Rule 12(b)(6) Motion to Dismiss.

        Rule 8 notice pleading “requires a short and plan statement of the claim
  showing that the pleader is entitled to relief.” Fed.R.Civ.P. 8(a)(2); Fed.R.Bankr.P.
  7008. “[H]eightened fact pleading of specifics” is not required; rather, a party must
  assert “only enough facts to state a claim to relief that is plausible on its face . . .
  to nudg[e his] claims across the line from conceivable to plausible . . .” Bell Atl.
  Corp. v. Twombly, 550 U.S. 544, 570 (2007).



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         Failure to state a claim is a defense that may be presented by motion.
  Fed.R.Civ.P. 12(b)(6); Fed.R.Bankr.P. 7012(b). On a motion to dismiss, this Court
  must accept all well-pled facts in the Complaint as true and view them in the light
  most favorable to Plaintiff. Barnes v. Harris, 783 F.3d 1185, 1191-92 (10th Cir.
  2015) (citing Sutton v. Utah State Sch. for the Deaf & Blind, 173 F.3d 1226, 1236
  (10th Cir. 1999). But “the tenet that a court must accept as true all of the allegations
  contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal,
  556 U.S. 662, 678 (2009).

        Granting a motion to dismiss “is a harsh remedy which must be cautiously
  studied, not only to effectuate the spirit of the liberal rules of pleading but also to
  protect the interests of justice.” Dias v. City and Cnty. of Denver, 567 F.3d 1169,
  1178 (10th Cir. 2009) (citing Duran v. Carris, 238 F.3d 1268, 1270 (10th Cir. 2001)
  (quotation omitted)).

        The Court reviews Navient’s Motion with the above principles in mind.
  Section 523(a)(8) provides a discharge under section 1328(b) does not discharge
  an individual debtor from any debt –

           (8) Unless excepting such debt from discharge under this
           paragraph would impose an undue hardship on the debtor and the
           debtor’s dependents, for –

                (A)(i) an educational benefit overpayment or loan made,
                insured or guaranteed by a governmental unit, or made
                under any program funded in whole or in part by a
                governmental unit or nonprofit institution; or

                     (ii) an obligation to repay funds received as an
                     educational benefit, scholarship or stipend; or

                (B) any other educational loan that is a qualified education
                loan, as defined in section 221(d)(1) of the Internal Revenue
                Code of 1986, incurred by a debtor who is an individual . . .

  11 U.S.C. § 523(a)(8).

                1.      The Parties’ Respective Burdens.

          The parties agree Plaintiffs bear the burden of proving “undue hardship,” but
  they disagree over who must bring an adversary proceeding to determine whether
  a student loan falls within the nondischargeable rubric of Section 523(a)(8) in the
  first place, as this section of the Bankruptcy Code is self-executing. This dispute

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  is academic; Plaintiffs did bring this adversary proceeding, and the Court finds it
  was not too late for them to do so. Compare Fed.R.Bankr.P. 4007(c) (complaints
  to determine dischargeability of a debt under Section 523(c) must be filed no later
  than 60 days after the first date set for the meeting of creditors) with Gimbel v. U.S.
  Dep’t of Educ. (In re Gimbel), Adv. No. 17-01048-j, 2018 WL 1229718, *4 (Bankr.
  D.N.M. March 8, 2018) (“there is no deadline expressly imposed by the Code or
  Rules for filing an adversary proceeding to determine whether a student loan debt
  should be excepted from the discharge under § 523(a)(8)”).

        As to the burden of proof, it remains on the creditor to show its debt is
  excepted from discharge under Section 523. Grogan v. Garner, 498 U.S. 279, 287
  (1991). Thus Navient, “as a creditor, must prove, by a preponderance of the
  evidence, that a debt exists and the debt is the type excepted from discharge under
  § 523(a)(8).” Hoffman v. Educ. Credit Mgmt. Corp. (In re Hoffman), 557 B.R. 177,
  184 (Bankr. D. Colo. 2016) (citations omitted).

                2.      Principles of Res Judicata and Espinosa.

        Res judicata applies when the following three elements exist: “(1) a [final]
  judgment on the merits in an earlier action; (2) identity of parties or privies in the
  two suits; and (3) identity of the cause of action in both suits.” Wilkes v. Wyo. Dep’t
  of Emp’t Div. of Labor Standards, 314 F.3d 501, 504 (10th Cir. 2002) (as amended
  Jan. 14, 2003) (quoting King v. Union Oil Co., 117 F.2d 443, 445 (10th Cir. 1997)).

         Navient’s res judicata argument suffers from a fatal flaw: the Plan does not
  say what Navient says it does. It is true the confirmed Plan is final and binds
  Plaintiffs and all of their creditors, including Navient. But the Plan did not specify
  one way or the other whether the Tuition Answer Loans were – or were not –
  discharged; the Plan is simply not instructive on this point. Section V.E. of the Plan
  only specifies Plaintiffs’ student loans – of which they had several, including
  Federal Stafford Loans owing to Great Lakes or its assigns – were “to be treated
  as an unsecured Class Four claim or as follows: deferred until end of plan.” Case
  No. 09-37480, Docket #25. The Plan is silent as to the dischargeability or non-
  dischargeability of the Tuition Answer Loans vis-à-vis Plaintiffs’ other educational
  loans, or other unsecured debts. Nowhere in the Plan does it state the Tuition
  Answer Loans, or any of Plaintiffs’ student loans, were nondischargeable; Navient
  relies upon a mischaracterization of the terms of the Plan.

        Nor does Plaintiffs’ description of Navient’s debt on their Bankruptcy
  Schedules as “educational” influence its dischargeability. “Educational” loans, or
  “student” loans, are not nondischargeable simply because they are labeled as
  such; they must meet one or more of the criteria set forth in Section 523(a)(8). “A
  construction so broad would be incompatible with the ‘well-known’ guide that

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  exceptions to discharge ‘should be confined to those plainly expressed.’”
  Kawaauhau v. Geiger, 523 U.S. 57, 62 (1998) (quoting Gleason v. Thaw, 236 U.S.
  558, 562 (1915)).

        In Espinosa, the Supreme Court held the lender was bound by the terms of
  the debtors’ confirmed plan even though confirmation of that plan was legal error.
  United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 275 (2010). The
  Chapter 13 plan in Espinosa expressly provided the debtors’ student loans were
  discharged for undue hardship, and the creditor had actual notice of the plan and
  did not object. Id. at 264-265.

        Navient contends Espinosa applies in the reverse and mandates the
  conclusion Plaintiffs’ claims are barred on account of their confirmed Plan. But the
  true reverse of Espinosa would be a plan that expressly provided the Tuition
  Answer Loans, or any of Plaintiffs’ student loans, were not dischargeable. Here,
  the Plan contains no explicit statement or determination as to the dischargeability
  of any of Plaintiffs’ student loans. Navient’s reliance upon Espinosa as controlling
  authority over the outcome of this case is misplaced.

        Because the confirmed Plan is not a final determination on the merits, the
  Court will not dismiss Plaintiffs’ Section 523(a)(8) claim on the basis of res judicata
  or application of Espinosa.

                 3.      Section 523(a)(8)(A)(ii).

         Absent undue hardship, Section 523(a)(8)(A)(ii) excepts from discharge “an
  obligation to repay funds received as an educational benefit, scholarship or
  stipend.” 11 U.S.C. 523(a)(8)(A)(ii). The crux of the dispute is whether the Tuition
  Answer Loans fall within the ambit of this subsection as a matter of law. Courts in
  other jurisdictions are divided on the issue, with some courts holding private loans
  that provide an educational benefit to the borrower fit within Section 523(a)(8)(A)(ii)
  (the view espoused by Navient), and other courts embracing a much narrower
  view, holding such educational loans are not included within this particular
  subsection (Plaintiffs’ position).5 There is no controlling authority on point within
  the Tenth Circuit.

        The Court’s inquiry “begins where all such inquiries must begin: with the
  language of the statute itself.” Unites States v. Ron Pair Enterprises, Inc., 489

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    While the parties dispute whose side is in the majority, the recent trend is clearly in favor of
  Plaintiffs’ position. In their Response, Plaintiffs indicate there are 18 cases that support Navient’s
  position, and cite 18 cases that support their own position, including 8 of the last 9 cases decided
  since 2016. Since the time the parties’ briefs were submitted, additional decisions have been
  rendered in other districts also supporting Plaintiffs’ view of Section 523(a)(8)(A)(ii).
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  U.S. 235, 241 (1989). If the statute’s language is plain, “the sole function of the
  courts is to enforce it according to its terms.” Id. (quoting Caminetti v. United
  States, 242 U.S. 470, 485 (1917)).

          “When interpreting statutory language, this court ‘must look to the particular
  statutory language at issue, as well as the language and design of the statute as
  a whole.’” Office of Thrift Supervision v. Overland Park Fin. Corp. (In re Overland
  Park Fin. Corp.), 236 F.3d 1246, 1252 (10th Cir. 2001) (citing True Oil Co. v.
  Comm’r of Internal Revenue, 170 F.3d 1294, 1299 (10th Cir.1999) (quotation
  marks and citation omitted)). Section 523(a)(8)(A)(ii) cannot be read in isolation;
  it is necessary to read Section 523(a)(8) as a whole. “The meaning – or ambiguity
  – of certain words or phrases may only become evident when placed in context.”
  Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 54 (Bankr. E.D.N.Y.
  2016) (citing Brown v. Gardner, 513 U.S. 115, 118 (1994)).

         Section 523(a)(8)(A)(ii) is sandwiched in between Sections 523(a)(8)(A)(i)
  and (B). Notably absent from Section 523(a)(8)(A)(ii) is the word “loan” which is
  used in both Sections 523(a)(8)(A)(i) and 523(a)(8)(B). In Section 523(a)(8)(A)(i),
  Congress excepted from discharge “an educational benefit overpayment or loan
  made, insured, or guaranteed by a governmental unit, or made under any program
  funded in whole or in part by a governmental unit or nonprofit institution”. 11 U.S.C.
  § 523(a)(8)(A)(i) (emphasis added). The disjunctive “or” in Section 523(a)(8)(A)(i)
  is significant, because it distinguishes an “educational benefit overpayment” from
  a “loan.” See, e.g., Loughrin v. United States, 134 S.Ct. 2384, 2390, 189 L.Ed.2d
  411 (2014) (in reviewing the language of the federal bank fraud statute in which
  elements of the crime were separated by the word “or,” the Supreme Court
  considered what “or” customarily means: “th[e] term’s ‘ordinary use is almost
  always disjunctive, that is, the words it connects are to be given separate
  meanings’”) (quoting United States v. Woods, 571 U.S. 31, 45 (2013)).

        The word “loan” is also used in Section 523(a)(8)(B), which excepts from
  discharge “any other educational loan that is a qualified education loan, as defined
  in section 221(d)(1) of the Internal Revenue Code of 1986, incurred by a debtor
  who is an individual”. 11 U.S.C. 523(a)(8)(B).

        Navient argues the fact Congress did not use the word “loan” in Section
  523(a)(8)(A)(ii) does not matter because an “obligation to repay funds received” is
  a loan; this phrase could not possibly fail to include loans – it is just more inclusive
  and expansive. Motion, pp.29-30. But given the specific language employed by
  Congress in Sections 523(a)(8)(A)(i) and (B) and the absence of the word “loan”
  from Section 523(a)(8)(A)(ii), the Court concludes “an obligation to repay funds
  received as an educational benefit, scholarship or stipend” does not include a loan.
  “[W]hen ‘Congress includes particular language in one section of a statute but

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  omits it in another’ — let alone in the very next provision — this Court ‘presume[s]’
  that Congress intended a difference in meaning.” Loughrin v. United States, 134
  S.Ct. 2384, 2390, 189 L.Ed.2d 411 (2014) (emphasis added) (quoting Russello v.
  United States, 464 U.S. 16, 23 (1983) (further citation omitted)).

        Moreover, another critical little word appearing in Section 523(a)(8)(A)(ii) is
  the word “as.” “As” is a qualifier; it denotes how the funds were received. In a
  recent decision, the Bankruptcy Court for the Southern District of Texas examined
  the word “as” in Section 523(a)(8)(A)(ii):

           The use of the word “as” denotes “in the character or under the name
           of.” [T]o the contrary, “for” denotes “in consideration for . . . in
           exchange for.” [T]he Court concludes that 523(a)(8)(A)(ii) created a
           new category of nondischargeable debts specifically tailored to
           address a perceived need. That need did not include all loans that
           were in some way used by a debtor for education.

  Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R. 830, 836 (Bankr. S.D.
  Tex. 2018) (quoting Black’s Law Dictionary (6th ed. 1990)). This Court agrees. The
  language of the statute sets an educational benefit apart from a loan, and excepts
  from discharge a category of obligations in Section 523(a)(8)(A)(ii) that does not
  include loans but rather, “educational benefit[s]”, “scholarship[s]”, and “stipend[s].”6

         If Navient’s interpretation of Section 523(a)(8)(A)(ii) is correct – i.e.,
  obligations that confer educational benefits are excepted from discharge – there
  would be no need for a separate provision excepting from discharge benefit
  overpayments or loans made, insured, or guaranteed by governmental units, or
  under programs funded by governmental units or nonprofit institutions (Section
  523(a)(8)(A)(i)). Nor would there be any need for a separate provision excepting
  from discharge “qualified education loans” (Section 523(a)(8)(B)). Navient’s
  interpretation offends a “cardinal principle” of statutory construction, that courts
  have a “duty to give effect, if possible, to every clause and word of a statute.”
  United States v. Smith, 756 F.3d 1179, 1187 (10th Cir. 2014) (quoting Duncan v.
  Walker, 533 U.S. 167, 174 (2001) (internal quotation marks and brackets omitted)).


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      Like the court in Campbell, it is not necessary for this Court to decide whether the educational
      benefits, scholarships, and stipends referred to in Section 523(a)(8)(A)(ii) include only those
      made insured, or guaranteed by a governmental unit, or made under any program funded in
      whole or in part by a governmental unit or nonprofit institution; the crux of the issue here is
      whether an “educational benefit” in Section 523(a)(8)(A)(ii) encompasses a private loan such
      as the Tuition Answer Loans. See Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 59
      (Bankr. E.D.N.Y. 2016) (comparing Sensient Technologies Corp. v. Baiocchi (In re Baiocchi),
      389 B.R. 828, 831–32 (Bankr. E.D. Wis. 2008) with In re Nunez, 527 B.R. 410, 415 (Bankr. D.
      Or. 2015)).
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         In Campbell, decided in 2016, the Bankruptcy Court for the Eastern District
  of New York denied a lender’s motion to dismiss debtor’s complaint to determine
  dischargeability of a private bar study loan, holding Section 523(a)(8)(A)(ii) did not
  encompass such a loan. Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49
  (Bankr. E.D.N.Y. 2016).         The Campbell court reasoned that if Section
  523(a)(8)(A)(ii) applied to loans, it would “swallow” the other sections of 523(a)(8).
  In re Campbell, 547 B.R. at 55.

        Navient argues Campbell was wrongly decided; Section 523(a)(8)(A)(ii)
  does not render other provisions of Section 523 superfluous but rather, that
  subsection provides “limited overlapping coverage” consistent with Supreme Court
  precedent, In Husky Int’l Elec., Inc. v. Ritz, 136 S.Ct. 1581, 194 L.Ed.2d 655 (2016)
  (concluding some overlap in coverage regarding the definition of “actual fraud” did
  not render Section 523(a) redundant). Reply, p.24. In other words, Section
  523(a)(8)(A)(ii) catches instances of nondischargeability that other subparts of
  523(a)(8) might miss, “reinforc[ing] the broad scope of the discharge exception for
  student loans.” Motion, p.26. Unlike other subsections, Navient points out that
  Section 523(a)(8)(A)(ii) requires funds to be “received,” so “both a private bar-study
  loan and a judgment debt to a co-signor on a defaulted government-backed
  university loan that the co-signor paid in full would be exempt from discharge under
  523(a)(8)(A)(ii) but not § 523(a)(8)(A)(i) or (B), respectively.” Motion, pp.25-26.
  The Court is not persuaded by this somewhat circular argument. If the legislature
  intended Section 523(a)(8)(A)(ii) to address potential liability to a co-signor, it could
  have done so explicitly; for example, Section 523 expressly includes separate
  categories of nondischargeable debt “incurred to pay a tax to the United States
  that would be nondischargeable pursuant to paragraph (1)” and “incurred to pay a
  tax to a governmental unit, other than the United States, that would be
  nondischargeable under paragraph (1).” 11 U.S.C. 523(a)(14), (14A).

        Accordingly, based upon the plain language of the statute, this Court
  embraces the trending narrower view of Section 523(a)(8)(A)(ii) espoused in
  Campbell. See, e.g., Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R.
  830 (Bankr. S.D. Tex. 2018); Nypaver v. Nypaver (In re Nypaver), 581 B.R. 431
  (Bankr. W.D. Pa. 2018); Essangui v. SLF V-2015 Trust (In re Essangui), 573 B.R.
  614 (Bankr. D. Md. 2017); Dufrane v. Navient Solutions, Inc. (In re Dufrane), 566
  B.R. 28 (Bankr. C.D. Ca. 2017); Campbell v. Citibank, N.A. (In re Campbell), 547
  B.R. 49 (Bankr. E.D.N.Y. 2016).

        To the extent there is any ambiguity in Section 523(a)(8)(A)(ii), the doctrine
  of noscitur a sociis and the legislative history both support the narrower view.
  Employing the doctrine of noscitur a sociis, the Campbell court considered the
  meaning of “educational benefit” in the context of its surrounding words:

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  “scholarship” and “stipend.” In re Campbell, 547 B.R. at 55. Under this doctrine,
  “when a statute contains a list, each word in that list presumptively has a ‘similar’
  meaning.” Id. (citing Yates v. United States, 135 S.Ct. 1074, 1089, 191 L.Ed.2d
  64 (2015) (Alito, J., concurring in the judgment) (citing Gustafson v. Alloyd Co.,
  513 U.S. 561, 576 (1995)). The Campbell court noted “‘[s]cholarship’ and ‘stipend’
  both refer to funds which are not generally required to be repaid by the recipient”
  and concluded “educational benefit” may be understood the same way; they are
  all forms of conditional grants, not loans. In re Campbell, 547 B.R. at 55. This
  Court agrees. A “scholarship” is a “grant of financial aid to a student.” The
  American Heritage College Dictionary, 1220 (3d ed. 1997). A “stipend” is a “fixed
  and regular payment, such as a salary.” Id., at 1335. A “benefit” is a “payment
  made or an entitlement available in accordance with a wage agreement, an
  insurance policy, or a public assistance program.” Id., at 127. These words all
  signify granting, not borrowing.7

        Navient argues noscitur a sociis was misapplied in Campbell, given the
  broader context of Section 523(a)(8). But in this Court’s opinion, as discussed
  above, the broader context of Section 523(a)(8) – in which the words “loan” and
  “or” appear in its neighboring subsections – supports a narrow construction of
  Section 523(a)(8)(A)(ii). Navient’s argument that a loan used for educational
  purposes confers an educational benefit on the borrower, just like scholarships and
  stipends do, strays from both the text of the statute and the context in which it was
  enacted.

        As to the context, Section 523(a)(8) was enacted to safeguard “the solvency
  of government education loan programs” for “future students”. In re Campbell, 547
  B.R. at 59-60 (citing In re Pelkowski, 990 F.2d 737, 742 (3rd Cir. 1993) (quoting
  124 Cong. Rec. 1791-9 Representative Ertel) (further citations omitted)).
  Section 523(a)(8) of the Bankruptcy Reform Act of 1978 excepted from discharge
  any debt –

           to a governmental unit, or a nonprofit institution of higher education,
           for an educational loan, unless –




  7
      Navient complains a list of three items is insufficient to employ the doctrine, citing Graham
      County Soil and Water Conservation Dist. v. United States ex rel. Wilson, 559 U.S. 280, 288
      (2010). But in that case, unlike here, the Supreme Court declined to employ noscitur a sociis
      to a list of three disparate terms: “congressional,” “administrative,” and “Governmental
      Accounting Office.” Graham County Soil and Water Conservation Dist. v. United States ex rel.
      Wilson, 559 U.S. at 288 (finding each of the three terms “quite distinct from the other no matter
      how construed) (emphasis added).

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            (A) such loan first became due before five years before the date of
                the filing of the petition; or

            (B) excepting such debt from discharge under this paragraph will
                impose an undue hardship on the debtor and the debtor’s
                dependents;

  Bankruptcy Reform Act of 1978, Pub. L. No. 95–598 § 523(a)(8) (H.R. 8200), Nov.
  6, 1978, 92 Stat. 2549, 2591 (1978).

       The term “educational benefit” first appeared in Section 523(a)(8) in 1990,
  when the statute was amended to except from discharge any debt:

         for an educational benefit overpayment or loan made, insured, or
         guaranteed by a governmental unit, or made under any program
         funded in whole or in part by a governmental unit or nonprofit
         institution, or for an obligation to repay funds received as an
         educational benefit, scholarship or stipend . . .

  Crime Control Act of 1990, Pub. L. No. 101-647 § 3621(1), 104 Stat. 4789, 4965
  (1990). The amendment to Section 523(a)(8) by the Crime Control Act also
  extended the period of repayment in Section 523(a)(8)(A) to seven years. Id.

         The Campbell court examined the sparse legislative history and hearing
  testimony behind the 1990 amendments to Section 523(a)(8). In re Campbell, 547
  B.R. at 55. At the hearing, Bob Wortham, a United States attorney from the
  Eastern District of Texas, explained the amendments to Section 523(a)(8) added
  “to the list of non-dischargeable debts, obligations to repay educational funds
  received in the form of benefits (such as VA benefits), scholarships (such as
  medical service corps scholarships) and stipends”, citing U.S. Dep’t of Health and
  Human Servs. v. Smith, 807 F.2d 122 (8th Cir. 1986) in his statement. See In re
  Campbell, 547 B.R. at 55 (citing Federal Debt Collection Procedures of 1990:
  Hearing on P.L. 101-647 before the H. Subcomm. on Econ. and Commercial Law,
  H. Judiciary Committee 101st Cong. 74-75 (June 14, 1990) (Mr. Brooks’ Questions
  for the Record for Mr. Wortham)).

         In Smith, the Eighth Circuit held the pre-1990 version of Section 523(a)(8)
  encompassed a federal tuition assistance grant to a medical student who had
  defaulted on its conditions. U.S. Dep’t of Health and Human Servs. v. Smith, 807
  F.2d 122 (8th Cir. 1986). In reaching its decision, the Eighth Circuit was mindful of
  the “background and purpose of 523(a)(8) of the Bankruptcy Code” to correct a
  significant problem “[u]nder the Bankruptcy Act, [i.e.,] educational loans were

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  dischargeable resulting in millions of dollars in federally guaranteed loans
  defaulted upon annually.” Smith, 807 F.2d at 126 (emphasis added) (quoting In re
  Shipman, 33 B.R. 80, 82 (Bankr. W.D. Mo. 1983)).

         Navient points out the sparse legislative history examined in Campbell is a
  single remark, not made by a legislator, regarding a prior version of the statute.
  Motion, p.31. However, that selfsame sparsity of legislative history regarding the
  addition of “educational benefit” to Section 523(a)(8) suggests the legislature did
  not intend to extensively expand nondischargeability to private educational loans.
  A subsequent amendment to the statute supports this conclusion. With the
  enactment of BAPCPA in 2005, subsection (B) was added to Section 523(a)(8),
  including as nondischargeable “any other educational loan that is a qualified
  education loan, as defined in section 221(d)(1) of the Internal Revenue Code of
  1986, incurred by a debtor who is an individual”. Bankruptcy Abuse Prevention
  and Consumer Protection Act of 2005, Pub. L. No. 109-8, S. 256, 109th Cong.,
  § 220, 119 Stat. 23, 59 (2005). BAPCPA also separated subsection (A) into two
  subsections, (A)(i) and (A)(ii), without any changes to the text. If Section
  523(a)(8)(A)(ii) expanded the statute to include all loans that confer educational
  benefits, subsection (B) – adding “qualified education loans” under 26 U.S.C.
  § 221(d)(1) as nondischargeable – would have been wholly unnecessary.

          Even if this Court were to agree with Navient, it would be premature to
  dismiss Plaintiffs’ Complaint under Section 523(a)(8)(A)(ii); at this stage in the
  litigation, the underlying facts are not sufficiently developed. But the Court is
  persuaded by Plaintiffs’ view that Section 523(a)(8)(A)(ii) does not encompass the
  Tuition Answer Loans, based upon the plain language of the statute, and in
  addition, applicable canons of statutory interpretation and the legislative history.

                4.      Claim for Violation of the Discharge Injunction.

         The Discharge Order granted Plaintiffs a discharge under Section 1328(a).
  Section 1328(a) specifies that the bankruptcy discharge for Chapter 13 debtors is
  as to “all debts provided for by the plan or disallowed under section 502 of this title,
  except any debt – . . . of the kind specified in . . . [section 523(a)(8)].” 11 U.S.C.
  § 1328(a)(2) (emphasis added). Pursuant to the Bankruptcy Code, the Discharge
  Order “operates as an injunction against the commencement or continuation of an
  action, the employment of process, or an act, to collect, recover, or offset any such
  debt as a personal liability of the debtor, whether or not discharge of such debt is
  waived”. 11 U.S.C. § 524(a)(2).

        Navient argues Plaintiffs’ claim for violation of the discharge injunction is
  defective because there is no private right of action for such claim, and the
  Discharge Order was not specific enough to be enforced against Navient on

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  contempt grounds; the Discharge Order did not clearly identify prohibited conduct
  as the Order “lacked such a statement about their [Tuition Answer] Loans”. Reply,
  p.29.

         While the Tenth Circuit has not determined whether there is a private right
  of action under Section 524(a)(2), it is clear the Court’s equitable powers under
  Section 105(a) extend to decide claims “to enforce and remedy violations of
  substantive provisions of the Bankruptcy Code, including in particular the
  discharge injunction in 524(a)(2).” Paul v. Iglehart (In re Paul), 534 F.3d 1303,
  1306 (10th Cir. 2008) (citations omitted).8 Thus, “Section 524(a)(2) operates as ‘an
  equitable remedy precluding the creditor, on pain of contempt, from taking any
  actions to enforce the discharged debt.’” Gray v. Nussbeck (In re Gray), 586 B.R.
  347, 353 (Bankr. D. Kan. 2018) (quoting Espinosa v. United States Aid Funds, Inc.,
  553 F.3d 1193, 1200 (9th Cir. 2008), aff’d, 559 U.S. 260 (2010) (emphasis in
  original)).

         To be held in contempt, a court must find (1) the party violated a specific and
  definite order; (2) the party had notice of the order; and (3) the party did in fact
  violate the order. Lucre Mgmt. Grp., LLC v. Schempp Real Estate, LLC (In re Lucre
  Mgmt. Grp., LLC), 365 F. 3d 874, 875 (10th Cir. 2004). In order to prevail in a civil
  contempt proceeding, Plaintiffs’ burden is high; they must prove the alleged
  violation by clear and convincing evidence. Reliance Ins. Co. v. Mast Const. Co.,
  159 F.3d 1311, 1315 (10th Cir. 1998).

        The Court concludes Plaintiffs have stated a valid claim for contempt. The
  Discharge Order and the statutory bases for its issuance and enforcement
  (Sections 1328 and 524(a)(2)) are broad and unequivocal. All debts were
  discharged, except those enumerated in Section 1328(a). There is no such thing
  as a personalized discharge order addressed to each creditor in a given
  bankruptcy case. That neither party sought to determine the dischargeability of
  the Tuition Answer Loans until now does not alter whether or not the debts were
  discharged under Section 523(a)(8) at the time the Discharge Order was entered;
  thereafter they both proceeded at their own risk. Any ambiguity in the law, or
  uncertainty as to the injunction’s applicability to the Tuition Answer Loans, is
  relevant to the inquiry as to whether any contempt violation, if proven, was willful.
  Accordingly, the Court will not dismiss the claim on that basis. Whether or not the
  evidence at trial will support the claim is a matter for another day.


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    The Court rejects the notion Plaintiff’s claim would need to be dismissed on procedural grounds
  for failure to file a motion for contempt in the main bankruptcy case, as that requirement would
  elevate form over substance. See, e.g., Gray v. Nussbeck (In re Gray), 586 B.R. 347, n.19 (Bankr.
  D. Kan. 2018); Montano v. First Light Fed. Credit Union (In re Montano), 398 B.R. 47, 55-56
  (Bankr. D.N.M. 2008).
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         B.     The Rule 12(f) Motion to Strike.

        Rule 12(f) allows a court to strike from a pleading “any redundant,
  immaterial, impertinent, or scandalous matter.”               Fed.R.Civ.P. 12(f);
  Fed.R.Bankr.P. 7012(b). But “[s]triking a portion of a pleading is a drastic remedy;
  the federal courts generally view motions to strike with disfavor and infrequently
  grant such requests.” Purzel Video GmbH v. Smoak, 11 F.Supp.3d 1020, 1029
  (D. Colo. 2014) (citing 5C Arthur R. Miller & Mary Kay Kane, Federal Practice and
  Procedure § 1380 (3d ed. 2011)).

          The purpose of Rule 12(f) “is to conserve time and resources by avoiding
  litigation of issues which will not affect the outcome of a case.” Sierra Club v. Tri–
  State Generation & Transmission Ass'n, 173 F.R.D. 275, 285 (D. Colo.1997) (citing
  United States v. Smuggler–Durant Mining Corp., 823 F.Supp. 873, 875
  (D. Colo.1993)). Accordingly, courts deny motions to strike immaterial and
  impertinent matter “unless it can be shown that no evidence in support of the
  allegation[s] would be admissible.” United States v. Shell Oil Co., 605 F.Supp.
  1064, 1085 (D. Colo. 1985) (quoting Lipsky v. Commonwealth United Corp., 551
  F.2d 887, 893 (2d Cir. 1976)). “Only allegations ‘so unrelated to plaintiff’s claims
  as to be unworthy of any consideration’ should be stricken.” Id. (quoting EEOC v.
  Ford Motor Co., 529 F.Supp. 643, 644 (D. Colo. 1982)). Further, “[i]rrelevant
  allegations will be stricken as scandalous only if they degrade defendants’ moral
  character, contain repulsive language, or detract from the dignity of the court.”
  Sierra Club, 173 F.R.D. at 285 (citing Nault's Auto. Sales v. American Honda Motor
  Co., 148 F.R.D. 25, 30 (D.N.H.1993) (further citation omitted)).

          “Even where the challenged allegations fall within the categories set forth
  in the rule, a party must usually make a showing of prejudice before the court will
  grant a motion to strike.” Sierra Club, 173 F.R.D. at 285. “Inappropriately
  hyperbolic allegations, ill-conceived attempts at levity, and other similar
  manifestations of bad judgment in drafting pleadings, by themselves, fall short of
  the threshold that Rule 12(f) contemplates.” Saylavee LLC v. Hockler, 228 F.R.D.
  425, 426 (D. Conn. 2005).

        It is important to keep in mind Plaintiffs’ allegations are made against a
  corporate entity in a matter that will be tried to the Court. Although Plaintiffs’
  allegations in paragraphs 1 and 9 through 19 may be hyperbolic, they are not so
  unrelated to Plaintiffs’ claims as to be unworthy of any consideration. To the
  contrary, the allegations are relevant to Plaintiffs’ claim for violation of the
  discharge injunction. The Court, therefore, denies Navient’s motion to strike the
  allegations.



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  VI.    CONCLUSION

         For the reasons stated herein, the Court DENIES the Motion to Dismiss
  Plaintiffs’ Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
  Impertinent Matter Under Fed.R.Civ.P. 12(f) filed by Defendant Navient Solutions,
  LLC.

  Dated: September 24, 2018.
                                            BY THE COURT:


                                            _________________________
                                            Kimberley H. Tyson
                                            United States Bankruptcy Judge




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                             )
                                    )                  Case No. 09-37480 (KHT)
 BYRON PATTERSON MCDANIEL JR. )
 AND LAURA PAIGE MCDANIEL           )                  Chapter 13
                                    )
       Debtors.                     )
 __________________________________ )
                                    )
 BYRON PATTERSON MCDANIEL JR. )
 AND LAURA PAIGE MCDANIEL,          )
                                    )                  Adversary Proceeding No. 17-01274-KHT
       Plaintiffs,                  )
 v.                                 )
                                    )
 NAVIENT SOLUTIONS, LLC,            )
                                    )
       Defendant.                   )
 _____________________________________________________________________________

               CERTIFICATION TO COURT OF APPEALS BY ALL PARTIES
 _____________________________________________________________________________

          A notice of appeal having been filed in the above-captioned matter on October 9, 2018,

 Plaintiffs Byron Patterson McDaniel Jr. and Laura Paige McDaniel, and Defendant Navient

 Solutions, LLC (“NSL,” and with Plaintiffs, the “Parties”), who are all of the parties in this case

 acting jointly, hereby certify to the court under 28 U.S.C. § 158(d)(2)(A) and Fed. R. Bankr. P.

 8006(c) that a circumstance specified in 28 U.S.C. § 158(d)(2) exists as stated below.

          Leave to appeal in this matter:

           is required under 28 U.S.C. § 158(a)

               is not required under 28 U.S.C. § 158(a)

          This certification arises in an appeal from this Court’s Order on Motion to Dismiss and

 Motion to Strike (the “Order”), dated September 24, 2018 (Dkt. No. 30), which is an




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 interlocutory order or decree. Accordingly, the Parties hereby request leave to appeal as required

 by 28 U.S.C. § 158(a).

          In accordance with 28 U.S.C. § 158(d)(2)(A)(i)-(iii), the Parties hereby certify that:

                 i.      the judgment, order or decree involves a question of
                         law as to which there is no controlling decision of
                         the court of appeals for the circuit or of the Supreme
                         Court of the United States, or involves a matter of
                         public importance;

                 ii.     the judgment, order or decree involves a question of
                         law requiring resolution of conflicting decisions;
                         and

                 iii.    an immediate appeal from the judgment, order or
                         decree may materially advance the progress of the
                         case or proceeding in which the appeal is taken.




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          Dated this 9th day of October, 2018.

                                                 SHERMAN & HOWARD L.L.C.


                                                 /s/ Eric E. Johnson_______________
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                                                 Counsel for Plaintiffs Byron Patterson
                                                 McDaniel Jr. and Laura Paige McDaniel




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                                 CERTIFICATE OF SERVICE


         The undersigned hereby certifies the following parties received a true and correct copy of
 the foregoing CERTIFICATION TO COURT OF APPEALS BY ALL PARTIES via a
 Notice of Electronic Filing transmitted by CM/ECF in accordance with Local Bankruptcy Rule
 5005-4(a) on the 9th day of October, 2018:

 Austin Smith
 austin@acsmithlawgroup.com




                                              /s/ Roberta Neal ____________________________




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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                             )
                                    )                   Case No. 09-37480 (KHT)
 BYRON PATTERSON MCDANIEL JR. )
 AND LAURA PAIGE MCDANIEL           )                   Chapter 13
                                    )
       Debtors.                     )
 __________________________________ )
                                    )
 BYRON PATTERSON MCDANIEL JR. )
 AND LAURA PAIGE MCDANIEL,          )
                                    )                   Adversary Proceeding No. 17-01274-KHT
       Plaintiffs,                  )
 v.                                 )
                                    )
 NAVIENT SOLUTIONS, LLC,            )
                                    )
       Defendant.                   )
 _____________________________________________________________________________

                  UNOPPOSED MOTION FOR INTERLOCUTORY APPEAL
 _____________________________________________________________________________

          Defendant Navient Solutions, LLC (“NSL”), hereby moves the Court on an unopposed

 basis under Fed. R. Bankr. P. 8004(a) and (b) for leave to take an interlocutory appeal of the

 Order on Motion to Dismiss and Motion to Strike, Dkt. No. 30 (the “Order”), a copy of which is

 attached as Exhibit A hereto. In support, NSL states as follows:

                                CERTIFICATION OF NON-OPPOSITION

          NSL is authorized to certify to the Court that Plaintiffs do not oppose the request for leave

 to take an interlocutory appeal requested in this motion, in the interest of efficiency and economy.

 Plaintiffs oppose NSL’s substantive position in the appeal.

                                              ARGUMENT

          On September 24, 2018, the Court issued the Order denying NSL’s motion to dismiss

 Plaintiffs’ complaint. (Dkt. No. 30.) In relevant part, the Court found that Plaintiffs’ amended


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 chapter 13 plan did not operate as res judicata to bar Plaintiffs’ claims in this adversary

 proceeding (id. at 8–9), and that Plaintiffs’ Educational Loans (as defined in NSL’s motion to

 dismiss, Dkt. No. 8) were not excepted from discharge as “obligations to repay funds received as

 educational benefits” under § 523(a)(8)(A)(ii) of the Bankruptcy Code. (Dkt. No. 30 at 9–15.)

          On October 9, 2018, NSL filed a notice of appeal of the Order. In addition, NSL and

 Plaintiffs filed a Certification to Court of Appeals by All Parties pursuant to 28 U.S.C. §

 158(d)(2) and Federal Rule of Bankruptcy Procedure 8006(c), in which they certified that

 grounds exists for a direct, interlocutory appeal of the Order to the U.S. Court of Appeals for the

 Tenth Circuit. NSL is contemporaneously filing with the Tenth Circuit the attached petition (see

 Exhibit B hereto) for direct, interlocutory appeal of the Order under 28 U.S.C. § 158(d)(2).

          Federal Rule of Bankruptcy Procedure 8004(e) provides that, “[i]f leave to appeal an

 interlocutory order or decree is required under 28 U.S.C. § 158(a)(3), an authorization of a direct

 appeal by the court of appeals under 28 U.S.C. § 158(d)(2) satisfies the requirement.” Thus, if

 the Tenth Circuit accepts NSL’s petition for direct, interlocutory appeal of the Order, leave is not

 required. However, to the extent that the Tenth Circuit does not accept NSL’s petition for direct,

 interlocutory appeal of the Order, NSL respectfully requests leave to appeal under 28 U.S.C. §

 158(a)(3) and Federal Rule of Bankruptcy Procedure 8004(a) and (b). The grounds for this

 request are set forth in the petition attached to this motion as Exhibit B, which NSL respectfully

 incorporates by reference and requests be treated as a motion for interlocutory appeal under

 Federal Rule of Bankruptcy Procedure 8004(a)(2) and (b)(1), to the extent that such motion is

 necessary.




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                                           CONCLUSION

          For the reasons described above and in the attached Exhibit B, NSL respectfully requests

 leave on an unopposed basis to pursue an interlocutory appeal of the Order to the Bankruptcy

 Appellate Panel to the extent the Tenth Circuit does not accept the appeal for direct review.

          Dated this 9th day of October, 2018.

                                                 SHERMAN & HOWARD L.L.C.


                                                 /s/ Eric E. Johnson________________
                                                 Eric E. Johnson
                                                 Carla R. Martin
                                                 633 Seventeenth Street, Suite 3000
                                                 Denver, Colorado 80202
                                                 Tel: (303) 297-2900
                                                 E-Mail: ejohnson@shermanhoward.com
                                                           cmartin@shermanhoward.com

                                                 Counsel for Navient Solutions, LLC




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies the following parties received a true and correct copy of
 the foregoing UNOPPOSED MOTION FOR INTERLOCUTORY APPEAL via a Notice of
 Electronic Filing transmitted by CM/ECF in accordance with Local Bankruptcy Rule 5005-4(a)
 on the 9th day of October, 2018:

  Austin Smith
  austin@acsmithlawgroup.com




                                              /s/ Roberta Neal




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                                    ExxiBIT A

                ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

    In re:

    BYRON PATTERSON McDANIEL JR.               Case No. 09-37480 KHT
    and LAURA PAIGE McDANIEL,
                                               Chapter 13
         Debtors.


    BYRON PATTERSON McDANIEL JR                Adversary No. 17-01274 KHT
    and LAURA PAIGE McDANIEL,

         Plaintiff,
    v.

    NAVIENT SOLUTIONS, LLC,

         Defendant.


              ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE

          THIS MATTER comes before the Court on a Motion to Dismiss Plaintiffs'
   Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
   Impertinent Matter Under Fed.R.Civ.P. 12(fi~ (the "Motion") (Docket #8) filed by
   Defendant Navient Solutions, LLC ("Navient"), the Response (Docket #10)filed by
   Debtors Byron Patterson McDaniel Jr. and Laura Paige McDaniel (together,
   "Plaintiffs" or "Debtors"), and Navient's Reply (Docket #14). The Court heard oral
   argument on March 20, 2018 and has considered the pleadings, arguments, and
   supplemental authorities submitted. For the reasons stated herein, the Court
   denies the Motion.

   I.        JURISDICTION

         This Court has jurisdiction of this proceeding pursuant to 28 U.S.C. §§ 1334
   and 157. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2). Navient
   consents to entry of final orders or judgments of the Bankruptcy Court in this
   matter.




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   II.     BACKGROUND

         On December 24, 2009, Plaintiffs filed a voluntary Chapter 13 case and plan,
   using the standard form (Case No. 09-37480, Docket #2).

          In their bankruptcy schedules, Plaintiffs listed debts to "Sallie Mae,"
   described as "educational," and they also listed debts to "Great Lakes." (Case
   No. 09-37480, Docket #1). Nevertheless, Plaintiffs did not check the box in
   Section V.E. of the plan indicating they had student loans. The Chapter 13 Trustee
   objected to the plan on several grounds, including the plan "ma[de] no provision
   for debtor's non-dischargeable student loan." Case No. 09-37480, Docket #12.

         On April 1, 2010, Plaintiffs filed an amended Chapter 13 plan (the "Plan").
   This time, Plaintiffs indicated in Section V.E. of the Plan they had student loans
   and proposed to treat them "as an unsecured Class Four claim or as follows:
   deferred until end of plan." Case No. 09-37480, Docket #25. The Court confirmed
   the Plan on May 4, 2010. Case No. 09-37480, Docket #32.

         A total of nine proofs of claim were filed by Sallie Mae entities and Great
   Lakes Higher Education Corp. Case No. 09-37480, Claims Register. The Great
   Lakes claims (Proofs of Claim Nos. 6 and 7) were subsequently assigned to
   Educational Credit Management Corp. and are based upon Federal Stafford
   Loans. At least five of the Sallie Mae claims (Proofs of Claim Nos. 25 through 29)
   were filed by or on behalf of Navient.

         The Court entered an Order for Discharge of Plaintiffs on March 3, 2015,
   granting them a discharge under section 1328(a) of Title 11, United States Code
   ("Discharge Order"). Case No. 09-37480, Docket #54.

         On June 30, 2017, the Court granted Plaintiffs' motion to reopen their
   Chapter 13 case. Thereafter, Plaintiffs filed this adversary proceeding against
   Navient, requesting a declaratory judgment pursuant to 28 U.S.C. § 2201 and
   Fed.R.Bankr.P. 7001(9) that certain "Tuition Answer Loans" held by Navient are
   not excepted from discharge under 11 U.S.C. § 523(a)(8) and were, therefore,
   discharged upon entry of the Discharge Order. They also seek damages for
   alleged willful violations of the discharge injunction by Navient pursuant to
   11 U.S.C. §§ 105 and 524.

    III.   PLAINTIFFS' CLAIMS

          The Complaint contains general allegations concerning the history of
    changes to 11 U.S.C. § 523(a)(8) and Navient's alleged efforts to deceive "student
    debtors and subvert the orderly working of the bankruptcy courts ...(by] originating

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   and servicing dischargeable consumer loans and disguising them as non-
   dischargeable student loans." Complaint, ¶1. Navient seeks to strike many of
   these general allegations.

         Plaintiffs allege Section 523(a)(8)~, as originally enacted in 1978, prohibited
   discharge of federal student loans during the first five years of repayment absent
   undue hardship but "[t]hrough a series of amendments, which first lengthened and
   then eliminated the five-year non-dischargeability time frame, it has become
   increasingly difficult for debtors to attain discharges of their student loan debts."
   Complaint, ¶9. Prior to BAPCPAz, Section 523(a)(8) was "easy to apply because
   the exception to dischargeability was absolute. If a student loan was issued or
   guaranteed by the federal government, it was non-dischargeable absent a showing
   of `undue hardship.' [However, this fueled the belief that all student loans are non-
   dischargeable." Complaint, ¶13.

          In 2005, the enactment of BAPCPA afforded limited protection to some
   private educational loan products "to the extent that such [lending] supplemented
   and mirrored federal student lending: money lent to eligible students at Title IV
   accredited schools solely for tuition, room, board, and books (`Qualified Education
   Loans')." Complaint, ¶11.

         Plaintiffs allege Navient (formerly known as Sallie Mae or SLM Corporation)
   was not satisfied with the loan origination volume and restrictions associated with
   Qualified Educational Loans. Complaint, ¶12. Therefore, Navient created new
   loan products that are in essence dischargeable consumer loans, deceiving
   student borrowers by representing to them that "the Bankruptcy Code prohibited
   discharge of any loan made to any person for any educational purpose."
   Complaint, ¶16 and ¶12.3

         The problem was made worse because Section 523(a)(8) is self-executing,
   and "thus its correct application relies on the good faith and honesty of creditors."
   Complaint, ¶14. "Importantly, the discharge order does not specifically state which
   loans, if any, are presumptively excepted from discharge. Rather, it states that the
   order does not discharge some debts, including `debts for most student loans."' Id.

     All Sections referred to herein are to the Bankruptcy Code, 11 U.S.C. § 101, et seq.

   z Bankruptcy Abuse and Consumer Protection Act, Pub. L. No. 109-8, § 220, 119 Stat. 23, 59
    (2005)(hereafter, "BAPCPA").

    3 While Navient was marketing these new loan products to student borrowers, Navient was also
      attempting to securitize the new loan products for sale on the secondary market. Plaintiffs allege
      to avoid securities violations, Navient disclosed to its potential (sophisticated) investors in
      student loan asset-backed securities prospectuses that "pursuant to section 523(a)(8), only
      private loans made for qualified expenses were excepted from discharge." Complaint, ¶19.
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   Adversary No. 17-01274 KHT




          Plaintiffs assert a creditor has the burden to prove its debt is encompassed
   by Section 523(a)(8) and is presumptively nondischargeable, then the burden
   shifts to the debtor to show undue hardship. Complaint, ¶15. "Absent an
   adversary proceeding, any educational debt not encompassed by section
   523(a)(8) is automatically and as a matter of law discharged upon entry of the
   discharge order. Accordingly, it is left to the creditors to determine whether their
   particular educational loan is excepted from discharge by Section 523(a)(8) and,
   where confusion exists, seek clarity from the court. The creditor's good faith and
   the threat of sanctions are the only checks on compliance with discharge
   injunctions." Id.

          In the Complaint, Plaintiffs also make specific allegations regarding the
   Tuition Answer Loans held by Navient. Plaintiffs allege the Tuition Answer
   Program is adirect-to-consumer loan product outside the confines of the financial
   aid office and in excess of the school's published "Cost of Attendance" ("COA").
   Complaint, ¶17. From 2004-2007, Plaintiffs borrowed $107,467 in six (6) Sallie
   Mae Tuition Answer Loans. Complaint, ¶20. The total balance of these Tuition
   Answer Loans is now $245,264, "despite consistent monthly payments of more
   than $2,000 for several years." Complaint, ¶21.

         Plaintiff Laura Paige McDaniel attended Lakeland College from 2004 to
   2007. Complaint, ¶22. Her COA for qualified tuition and related expenses for each
   year was: $5,340 in 2004, $10,650 in 2005, $6,450 in 2006, and $6,390 in 2007,
   as reflected on Tuition Statements issued by Lakeland College to Ms. McDaniel
   attached to the Complaint as Exhibit A. Complaint, ¶23. Ms. McDaniel borrowed
   the COA in the form of federal student loans, as reflected on Federal Stafford Loan
   documentation attached to the Complaint as Exhibit C. Complaint, ¶24.

          Plaintiffs borrowed an additional $107,467 through the Tuition Answer
   Loans, "made outside the financial aid office and [not] for qualified education
   expenses." Complaint, ¶25. Attached as Exhibit B to the Complaint are copies of
   loan applications and promissory notes for the Tuition Answer Loans. Id. The.
   Tuition Answer Loans were not made solely for the COA and accordingly, were not
   "qualified education loans" as defined in Section § 523(a)(8)(B). Complaint, ¶26.4

         Debtors listed the Tuition Answer Loans on their Bankruptcy Schedule F.
   Complaint, X27. Debtors made payments totaling $26,782 on the Tuition Answer
   Loans during their Chapter 13 bankruptcy case. Complaint, ¶28.

   4 The Court notes, however, one of the loan documents in Exhibit B to the Complaint contains
     the following language: "this loan is a qualified education loan as described in Section 221(d)(1)
     of the Internal Revenue Code of 1986." Exhibit B to Complaint, p.14 of 40.

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          Navient was notified of the Discharge Order. Complaint, ¶30. Instead of
   charging the Tuition Answer Loans off, Navient demanded payments in violation
   of the Discharge Order and the Bankruptcy Code. Complaint, ¶32. Plaintiffs allege
   "owing to [Navient's] tactics, [P]laintiffs have repaid $37,460 on these discharged
   debts. These payments were not made `voluntarily' but were made solely based
   on Defendant Navient's material misrepresentations regarding the legal status and
   character of the Tuition Answer Loans." Complaint, ¶33. Navient's "abusive,
   deceptive and harassing collection efforts" after entry of the Discharge Order "were
   made knowingly and willfully in violation of this Court's discharge orders and must
   be sanctioned." Complaint, ¶34.

   IV.    NAVIENT'S MOTION

          Navient requests dismissal of the Complaint for failure to state a claim under
   Fed.R.Civ.P. 12(b)(6) (Fed.R.Bankr.P. 7012(b)). Navient also moves to strike
   certain allegations as immaterial and impertinent matter under Fed.R.Civ.P.12(f)
   (Fed.R.Bankr.P. 7012(b)).

           Navient asserts the confirmed Plan distinguished the Tuition Answer Loans
   from Plaintiffs' other dischargeable unsecured debts in Class Four and treated
   them "as non-dischargeable." Motion, p.16; see also Motion, p.17 ("[i]nstead of
   filing an adversary proceeding to seek a discharge of their loans, Debtors amended
   their [P]lan to expressly provide that their [Tuition Answer] Loans would not be
   discharged along with their other unsecured claims") (emphasis in original).
   Accordingly, Navient argues principles of res judicata prohibit Plaintiffs from
   reversing their earlier position taken in the Plan, in light of the finality of the Plan
   confirmation order and the Supreme Court's decision in United Student Aid Funds,
   Inc. v. Espinosa, 559 U.S. 260 (2010).

          Alternatively, Navient argues dismissal is warranted because the Complaint,
   on its face, establishes the Tuition Answer Loans are excepted from discharge as
   "obligation[s] to repay funds received as an educational benefit" under Section
   523(a)(8)(A)(ii). Through the Tuition Answer Loans, Ms. McDaniel "received the
   funds that allowed [her]to attend Lakeland College. Indeed, [Plaintiffs] certified to
   Navient `all of the loan proceeds .. .are to pay expenses directly related to
   attending' Lakeland College." Motion, p.19 (quoting Complaint, Exhibit B, pp.6,
   31, 38 of 40). Then, when they filed bankruptcy, Plaintiffs scheduled the debt as
   "educational" in nature. Motion, p.19. "By enabling Ms. McDaniel to enroll in and
   attend college and support her personal decision to improve her life through higher




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   education, the loans conferred 'educational benefits' on her and are therefore
   excepted from discharge in bankruptcy." Motion, p.20.

         In support, Navient cites cases holding private student loans are
  "obligation[s] to repay funds received as an educational benefit" under Section
  523(a)(8)(A)(ii). Because the "Debtors do not, and cannot, allege that they used
  their [Tuition Answer] Loans for anything but educational purposes, nothing in
  Debtors' Complaint allows them to avoid the same result." Motion, pp.22-23.
  Navient contends the cases that hold otherwise are badly reasoned, and those
  courts misapply the principles of statutory interpretation they invoke.

          Since the Tuition Answer Loans were not discharged, Navient asserts there
   can be no violation of the discharge injunction. In any case, Navient argues this
   claim should be dismissed because the discharge injunction is enforceable only
   through contempt proceedings and there is no private right of action for violation
   of the discharge injunction. Since Plaintiffs' claim must be construed as a claim
   for contempt, the order under which they seek contempt must be "clear and
   specific." The Discharge Order is not "clear and specific" but rather, provides most
   student loans are not dischargeable. Motion, p.35.

          Navient also moves to strike paragraph 1 and paragraphs 9 through 19 of
   the Complaint because the allegations set forth in these twelve paragraphs
   constitute a "superfluous attack on [Navient's] character, inappropriate for a short
   and plain statement of the claim." Motion, p.37 (citations omitted). Navient
   contends the overblown and non-specific allegations in these paragraphs malign
   Navient, refer to "pervasive, systemic wrongdoing" and have no bearing on any
   issues in this case. Motion, p.38. Plaintiffs' "allegations of nonspecific fraud
   perpetrated by unnamed actors using unspecified means against unnamed victims
   are inflammatory, unnecessary, and irrelevant", and the Court should strike them
   as either a superfluous attack on character, or deficiently pleaded fraud claims. Id.

   V.      DISCUSSION

           A.     The Rule 12(b)(6) Motion to Dismiss.

         Rule 8 notice pleading "requires a short and plan statement of the claim
   showing that the pleader is entitled to relief." Fed.R.Civ.P. 8(a)(2); Fed.R.Bankr.P.
   7008. "[H]eightened fact pleading of specifics" is not required; rather, a party must
   assert "only enough facts to state a claim to relief that is plausible on its face .. .
   to nudge his] claims across the line from conceivable to plausible ..." Bell Atl.
   Corp. v. Twombly, 550 U.S. 544, 570 (2007).




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          Failure to state a claim is a defense that may be presented by motion.
   Fed.R.Civ.P. 12(b)(6); Fed.R.Bankr.P. 7012(b). On a motion to dismiss, this Court
   must accept all well-pled facts in the Complaint as true and view them in the light
   most favorable to Plaintiff. Barnes v. Harris, 783 F.3d 1185, 1191-92 (10th Cir.
   2015)(citing Sutton v. Utah State Sch, for the Deaf &Blind, 173 F.3d 1226, 1236
   (10t" Cir. 1999). But "the tenet that a court must accept as true all of the allegations
   contained in a complaint is inapplicable to legal conclusions." Ashcroft v. Igbal,
   556 U.S. 662, 678 (2009).

         Granting a motion to dismiss "is a harsh remedy which must be cautiously
   studied, not only to effectuate the spirit of the liberal rules of pleading but also to
   protect the interests of justice." Dias v. City and Cnty. of Denver, 567 F.3d 1169,
   1178 (10th Cir. 2009)(citing Duran v. Carris, 238 F.3d 1268, 1270 (10t" Cir. 2001)
   (quotation omitted)).

         The Court reviews Navient's Motion with the above principles in mind.
   Section 523(a)(8) provides a discharge under section 1328(b) does not discharge
   an individual debtor from any debt —

            (8) Unless excepting such debt from discharge under this
            paragraph would impose an undue hardship on the debtor and the
            debtor's dependents, for —

                  (A)(i) an educational benefit overpayment or loan made,
                  insured or guaranteed by a governmental unit, or made
                  under any program funded in whole or in part by a
                  governmental unit or nonprofit institution; or

                       (ii) an obligation to repay funds received as an
                       educational benefit, scholarship or stipend; or

                  (B) any other educational loan that is a qualified education
                  loan, as defined in section 221(d)(1) of the Internal Revenue
                  Code of 1986, incurred by a debtor who is an individual .. .

   11 U.S.C. § 523(a)(8).

                  1.      The Parties' Respective Burdens.

           The parties agree Plaintiffs bear the burden of proving "undue hardship," but
   they disagree over who must bring an adversary proceeding to determine whether
   a student loan falls within the nondischargeable rubric of Section 523(a)(8) in the
   first place, as this section of the Bankruptcy Code is self-executing. This dispute




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   is academic; Plaintiffs did bring this adversary proceeding, and the Court finds it
   was not too late for them to do so. Compare Fed.R.6ankr.P. 4007(c)(complaints
   to determine dischargeability of a debt under Section 523(c) must be filed no later
   than 60 days after the first date set for the meeting of creditors) with Gimbel v. U.S.
   Dept of Educ. (In re Gimbel), Adv. No. 17-01048-j, 2018 WL 1229718, *4 (Bankr.
   D.N.M. March 8, 2018)("there is no deadline expressly imposed by the Code or
   Rules for filing an adversary proceeding to determine whether a student loan debt
   should be excepted from the discharge under § 523(a)(8)").

         As to the burden of proof, it remains on the creditor to show its debt is
   excepted from discharge under Section 523. Grogan v. Garner, 498 U.S. 279, 287
   (1991). Thus Navient, "as a creditor, must prove, by a preponderance of the
   evidence, that a debt exists and the debt is the type excepted from discharge under
   § 523(a)(8)." Hoffman v. Educ. Credit Mgmt. Corp. (In re Hoffman), 557 B.R. 177,
   184 (Bankr. D. Colo. 2016)(citations omitted).

                  2.     Principles of Res Judicata and Espinosa.

         Res judicata applies when the following three elements exist: "(1) a [final]
   judgment on the merits in an earlier action; (2) identity of parties or privies in the
   two suits; and (3)identity of the cause of action in both suits." Wilkes v. Wyo. Dept
   of Emp't Div. of Labor Standards, 314 F.3d 501, 504 (10th Cir. 2002)(as amended
   Jan. 14, 2003)(quoting King v. Union Oil Co., 117 F.2d 443, 445 (10t" Cir. 1997)).

          Navient's res judicata argument suffers from a fatal flaw: the Plan does not
   say what Navient says it does. It is true the confirmed Plan is final and binds
   Plaintiffs and all of their creditors, including Navient. But the Plan did not specify
   one way or the other whether the Tuition Answer Loans were — or were not —
   discharged; the Plan is simply not instructive on this point. Section V.E. of the Plan
   only specifies Plaintiffs' student loans — of which they had several, including
   Federal Stafford Loans owing to Great Lakes or its assigns —were "to be treated
   as an unsecured Class Four claim or as follows: deferred until end of plan." Case
   No. 09-37480, Docket #25. The Plan is silent as to the dischargeability or non-
   dischargeability of the Tuition Answer Loans vis-a-vis Plaintiffs' other educational
   loans, or other unsecured debts. Nowhere in the Plan does it state the Tuition
   Answer Loans, or any of Plaintiffs' student loans, were nondischargeable; Navient
   relies upon a mischaracterization of the terms of the Plan.

         Nor does Plaintiffs' description of Navient's debt on their Bankruptcy
   Schedules as "educational" influence its dischargeability. "Educational" loans, or
   "student" loans, are not nondischargeable simply because they are labeled as
   such; they must meet one or more of the criteria set forth in Section 523(a)(8). "A
   construction so broad would be incompatible with the `well-known' guide that

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   exceptions to discharge `should be confined to those plainly expressed."'
   Kawaauhau v. Geiger, 523 U.S. 57, 62(1998)(quoting Gleason v. Thaw, 236 U.S.
   558, 562(1915)).

         In Espinosa, the Supreme Court held the lender was bound by the terms of
   the debtors' confirmed plan even though confirmation of that plan was legal error.
   United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 275 (2010). The
   Chapter 13 plan in Espinosa expressly provided the debtors' student loans were
   discharged for undue hardship, and the creditor had actual notice of the plan and
   did not object. Id. at 264-265.

           Navient contends Espinosa applies in the reverse and mandates the
    conclusion Plaintiffs' claims are barred on account of their confirmed Plan. But the
    true reverse of Espinosa would be a plan that expressly provided the Tuition
    Answer Loans, or any of Plaintiffs' student loans, were not dischargeable. Here,
    the Plan contains no explicit statement or determination as to the dischargeability
    of any of Plaintiffs' student loans. Navient's reliance upon Espinosa as controlling
    authority over the outcome of this case is misplaced.

           Because the confirmed Plan is not a final determination on the merits, the
    Court will not dismiss Plaintiffs' Section 523(a)(8) claim on the basis of resjudicata
    or application of Espinosa.

                   3.      Section 523(a)(8)(A)(ii).

           Absent undue hardship, Section 523(a)(8)(A)(ii) excepts from discharge "an
    obligation to repay funds received as an educational benefit, scholarship or
    stipend." 11 U.S.C. 523(a)(8)(A)(ii). The crux of the dispute is whether the Tuition
    Answer Loans fall within the ambit of this subsection as a matter of law. Courts in
    other jurisdictions are divided on the issue, with some courts holding private loans
    that provide an educational benefit to the borrower fit within Section 523(a)(8)(A)(ii)
    (the view espoused by Navient), and other courts embracing a much narrower
    view, holding such educational loans are not included within this particular
    subsection (Plaintiffs' position).5 There is no controlling authority on point within
    the Tenth Circuit.

         The Court's inquiry "begins where all such inquiries must begin: with the
    language of the statute itself." Unites States v. Ron Pair Enterprises, Inc., 489

    5 While the parties dispute whose side is in the majority, the recent trend is clearly in favor of
    Plaintiffs' position. In their Response, Plaintiffs indicate there are 18 cases that support Navient's
    position, and cite 18 cases that support their own position, including 8 of the last 9 cases decided
    since 2016. Since the time the parties' briefs were submitted, additional decisions have been
    rendered in other districts also supporting Plaintiffs' view of Section 523(a)(8)(A)(ii).




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   U.S. 235, 241 (1989). If the statute's language is plain, "the sole function of the
   courts is to enforce it according to its terms." Id. (quoting Caminetti v. United
   States, 242 U.S. 470, 485 (1917)).

           "When interpreting statutory language, this court `must look to the particular
   statutory language at issue, as well as the language and design of the statute as
   a whole."' Office of Thrift Supervision v. Overland Park Fin. Corp. (In re Overland
   Park Fin. Corp.), 236 F.3d 1246, 1252 (10th Cir. 2001) (citing True Oil Co. v.
   Comm'r of Internal Revenue, 170 F.3d 1294, 1299 (10th Cir.1999) (quotation
   marks and citation omitted)). Section 523(a)(8)(A)(ii) cannot be read in isolation;
   it is necessary to read Section 523(a)(8) as a whole. "The meaning — or ambiguity
   — of certain words or phrases may only become evident when placed in context."
   Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 54 (Bankr. E.D.N.Y.
   2016)(citing Brown v. Gardner, 513 U.S. 115, 118 (1994)).

          Section 523(a)(8)(A)(ii) is sandwiched in between Sections 523(a)(8)(A)(i)
   and (B). Notably absent from Section 523(a)(8)(A)(ii) is the word "loan" which is
   used in both Sections 523(a)(8)(A)(i) and 523(a)(8)(B). In Section 523(a)(8)(A)(i),
   Congress excepted from discharge "an educational benefit overpayment or loan
   made, insured, or guaranteed by a governmental unit, or made under any program
   funded in whole or in part by a governmental unit or nonprofit institution". 11 U.S.C.
   § 523(a)(8)(A)(i)(emphasis added). The disjunctive "or" in Section 523(a)(8)(A)(i)
   is significant, because it distinguishes an "educational benefit overpayment" from
   a "loan." See, e.g., Loughrin v. United States, 134 S.Ct. 2384, 2390, 189 L.Ed.2d
   411 (2014)(in reviewing the language of the federal bank fraud statute in which
   elements of the crime were separated by the word "or," the Supreme Court
   considered what "or" customarily means: "th[e] term's `ordinary use is almost
   always disjunctive, that is, the words it connects are to be given separate
   meanings"')(quoting United States v. Woods, 571 U.S. 31, 45 (2013)).

           The word "loan" is also used in Section 523(a)(8)(B), which excepts from
    discharge "any other educational loan that is a qualified education loan, as defined
    in section 221(d)(1) of the Internal Revenue Code of 1986, incurred by a debtor
    who is an individual". 11 U.S.C. 523(a)(8)(B).

           Navient argues the fact Congress did not use the word "loan" in Section
    523(a)(8)(A)(ii) does not matter because an "obligation to repay funds received" is
    a loan; this phrase could not possibly fail to include loans — it is just more inclusive
    and expansive. Motion, pp.29-30. But given the specific language employed by
    Congress in Sections 523(a)(8)(A)(i) and (B) and the absence of the word "loan"
    from Section 523(a)(8)(A)(ii), the Court concludes "an obligation to repay funds
    received as an educational benefit, scholarship or stipend" does not include a loan.
    "[W]hen `Congress includes particular language in one section of a statute but

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   omits it in another' —let alone in the very next provision —this Court `presume[s]'
   that Congress intended a difference in meaning." Loughrin v. United States, 134
   S.Ct. 2384, 2390, 189 L.Ed.2d 411 (2014)(emphasis added)(quoting Russe//o v.
   United States, 464 U.S. 16, 23(1983)(further citation omitted)).

         Moreover, another critical little word appearing in Section 523(a)(8)(A)(ii) is
   the word "as." "As" is a qualifier; it denotes how the funds were received. In a
   recent decision, the Bankruptcy Court for the Southern District of Texas examined
   the word "as" in Section 523(a)(8)(A)(ii):

          The use of the word "as" denotes "in the character or under the name
          of." [T]o the contrary, "for" denotes "in consideration for        in
          exchange for." [T]he Court concludes that 523(a)(8)(A)(ii) created a
          new category of nondischargeable debts specifically tailored to
          address a perceived need. That need did not include all loans that
          were in some way used by a debtor for education.

    Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R. 830, 836 (Bankr. S.D.
    Tex. 2018)(quoting Black's Law Dictionary (6t" ed. 1990)). This Court agrees. The
    language of the statute sets an educational benefit apart from a loan, and excepts
    from discharge a category of obligations in Section 523(a)(8)(A)(ii) that does not
    include loans but rather,"educational benefits]", "scholarship(s]", and "stipend[s]."6

           If Navient's interpretation of Section 523(a)(8)(A)(ii) is correct — i.e.,
    obligations that confer educational benefits are excepted from discharge —there
    would be no need for a separate provision excepting from discharge benefit
    overpayments or loans made, insured, or guaranteed by governmental units, or
    under programs funded by governmental units or nonprofit institutions (Section
    523(a)(8)(A)(i)). Nor would there be any need for a separate provision excepting
    from discharge "qualified education loans" (Section 523(a)(8)(6)). Navient's
    interpretation offends a "cardinal principle" of statutory construction, that courts
    have a "duty to give effect, if possible, to every clause and word of a statute."
    United States v. Smith, 756 F.3d 1179, 1187 (10t" Cir. 2014)(quoting Duncan v.
    Walker, 533 U.S. 167, 174(2001)(internal quotation marks and brackets omitted)).


    6 Like the court in Campbell, it is not necessary for this Court to decide whether the educational
      benefits, scholarships, and stipends referred to in Section 523(a)(8)(A)(ii) include only those
      made insured, or guaranteed by a governmental unit, or made under any program funded in
      whole or in part by a governmental unit or nonprofit institution; the crux of the issue here is
      whether an "educational benefit" in Section 523(a)(8)(A)(ii) encompasses a private loan such
      as the Tuition Answer Loans. See Campbell v. Citibank, N.A.(In re Campbell), 547 B.R. 49, 59
      (Bankr. E.D.N.Y. 2016)(comparing Sensient Technologies Corp. v. Baiocchi (In re Baiocchi),
      389 B.R. 828, 831-32(Bankr. E.D. Wis. 2008) with In re Nunez, 527 B.R. 410, 415 (Bankr. D.
      Or. 2015)).




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          In Campbell, decided in 2016, the Bankruptcy Court for the Eastern District
   of New York denied a lender's motion to dismiss debtor's complaint to determine
   dischargeability of a private bar study loan, holding Section 523(a)(8)(A)(ii) did not
   encompass such a loan. Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49
   (Bankr. E.D.N.Y. 2016). The Campbell court reasoned that if Section
   523(a)(8)(A)(ii) applied to loans, it would "swallow" the other sections of 523(a)(8).
   In re Campbell, 547 B.R. at 55.

           Navient argues Campbell was wrongly decided; Section 523(a)(8)(A)(ii)
   does not render other provisions of Section 523 superfluous but rather, that
   subsection provides "limited overlapping coverage" consistent with Supreme Court
   precedent, In Huskylnt'1 Elec., Inc. v. Ritz, 136 S.Ct. 1581, 194 L.Ed.2d 655(2016)
   (concluding some overlap in coverage regarding the definition of "actual fraud" did
   not render Section 523(a) redundant). Reply, p.24. In other words, Section
   523(a)(8)(A)(ii) catches instances of nondischargeability that other subparts of
   523(a)(8) might miss, "reinforc[ing] the broad scope of the discharge exception for
   student loans." Motion, p.26. Unlike other subsections, Navient points out that
   Section 523(a)(8)(A)(ii) requires funds to be "received," so "both a private bar-study
   loan and a judgment debt to a co-signor on a defaulted government-backed
    university loan that the co-signor paid in full would be exempt from discharge under
   523(a)(8)(A)(ii) but not § 523(a)(8)(A)(i) or (B), respectively." Motion, pp.25-26.
   The Court is not persuaded by this somewhat circular argument. If the legislature
   intended Section 523(a)(8)(A)(ii) to address potential liability to a co-signor, it could
    have done so explicitly; for example, Section 523 expressly includes separate
    categories of nondischargeable debt "incurred to pay a tax to the United States
   that would be nondischargeable pursuant to paragraph (1)" and "incurred to pay a
   tax to a governmental unit, other than the United States, that would be
    nondischargeable under paragraph (1)." 11 U.S.C. 523(a)(14),(14A).

         Accordingly, based upon the plain language of the statute, this Court
   embraces the trending narrower view of Section 523(a)(8)(A)(ii) espoused in
   Campbell. See, e.g., Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R.
   830 (Bankr. S.D. Tex. 2018); Nypaver v. Nypaver (In re Nypaver), 581 B.R. 431
   (Bankr. W.D. Pa. 2018); Essangui v. SLF V-2015 Trust (In re Essangui), 573 B.R.
   614 (Bankr. D. Md. 2017); Dufrane v. Navient Solutions, Inc. (In re Dufrane), 566
   B.R. 28 (Bankr. C.D. Ca. 2017); Campbell v. Citibank, N.A. (In re Campbell), 547
   B.R. 49(Bankr. E.D.N.Y. 2016).

          To the extent there is any ambiguity in Section 523(a)(8)(A)(ii), the doctrine
    of noscitur a sociis and the legislative history both support the narrower view.
    Employing the doctrine of noscitur a sociis, the Campbell court considered the
    meaning of "educational benefit" in the context of its surrounding words:

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   "scholarship" and "stipend." In re Campbell, 547 B.R. at 55. Under this doctrine,
   "when a statute contains a list, each word in that list presumptively has a `similar'
   meaning." Id. (citing Yates v. United States, 135 S.Ct. 1074, 1089, 191 L.Ed.2d
   64 (2015) (Alito, J., concurring in the judgment) (citing Gustafson v. Alloyd Co.,
   513 U.S. 561, 576(1995)). The Campbell court noted "`[s]cholarship' and 'stipend'
   both refer to funds which are not generally required to be repaid by the recipient"
   and concluded "educational benefit" may be understood the same way; they are
   all forms of conditional grants, not loans. In re Campbell, 547 B.R. at 55. This
   Court agrees. A "scholarship" is a "grant of financial aid to a student." The
   American Heritage College Dictionary, 1220 (3d ed. 1997). A "stipend" is a "fixed
   and regular payment, such as a salary." Id., at 1335. A "benefit" is a "payment
    made or an entitlement available in accordance with a wage agreement, an
   insurance policy, or a public assistance program." Id., at 127. These words all
   signify granting, not borrowing.

           Navient argues noscitur a sociis was misapplied in Campbell, given the
    broader conte~ of Section 523(a)(8). But in this Court's opinion, as discussed
    above, the broader context of Section 523(a)(8) — in which the words "loan" and
    "or" appear in its neighboring subsections — supports a narrow construction of
    Section 523(a)(8)(A)(ii). Navient's argument that a loan used for educational
    purposes confers an educational benefit on the borrower,just like scholarships and
    stipends do, strays from both the text of the statute and the context in which it was
    enacted.

          As to the context, Section 523(a)(8) was enacted to safeguard "the solvency
    of government education loan programs" for "future students". In re Campbell, 547
    B.R. at 59-60 (citing In re Pelkowski, 990 F.2d 737, 742 (3rd Cir. 1993)(quoting
    124 Cong. Rec. 1791-9 Representative Ertel) (further citations omitted)).
    Section 523(a)(8) of the Bankruptcy Reform Act of 1978 excepted from discharge
    any debt —

          to a governmental unit, or a nonprofit institution of higher education,
          for an educational loan, unless —




     Navient complains a list of three items is insufficient to employ the doctrine, citing Graham
     County Soil and Water Conservation Dist, v. United States ex rel. Wilson, 559 U.S. 280, 288
     (2010). But in that case, unlike here, the Supreme Court declined to employ noscitur a sociis
     to a list of three disparate terms: "congressional," "administrative," and "Governmental
     Accounting Office." Graham County Soil and Water Conservation Dist. v. Unifed States ex rel.
      Wilson, 559 U.S. at 288 (finding each of the three terms "quite distinct from the other no matter
     how construed (emphasis added).

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             (A) such loan first became due before five years before the date of
                 the filing of the petition; or

             (B) excepting such debt from discharge under this paragraph will
                 impose an undue hardship on the debtor and the debtor's
                 dependents;

    Bankruptcy Reform Act of 1978, Pub. L. No. 95-598 § 523(a)(8)(H.R. 8200), Nov.
    6, 1978, 92 Stat. 2549, 2591 (1978).

         The term "educational benefit" first appeared in Section 523(a)(8) in 1990,
    when the statute was amended to except from discharge any debt:

           for an educational benefit overpayment or loan made, insured, or
           guaranteed by a governmental unit, or made under any program
           funded in whole or in part by a governmental unit or nonprofit
           institution, or for an obligation to repay funds received as an
           educational benefit, scholarship or stipend .. .

    Crime Control Act of 1990, Pub. L. No. 101-647 § 3621(1), 104 Stat. 4789, 4965
    (1990). The amendment to Section 523(a)(8) by the Crime Control Act also
    extended the period of repayment in Section 523(a)(8)(A) to seven years. Id.

           The Campbell court examined the sparse legislative history and hearing
    testimony behind the 1990 amendments to Section 523(a)(8). In re Campbell, 547
    B.R. at 55. At the hearing, Bob Wortham, a United States attorney from the
    Eastern District of Texas, explained the amendments to Section 523(a)(8) added
    "to the list of non-dischargeable debts, obligations to repay educational funds
    received in the form of benefits (such as VA benefits), scholarships (such as
    medical service corps scholarships) and stipends", citing U.S. Dept of Health and
    Human Servs. v. Smith, 807 F.2d 122 (8t" Cir. 1986) in his statement. See In re
    Campbell, 547 B.R. at 55 (citing Federal Debt Collection Procedures of 1990:
    Hearing on P.L. 101-647 before the H. Subcomm. on Econ. and Commercial Law,
    H. Judiciary Committee 101St Cong. 74-75(June 14, 1990)(Mr. Brooks' Questions
    for the Record for Mr. Wortham)).

           In Smith, the Eighth Circuit held the pre-1990 version of Section 523(a)(8)
    encompassed a federal tuition assistance grant to a medical student who had
    defaulted on its conditions. U.S. Dept of Health and Human Servs. v. Smith, 807
    F.2d 122 (8t" Cir. 1986). In reaching its decision, the Eighth Circuit was mindful of
    the "background and purpose of 523(a)(8) of the Bankruptcy Code" to correct a
    significant problem "[u]nder the Bankruptcy Act, [i.e.,] educational loans were

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   dischargeable resulting in millions of dollars in federally guaranteed loans
   defaulted upon annually." Smith, 807 F.2d at 126(emphasis added)(quoting In re
   Shipman, 33 B.R. 80, 82(Bankr. W.D. Mo. 1983)).

          Navient points out the sparse legislative history examined in Campbell is a
   single remark, not made by a legislator, regarding a prior version of the statute.
   Motion, p.31. However, that selfsame sparsity of legislative history regarding the
   addition of "educational benefit" to Section 523(a)(8) suggests the legislature did
   not intend to e~ensively expand nondischargeability to private educational loans.
   A subsequent amendment to the statute supports this conclusion. With the
   enactment of BAPCPA in 2005, subsection (B) was added to Section 523(a)(8),
   including as nondischargeable "any other educational loan that is a qualified
   education loan, as defined in section 221(d)(1) of the Internal Revenue Code of
   1986, incurred by a debtor who is an individual". Bankruptcy Abuse Prevention
   and Consumer Protection Act of 2005, Pub. L. No. 109-8, S. 256, 109t" Cong.,
   § 220, 119 Stat. 23, 59 (2005). BAPCPA also separated subsection (A) into two
   subsections, (A)(i) and (A)(ii), without any changes to the text. If Section
   523(a)(8)(A)(ii) expanded the statute to include all loans that confer educational
   benefits, subsection (B) —adding "qualified education loans" under 26 U.S.C.
   § 221(d)(1) as nondischargeable —would have been wholly unnecessary.

            Even if this Court were to agree with Navient, it would be premature to
    dismiss Plaintiffs' Complaint under Section 523(a)(8)(A)(ii); at this stage in the
    litigation, the underlying facts are not sufficiently developed. But the Court is
    persuaded by Plaintiffs' view that Section 523(a)(8)(A)(ii) does not encompass the
    Tuition Answer Loans, based upon the plain language of the statute, and in
    addition, applicable canons of statutory interpretation and the legislative history.

                  4.     Claim for Violation of the Discharge Injunction.

           The Discharge Order granted Plaintiffs a discharge under Section 1328(a).
    Section 1328(a) specifies that the bankruptcy discharge for Chapter 13 debtors is
    as to "all debts provided for by the plan or disallowed under section 502 of this title,
    except any debt — ... of the kind specified in ...[section 523(a)(8)]." 11 U.S.C.
    § 1328(a)(2)(emphasis added). Pursuant to the Bankruptcy Code, the Discharge
    Order "operates as an injunction against the commencement or continuation of an
    action, the employment of process, or an act, to collect, recover, or offset any such
    debt as a personal liability of the debtor, whether or not discharge of such debt is
    waived". 11 U.S.C. § 524(a)(2).

          Navient argues Plaintiffs' claim for violation of the discharge injunction is
    defective because there is no private right of action for such claim, and the
    Discharge Order was not specific enough to be enforced against Navient on

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    contempt grounds; the Discharge Order did not clearly identify prohibited conduct
    as the Order "lacked such a statement about their [Tuition Answer] Loans". Reply,
    p.29.

           While the Tenth Circuit has not determined whether there is a private right
    of action under Section 524(a)(2), it is clear the Court's equitable powers under
    Section 105(a) extend to decide claims "to enforce and remedy violations of
    substantive provisions of the Bankruptcy Code, including in particular the
    discharge injunction in 524(a)(2)." Paul v. Iglehart (In re Paul), 534 F.3d 1303,
    1306 (10t" Cir. 2008)(citations omitted).$ Thus,"Section 524(a)(2) operates as `an
    equitable remedy precluding the creditor, on pain of contempt, from taking any
    actions to enforce the discharged debt."' Gray v. Nussbeck (In re Gray), 586 B.R.
    347, 353(Bankr. D. Kan. 2018)(quoting Espinosa v. United States Aid Funds, Inc.,
    553 F.3d 1193, 1200 (9th Cir. 2008), aff'd, 559 U.S. 260 (2010) (emphasis in
    original)).

           To be held in contempt, a court must find (1)the party violated a specific and
    definite order; (2) the party had notice of the order; and (3) the party did in fact
    violate the order. Lucre Mgmt. Grp., LLC v. Schempp Real Estate, LLC(In re Lucre
    Mgmt. Grp., LLC), 365 F. 3d 874, 875 (10t" Cir. 2004). In order to prevail in a civil
    contempt proceeding, Plaintiffs' burden is high; they must prove the alleged
    violation by clear and convincing evidence. Reliance Ins. Co. v. Mast Const. Co.,
    159 F.3d 1311, 1315 (10th Cir. 1998).

          The Court concludes Plaintiffs have stated a valid claim for contempt. The
    Discharge Order and the statutory bases for its issuance and enforcement
    (Sections 1328 and 524(a)(2)) are broad and unequivocal. All debts were
    discharged, except those enumerated in Section 1328(a). There is no such thing
    as a personalized discharge order addressed to each creditor in a given
    bankruptcy case. That neither party sought to determine the dischargeability of
    the Tuition Answer Loans until now does not alter whether or not the debts were
    discharged under Section 523(a)(8) at the time the Discharge Order was entered;
    thereafter they both proceeded at their own risk. Any ambiguity in the law, or
    uncertainty as to the injunction's applicability to the Tuition Answer Loans, is
    relevant to the inquiry as to whether any contempt violation, if proven, was willful.
    Accordingly, the Court will not dismiss the claim on that basis. Whether or not the
    evidence at trial will support the claim is a matter for another day.


    a The Court rejects the notion Plaintiff's claim would need to be dismissed on procedural grounds
    for failure to file a motion for contempt in the main bankruptcy case, as that requirement would
    elevate form over substance. See, e.g., Gray v. Nussbeck(In re Gray), 586 B.R. 347, n.19(Bankr.
    D. Kan. 2018); Montano v. First Light Fed. Credit Union (In re Montano), 398 B.R. 47, 55-56
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          B.     The Rule 12(f) Motion to Strike.

         Rule 12(fl allows a court to strike from a pleading "any redundant,
   immaterial, impertinent, or scandalous matter."               Fed.R.Civ.P. 12(x;
   Fed.R.Bankr.P. 7012(b). But "[s]triking a portion of a pleading is a drastic remedy;
   the federal courts generally view motions to strike with disfavor and infrequently
   grant such requests." Purzel Video GmbH v. Smoak, 11 F.Supp.3d 1020, 1029
   (D. Colo. 2014)(citing 5C Arthur R. Miller &Mary Kay Kane, Federal Practice and
   Procedure § 1380 (3d ed. 2011)).

           The purpose of Rule 12(f) "is to conserve time and resources by avoiding
   litigation of issues which will not affect the outcome of a case." Sierra Club v. Tri—
   State Generation &TransmissionAss'n, 173 F.R.D. 275, 285(D. Colo.1997)(citing
   United States v. Smuggler—Durant Mining Corp., 823 F.Supp. 873, 875
   (D. Colo.1993)). Accordingly, courts deny motions to strike immaterial and
   impertinent matter "unless it can be shown that no evidence in support of the
   allegations] would be admissible." United States v. Shell Oil Co., 605 F.Supp.
   1064, 1085 (D. Colo. 1985)(quoting Lipsky v. Commonwealth United Corp., 551
   F.2d 887, 893 (2d Cir. 1976)). "Only allegations `so unrelated to plaintiff's claims
   as to be unworthy of any consideration' should be stricken." Id. (quoting EEOC v.
   Ford Motor Co., 529 F.Supp. 643, 644 (D. Colo. 1982)). Further, "[i]rrelevant
   allegations will be stricken as scandalous only if they degrade defendants' moral
   character, contain repulsive language, or detract from the dignity of the court."
    Sierra Club, 173 F.R.D. at 285 (citing Nault's Auto. Sales v. American Honda Motor
    Co., 148 F.R.D. 25, 30(D.N.H.1993)(further citation omitted)).

           "Even where the challenged allegations fall within the categories set forth
    in the rule, a party must usually make a showing of prejudice before the court will
    grant a motion to strike." Sierra Club, 173 F.R.D. at 285. "Inappropriately
    hyperbolic allegations, ill-conceived attempts at levity, and other similar
    manifestations of bad judgment in drafting pleadings, by themselves, fall short of
    the threshold that Rule 12(f) contemplates." Saylavee LLC v. Hockler, 228 F.R.D.
    425, 426 (D. Conn. 2005).

           It is important to keep in mind Plaintiffs' allegations are made against a
    corporate entity in a matter that will be tried to the Court. Although Plaintiffs'
    allegations in paragraphs 1 and 9 through 19 may be hyperbolic, they are not so
    unrelated to Plaintiffs' claims as to be unworthy of any consideration. To the
    contrary, the allegations are relevant to Plaintiffs' claim for violation of the
    discharge injunction. The Court, therefore, denies Navient's motion to strike the
    allegations.



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   VI.    CONCLUSION

           For the reasons stated herein, the Court DENIES the Motion to Dismiss
   Plaintiffs' Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
   Impertinent Matter Under Fed.R.Civ.P. 12(fl filed by Defendant Navient Solutions,
   LLC.

    Dated: September 24, 2018.
                                            BY THE COURT:



                                             Kimberley H. Tyson
                                             United States Bankruptcy Judge




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                                    EXHIBIT B


                       PETITION FOR DIRECT,INTERLOCUTORY
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          In ~e Byron Patterson McDaniel Jr. and Laura Paige McDaniel,

                                               Debtors.


             Byron Patterson McDaniel Jr. and Laura Paige McDaniel,

                                                   Appellees-Plaintzffs,

                                          v.

                             Navient Solutions, LLC,

                                                   Appellant-Defendant.


          ON APPEAL FROM THE UNITED STATES BANKRUPTCY
               COURT FOR THE DISTRICT OF COLORADO


   UNOPPOSED PETITION FOR DIRECT,INTERLOCUTORY APPEAL


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 Counselfog Appellant-Defendant




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                      CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rules of Appellate Procedure 26.1, Appellant Navient
  Solutions, LLC discloses that the following entity owns 10% or more of its equity
..interests:...

       Navient Corporation

                                             /s/Eric E. Johnson
                                             Counselfog Appellant-Defendant




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                      DISCLOSURE OF OPPONENTS'POSITION

       Pursuant to Local Rule 27.1, the undersigned counsel of record certifies that
he has contacted counsel for the Appellees-Plaintiffs, who indicated that Appellees-
Plaintiffs da nat appose the Tenth Circuit accepting this direct,interlocutory appeal
(without prejudice to or waiver oftheir rights or arguments on the merits).

                                               /s/Epic E. Johnson
                                               Counselfog Appellants-Defendants




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                              SUMMARY OF ARGUMENT

        This appeal presents two important questions about the discharge order

 entered atthe conclusian of a bankruptcy ease. First, must a Chapter l3 plan or the

 order confirming it contain an express finding on the dischargeability of student

 loans to operate as resjudicata? And second, are private student loans excepted from

 discharge as "obligations to repay funds received as educational benefits" under

 § 523(a)(8)(A)(ii) of the Bankruptcy Code?

        Appellant-Defendant Navient Solutions, LLC ("Navient") raised these issues

 in a motion to dismiss the adversary proceeding below. The bankruptcy court denied

 Navient's motion, concluding(1)that Plaintiffs' Chapter 13 plan did not contain an

 "explicit statement or determination as to the dischargeability of any of Plaintiffs'

  student loans[,]" so was not a final determination on the merits ofthat question, and

 (2) that private student loans are not excepted from discharge under

  § 523(a)(8)(A)(ii). See Ex. A at 8-15.

        Navient seeks permission to appeal the bankruptcy court's order, attached as

  Exhibit A. This Court has jurisdiction and discretion to accept the appeal under 28

  U.S.C. § 158 and the Federal Rules ofBankruptcy Procedure(as incorporated by the

  Federal Rules of Appellate Procedure). 28 U.S.C. § 158(a)(3), (d)(2)(A)(i), (iii);

  Fed. R. App.P. 5(a)(2), 6(c); Fed. R.Bankr.P. 8004(a),(e), 8006(e),(g). The parties




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 agree about the need for this Court's guidance, and therefore jointly certified the

 matter for direct, interlocutory appeal pursuant to 28 U.S.C. § 158(d)(2)(A). Ex. B.

       This Court should accept the appeal. First, this Court has not spoken to the

 precise issue of whether the treatment of student loans in a confirmed Chapter 13

 plan operates as res judicata as to the dischargeability of such loans—or whether an

 express finding as to dischargeability is required. It should do so now, particularly

 given that a question exists as to whether the Supreme Court's decision in United

 Student Azd Funds, Inc. v. Espinosa, 559 U.S. 260(2010), controls the case. In that

 case, the Supreme Court held that a plan's treatment of student loans does operate

 as res judicata, but the bankruptcy court held that Espinosa is inapplicable here

 because it purportedly requires a level of"express finding" that the plan in this case

 lacks (and Plaintiffs claim that Espinosa is limited to federal loans).

        Second, neither the Supreme Court nor this Court has considered whether

  private student loans are excepted from discharge under § 523(a)(8)(A)(ii) of the

  Bankruptcy Code. Other courts are split on the question. The majority, including

  the Second Circuit (in an unpublished decision) and the Western District of

  Michigan(in an appellate capacity),find that private student loans are excepted from

  discharge under § 523(a)(8)(A)(ii). The minority, including the bankruptcy court

  below, the Bankruptcy Appellate Panel for the Ninth Circuit, and the Bankruptcy




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 Court for the Eastern District of New Yorlc, do not. Binding guidance from this

 Court is thus needed.

       Finally, direct, immediate review by this court will materially advance the

 case. This petition presents gating questions that this Court has not previously

 considered. Judicial economy favors early appellate guidance, which will save the

 bankruptcy court and the parties the considerable resources that discovery,

 subsequent dispositive motions, and (possibly) trial will consume. In addition, the

 public interest also favors direct, interlocutory review by this Court. Navient's

 petition presents questions that arise with relative frequency in bankruptcy cases.

 Early, authoritative guidance from this Court would thus benefit more than just the

 parties here; it would benefit the public at large.

 I.     BACKGROUND NECESSARY TO UNDERSTAND THE QUESTIONS PRESENTEDI

        A.    Appellees-Plaintiffs contend that they discharged their obligations
              to repay their private student loans in bankruptcy.

        All facts necessary to resolve the questions presented are undisputed.

  Between 2004 and July 2007, Plaintiffs borrowed over $100,000 in six Sallie Mae

  Tuition Answer Loans (the "Educational Loans") for Laura Paige McDaniel to

  attend Lakeland College. Adversary Proceeding No. 17-1274, Dlct. No. 1 ~~ 20, 22,



         ~ Because this appeal proceeds from the denial of Navient's motion to
  dismiss, the following facts are taken from Plaintiffs' complaint, Plaintiff's
  bankruptcy schedules, and documents of which the Court can take judicial notice.
  See, e.g., Ashcroft v. Iqbal, 556 U.S. 662,678 (2009).
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 25. 26 (Bankr. D. Colo. July 12, 2017)(the "AP"). Navient is the current servicer

 for Plaintiffs' Educational Loans.

        In their promissory notes,Plaintiffs certified that "alI ofthe Loan proceeds are

 to pay expenses directly related to attending" Lakeland College. AP,Dkt. No. 1, Ex.

 B at 6, 31, 38. Plaintiffs also certified that they "must immediately repay any funds

 that [they] receive which cannot reasonably be attributed to meeting ...educational

 expenses related to attendance at" Lakeland College. Id. at 6, 14, 31, 38.

        Plaintiffs further agreed that any undisbursed funds obtained through the

 Educational Loans could be canceled if Ms. McDaniel "ceas[ed] to be enrolled at"

 Lakeland College." Id. at 5, 31, 37. And in at least one promissory note Plaintiffs

  certified that the relevant Educational Loan "is a qualified education loan as

  described in Section 221(d)(1) of the Internal Revenue Code of 1986 ... and .. .

  therefore is not dischargeable in bankruptcy[.]" Id. at 14.

        In December 2009,Plaintiffs filed a voluntary Chapter 13 bankruptcy petition

  in the U.S. Bankruptcy Court for the District of Colorado. Id. at ¶ 27. Plaintiffs

  listed eleven Navient loans in their bankruptcy schedules. Case No.09-37480,Dkt.

  No. 1 at 31-33 (Bankr. D. Colo. Dec. 24, 2009)(the "Bankruptcy Case). In their

  schedules—which they signed under penalty of perjury— Plaintiffs labeled all of

  the Navient loans as "Educational." Id. Plaintiffs scheduled their obligations under

  all of their Educational Loans as non-contingent, liquidated, and undisputed. Id.


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       With their petition, Plaintiffs also filed their original Chapter 13 plan (the

 "Original Plan"). Bankruptcy Case,Dkt. No.2 at 7. In their Original Plan, Plaintiffs

 indicated they had "no student loans," despite listing eleven "Educational" loans in

 Schedule F. Id. CompaNe Bankruptcy Case, Dlct. No. 1 at 31-33.

       In January 2010,the Chapter 13 Trustee objected to confirmation ofPlaintiffs'

 Original Plan because, among other things, it made "no provision for debtor's [sic]

 non-dischargeable student loan [sic]. 1322(b)(10) [sic]." Bankruptcy Case, Dkt.

 No. 12. Two months later, following a hearing, the bankruptcy court sustained the

 Chapter 13 Trustee's objection, denied confirmation of the Original Pian, and

 ordered Plaintiffs to file a new plan. Bankruptcy Case, Dkt. No. 18.

        As the Court required, Plaintiffs filed their Amended Plan on April 1, 2010.

 Bankruptcy Case,Dkt. No. 25. Rather than omitting their Educational Loans as they

  did in their Original Plan, in the Amended Plan Plaintiffs indicated that they had

 "Student Loans." Id. at 6. Further, Plaintiffs expressly stated that their "student

  loans" would not be treated as "an unsecured Class Four claim," id., thereby

  distinguishing their Educational Loans from their other dischargeable "Class Four"

  unsecured claims.

        Next,far from seeking to discharge their Educational Loans,Plaintiffs drafted

  into their plan unique language providing that the Educational Loans would be

  "deferred until end of plan." Id. Nothing in the Amended Plan indicated that




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 Plaintiffs sought to discharge any portion o~the Educational Loans. To the contrary,

 Plaintiffs expressly distinguished their Educational Loans from their other

 dischargeable Class Four unsecured claims.

       The Amended Plan also provided that Debtors would make collective

 payments to~ all unsecured creditors, including Navient, totaling $40,134.10 during

 the five-year plan period. Id. at 6. Thus,the Amended Plan provided that all student-

 loan creditors would receive their pro rata share of plan payments as unsecured

  creditors during the plan payment period, deferring all other amounts to be paid

  under the terms of the respective non-discharged loans until the "end of plan," at

  which time those loans would be paid in full according to their terms. Id. at 6, ~

  IV.D.2.a.

        The same day that they filed it, April 1, 2010, Plaintiffs served on Navient a

  copy of the Amended Plan. Bankruptcy Case, Dkt. No. 26. On May 4, 2010, the

  bankruptcy court entered its order confirming the Amended Plan(the "Confirmation

  Order"). Bankruptcy Case,Dkt. No. 32. Plaintiffs allege they paid Navient $26,782

  as its share of the $40,134.10 total paid to unsecured creditors during the five-year

  payment period under the Amended Plan. AP. Dkt. No. 1 ~ 28.

        Five years after confirmation, Plaintiffs certified to the Court that they

  completed all plan payments and requested a discharge. Bankruptcy Case, Dkt. No.

  53. The bankruptcy court issued its general discharge order(the "Discharge Order")




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 on March 3, 2015. Bankruptcy Case, Dkt. No. 54. The Discharge Order states that

 among the "[d]ebts that are not [d]ischarged" are "[d]ebts for most student loans."

 Id. at 2.

        For two years following their discharge from their other unsecured claims,

 Plaintiffs allege they continued to make monthly payments to Navient on their

 Educational Loans, totaling $37,460. AP,Dkt. No. 1 ¶ 33. But in June 2017, more

 than two years after the discharge of their other claims, more than seven years after

 they confirmed their Amended Plan, and nearly eight years after they filed for

 bankruptcy listing eleven "Educational" loans as undisputed debts—all the while

 remaining silent about any intent to seek to discharge their Educational Loans—

 Plaintiffs sued Navient, contending that their Educational Loans are dischargeable

  and were discharged by the general Discharge Order. Id. ¶~ 35-41.

  II.   LEGAL BACKGROUND NECESSARY FOR THE QUESTIONS PRESENTED

        A.     Res judicata and Supreme Court precedent bar Plaintiffs' claims.

        "Claim preclusion [res judicata] applies when three elements exist:(1)a final

 judgment on the merits in an earlier action;(2) identity of parties or privies in the

  two suits; and (3) identity of the cause of action in both suits." MACTEC Inc. v.

  Gorelick, 427 F.3d 821, 831 (10th Cir. 2005). If a party demonstrates these

  elements, "res judicata is appropriate unless the party seeking to avoid preclusion

  did not have a `full and fair opportunity' to litigate the claim in the prior suit." Id.



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        The Supreme Court considered these principles in the Chapter 13 bankruptcy

 context in Espinosa. There, a debtor filed a Chapter 13 plan that proposed to

 (impermissibly) discharge a portion of his student loan debt. 559 U.S. at 268-69.

 Although the debtor did not initiate the required adversary proceeding to obtain a

 dischargeability determination, the court confirmed his plan.             Id.    Before

 confirmation, the lender didn't object to the proposed discharge of part of the

 debtor's student loan. Id. at 265.

        Years later, the lender sought to collect on its student loan. The debtor resisted

 on the basis of his confirmed plan. The lender sought to set aside the confirmation

 order as void under Federal Rule of Civil Procedure 60(b)(4) because, the creditor

  argued,the order violated the Bankruptcy Code and Rules due to the debtor's failure

 to commence an adversary proceeding and obtain a determination of

  dischargeability. Id.

        The Supreme Court first held that "a Chapter 13 plan that proposes to

  discharge a student loan debt without [a dischargeability determination] violates

  §§ 1328(a)(2)and 523(a)(8)." Id. at 276. "Failure to comply with this self-executing

  requirement[,]" the Court went on,"should prevent confirmation ofthe plan even if

  the creditor fails to object, or to appear in the proceeding at all." Id. at 276-77. The

  Court then admonished the bankruptcy court that "to comply with § 523(a)(8)'s

  directive, [it] must make an independent determination of[dischargeability] before




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 a plan is confirmed, even if the creditor fails to object or appear in the adversary

 proceeding." Id. at 277-78 (internal quotations and citations omitted).

        The Court also held, however, that the lender's failure to object to

 confirmation or to take proper action required by Federal Rule of Civil Procedure 60

 precluded relief from the bankruptcy court's improper confirmation order. It wrote

 that, "[g]iven the [Bankruptcy] Code's clear and self-executing requirement for [a

 dischargeability determination before a student loan debt can be discharged], the

 Bankruptcy Court's failure to make a [dischargeability determination] before

 confirming Espinosa's plan was a legal error." Id. at 275. "But[,]" the Court went

 on,"the order remains enforceable and binding on [the lender] because [the lender]

 had notice of the error and failed to object or timely appeal." Id. at 275 (internal

 citation omitted). In other words, Espinosa held that where a plan addresses

  dischargeability of student loans, it operates as res judicata even if the parties and

 the bankruptcy court did not undertake a separate adversary proceeding before

  malting a dischargeability determination.

        B.     Congress excepted student loans from discharge in bankruptcy.

         When a debtor completes his or her bankruptcy case, the court issues an order

  discharging the debtor from liability on properly scheduled debts. See, e.g., 11

  U.S.C. §§ 727, 1328. That statutory right is qualified. See Grogan v. GarneN, 498

  U.S. 279, 286(1991)("We have previously held that a debtor has no constitutional


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 or `fundamental' right to a discharge in bankruptcy."). Specifically, Congress has

 excepted certain categories of debts from discharge in bankruptcy. Id.; 11 U.S.C.

 § 523. Chief among them are debts for student loans. 11 U.S.C. § 523(a)(8).

        Specifically, § 523(a)(8) of the Bankruptcy Code provides that a discharge

 does not apply to:

             (A)(i) an educational benefit overpayment or loan made,
                    insured, or guaranteed by a governmental unit, or
                    made under any program funded in whole or in
                    part by a governmental unit or nonprofit
                    institution; or

              (A)(ii) an obligation to repay funds received as an
                      educational benefit, scholarship, or stipend; or

             (B)      any other educational loan that is a qualified
                      education loan, as defined in section 221(d)(1) of
                      the Internal Revenue Code of 1986, incurred by a
                      debtor who is an individual[.]

  11 U.S.C. § 523(a)(8).Z Congress most recently revised § 523(a)(8) in April 2005,

  when it passed the Bankruptcy Abuse Prevention and Consumer Protection Act

 (`BAPCPA")amendments to the Bankruptcy Code. Pub. L. No. 109-08, § 220, 119

  Stat. 23, 59(Apr. 20, 2005).

        Since the enactment of the BAPCPA amendments, a majority of courts have

  concluded that private student loans are excepted from discharge as "obligations to



         2 This exception to discharge does not apply if it would cause an "undue
  hardship on the debtor and the debtor's dependents[.]" 11 U.S.C. § 523(a)(8).
  Plaintiffs have not alleged undue hardship in this case.
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 repay funds received as educational benefits" under § 523(a)(8)(A)(ii). See, e.g.,

 Deso~mes v. United States, 569 F. App'x 42, 43(2d Cir. 2014); B~^own v. CitiBank,

 N.A., 539 B.R. 853, 857-59 (Banlzr. C.D. Cal. 2015); Sensient Techs. Copp. v.

 Baiocchi, 389 B.R. 828, 829-32(Bankr. E.D. Wis. 2008).3 A number of decisions

 from other bankruptcy courts, however, have concluded that § 523(a)(8)(A)(ii) does

 not encompass obligations to repay private student loans. See, e.g., Nypave~ v.

 Nypave~, 581 B.R. 431 (Bankr. W.D.Pa. 2018)and Campbell v. Citibank, N.A., 547

 B.R. 49(Bankr. E.DN.Y. 2016).

        Approximately twenty decisions have adopted the legal position that Navient

  advocates here.4 And approximately fifteen decisions, including the bankruptcy


        3 A 2008 decision from the District of Arizona concluded that private student
  loans were not excepted from discharge under the pre-BAPCPA version of
  § 523(a)(8), and thus does not apply here. London-Marble v. Steeling, No. 06-274,
  2008 WL 2705374, at *3-4 (D. Ariz. July 9, 2008). Further, London-Marble
  diverged from the earlier finding in Micko v. Student Loan Fin. Copp. that student
  loans are excepted from discharge. 356 B.R. 210, 213-17 (Bankr. D. Ariz. 2006).
  Micko also applied the pre-BAPCPA version of § 523(a)(8), but it analyzed the
  amended language at length in doing so.

        4 See, e.g., Deso~mes, 569 F. App'x 42 (2d Cir. 2014); Maas v. No~thstar~
  Educ. Fin., Inc., 514 B.R. 866(W.D. Mich. 2014)(sitting in an appellate capacity);
  De la Rosa v. Kelly, —B.R.—,No. 17-3320, 2018 WL 1474890, at *3-7 (Bankr.
  S.D. Tex. Mar. 23, 2018) Rizor v. Acapita Educ. Fin. Copp., 553 B.R. 144 (Bankr.
  D. Alaska 2016); Shaw v. EduCap, Inc., No. 08-30319, 2015 WL 1000213, at *2-3
  (Bankr. S.D. Tex. Mar. 3, 2015); Am. Airlines Fed. Credit Union v. Cardona, No.
   15-16365, 2015 WL 9459883 (Bankr. S.D. Fla. Dec. 23,2015); Brown,539 B.R. at
  853; Brown v. Rust, 510 B.R. 562(Bankr. E.D. Ky. 2014); Benson v. Corbin, 506
  B.R. 287(Banlcr. W.D. Wash. 2014); Accounts Mgmt. v. Vczsa, No. 14-40109,2014
  WL 6607512(Bankr. D.S.D. Nov. 19, 2014); Beesley v. Royal Bank ofCanada, No.
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 court below, have adopted the legal position asserted by Plaintiffs.s The question is

 now before the Fifth Circuit on direct, interlocutory appeal. Cr~ocke~ et al. v. Navzent

 Solutions, LLC et al., No. 18-20254 (Sth Cir.). That appeal is fully briefed and

 awaiting calendaring of oral argument, if any, and resolution.




 12-24194, 2013 WL 5134404 (Bankr. W.D. Pa. Sept. 13, 2013); Chicago
 Patrolmen's Fed. CNedit Union v. Daymon, 490 B.R. 331 (Bankr. N.D. Ill. 2013);
 Rumen v. Am.Educ. Se~vs.,469 B.R. 553(Bankr. M.D.Pa. 2012);Liberty Bay Credit
  Union v. Belfo~te, No. 10-22742,2012 WL 4620987(Bankr.D. Mass. Oct. 1, 2012);
 Rabbi Ha~~y H. Epstein School, Inc. v. Goldstein, No. 11-81255,2012 WL 7009707
 (Bankr. N.D. Ga. Nov. 26, 2012); Ca~ow v. Chase Loan Se~v., No. 10-30264, 2011
 WL 802847 (Banlcr. D.N.D. Mar. 2, 2011); Skipworth v. Citibank Student Loan
 Copp., No. 09-83982, 2010 WL 1417964 (Bankr. N.D. Ala. Apr. 1, 2010); Roy v.
 Sallie Mae, Inc., No. 08-33318, 2010 WL 1523996 (Banlcr. D.N.J. Apr. 15, 2010);
 Baiocchi, 389 B.R. at 828; Micko, 356 B.R. at 216 (discussing BAPCPA
 amendment, but applying pre-BAPCPA statute).

        5 See, e.g., McDaniel, No. 17-1274, Dkt. No. 30(Bankr. D. Colo. Sept. 24,
 2018); Kashika~ v. TuNnstiel Capital Mgmt., LLC, 567 B.R. 160 (B.A.P. 9th Cir.
 2017); Inst. OfImaginal Studies v. Christoff, 527 B.R. 624 (B.A.P. 9th Cir. 2015);
 Crocker, Ex. A; Nypave~, 481 B.R. at 431; Wiley v. Wells Fargo Bank, N.A., 579
 B.R. 1 (Bankr. D. Me. 2017); In ~e Essanguz, 573 B.R. 614 (Bankr. D. Md. 2017);
 Duf~^ane v. Navient Solutions, Inc., 566 B.R. 28 (Bankr. C.D. Cal. 2017); In re
 Schultz, No. 16-3042, 2016 WL 8808073 (Bankr. D. Minn. Dec. 13, 2016)
 (interlocutory ruling not reduced to order, which is now a nullity because the case
 settled); Campbell, 547 B.R. at 28; Citizens Bank v. Decena, 549 B.R. 11 (Bankr.
 E.D.N.Y. 2016), ~ev'd and remanded on other gNounds, 562 B.R. 202 (E.D.N.Y.
 2016); In ~e Meyer, No. 15-13193, 2016 WL 3251622 (Bankr. N.D. Ohio June 6,
 2016); Swenson v. Swenson, No. 16-10016, 2016 WL 4480719(Bankr. W.D. Wis.
 Aug. 23,2016); Nunez v. Key Educ. Res./GLESl,527 B.R.410(Bankr. D. Or. 2015);
 London-Marble, 2008 WL 2705374 at *3-4 (applying pre-BAPCPA statute).
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 III.   THE BANKRUPTCY COURT'S DECISION BELOW

        A.    The bankruptcy court denied Navient's motion to dismiss, which
              decision the parties agree is appropriate for direct, interlocutory
              aPPeal to this Court.

        Navient moved to dismiss Plaintiffs' claims on October 10,2017. The motion

 asserted two arguments. First, that principles of res judicata bar Plaintiffs' claims,

 as the treatment of their Educational Loans in their Chapter 13 plan was litigated to

 final determination—i.e., that the Loans would not be discharged, but would be

 "deferred until end of plan."      And second, that Plaintiffs' student loans were

 excepted from discharge as "obligations to repay funds received as educational

  benefits" under § 523(a)(8)(A)(ii). The bankruptcy court heard the motion on March

  20, 2018 and denied it roughly six months later. See Exs. A, C.

        On res judicata, the bankruptcy court noted that Plaintiffs' Amended Plan "is

  final and binds Plaintiffs and all of their creditors, including" Navient. Ex. A. at 8.

  But res judicata does not bar Plaintiffs' claims here, the court reasoned, because the

  Amended Pian "did not specify one way or the other whether [Plaintiffs' Educational

  Loans] were—or were not—discharged." Id. More to the point, the bankruptcy

  court emphasized that the Amended Plan does not state whether Plaintiffs'

  Educational Loans were non-dischargeable. Id.           And the court distinguished

  Espinosa on that basis. Id. at 9. In so doing, the court ignored that it had sustained

  the trustee's objection and ruled that the Educational Loans were non-dischargeable,



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 which resulted in the filing and confirmation ofthe Amended Plan treating the loans

 as non-dischargeable.

        On dischargeability, the bankruptcy court adopted the minority position by

 interpreting § 523(a)(8)(A)(ii)to exclude private loans. Id. Among other things,the

 bankruptcy court focused on the use of the phrase "obligation to repay funds" in §

 523(a)(8)(A)(ii), as opposed to the use of the term "loan" in § 523(a)(8)(A)(i) and

 (B). Id. The bankruptcy court also focused on the use of the phrase "received as

 educational benefits" in § 523(a)(8)(A)(ii), which the court found "sets an

 educational benefit apart from a loan, and excepts from discharge a category of

 obligations in Section 523(a)(8)(A)(ii) that does not include loans but rather,

 `educational benefit[s]', `scholarships', and `stipends."' Id. at 11.

 IV.    ,TURISDICTIONAL STATEMENT

        As discussed more fully below, this Court has jurisdiction to hear a direct

  appeal from an interlocutory order if the parties acting jointly certify:(1)the order

 involves a question for which no controlling circuit court or Supreme Court

  precedent exists, or a matter of public importance; (2) the order involves a legal

  question requiring resolution of conflicting decisions; or (3) an immediate appeal

  may materially advance the case. 28 U.S.C. § 158(a)(3),(d)(2)(A). See, e.g., Ford,

  574 F.3d at 1281-82.




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        The parties agree that this matter satisfies all three conditions for direct,

 interlocutory appeal, and therefore made such a certification. This Court thus has

 jurisdiction under 28 U.S.C. § 158(d)(2)(A).

 V.     QUESTIONS PRESENTED

        Navient's appeal will present the following legal questions:

        1.    Did the bankruptcy court err in denying NSL's motion to dismiss on res

 judicata grounds?

        2.    Did the bankruptcy err in concluding that private student loans are not

  excepted from discharge as "obligations to repay funds received as educational

  benefits" under § 523(a)(8)(A)(ii) of the Bankruptcy Code?

  VL    RELIEF REQUESTED

        Navient will ask this Court to(a)reverse the bankruptcy court's order denying

  its motion to dismiss,(b) hold that Plaintiffs' claims are barred by principles of res

 judicata under Espinosa and its progeny, (c) hold, in the alternative, that private

  student loans are excepted from discharge as "obligations to repay funds received as

  educational benefits" under § 523(a)(8)(A)(ii) of the Bankruptcy Code, and (d)

  remand the case for dismissal of the adversary proceeding with prejudice.




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 VII. REASONS THE APPEAL SHOULD BE ALLOWED

       A.     The Court has jurisdiction to accept a direct, interlocutory appeal
              of the order.

       Before the BAPCPA amendments, no direct route of appeal from the

 bankruptcy court to the circuit court existed. Instead, a party appealed first to the

 district court or bankruptcy appellate panel and then to the circuit court if needed.

 Two flaws plagued this structure. First, the extra layer of review brought attendant

 expense. Second, decisions by a district court or bankruptcy appellate panel are

 generally not binding and lack stare decisis value. See, e.g., Ghadimi v. Ashai, 211

 F. Supp. 3d 1215, 1220-21 (C.D. Cal. 2016). Further,the first problem compounded

 the second: the cost of proceeding through two layers of review meant that many

 appeals stopped at the district court or bankruptcy appellate panel.

        For these reasons, Congress provided fast-track access to the circuit courts of

  appeals in the BAPCPA amendments. 28 U.S.C. § 158(d). See, e.g.,Ford,574 F.3d

  at 1281-82;see also Woolsey v. Citibank, N.A.,696 F.3d 1266, 1268(10th Cir. 2012)

 (Gorsuch, J.) (discussing direct, interlocutory appeals). Now, the parties acting

 jointly may certify matters for direct appeal to the circuit courts where the following

  circumstances exist:

               i.    the judgment, order or decree involves a question of
                     law as to which there is no controlling decision of
                     the court of appeals for the circuit or ofthe Supreme
                     Court of the United States, or involves a matter of
                     public importance;


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              ii.    the judgment, order or decree involves a question of
                     law requiring resolution of conflicting decisions; or

              iii.   an immediate appeal from the judgment, order or
                     decree may materially advance the progress of the
                     case or proceeding in which the appeal is taken.

 28 U.S.C. § 158(d)(2)(A).6 The parties agree that all three bases for direct,

 interlocutory appeal exist here, giving the Court jurisdiction to accept a direct,

 interlocutory appeal of the bankruptcy court's order.

        B.    The Court should accept a direct,interlocutory appeal of the order.

        As discussed more fully below,the Court should accept a direct, interlocutory

 appeal of the bankruptcy court's order because it: (a)involves questions of law for

 which no controlling precedent exists and matters ofpublic importance;(b)involves

 resolutions of conflicting decisions; and (c) will materially advance the litigation

 below. Among other things, the Court can provide guidance on whether a Chapter

  13 plan must contain an explicit finding of non-dischargeability to operate as res

 judicata. The Court can also provide guidance for a question of broad concern on

  which other courts are split: the non-dischargeability of private student loans in

  bankruptcy. These issues are not fact-intensive. Finally, direct, immediate appeal

  will materially advance the litigation below: it will conserve the bankruptcy court's

  and the parties' resources by authoritatively ruling on threshold issues that will



       6 The Court's acceptance of a direct appeal satisfies the requirement that
  Navient obtain leave to appeal an interlocutory order. Fed. R. Bankr. P. 8004(e).
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 entirely dispose of the case if Navient prevails. See, e.g., FoNd, 574 F.3d at 1281-

 82(accepting direct, interlocutory appeal).

                     1.    The order involves questions of . .law on which no
                           controlling precedent exists, resolution of conflicting
                           decisions, and mattes ofpublic importance.

        This Court has not spoken to whether a Chapter 13 plan must contain an

 explicit finding of non-dischargeability to operate as res judicata. The bankruptcy

 court concluded that it must—even where the issue is litigated prior to confirmation

 of the plan and the plan is amended to comport with the bankruptcy court's ruling

 on a trustee's objection that the plan could not be confirmed until it provided

 appropriate treatment for Plaintiffs' non-dischargeable loans. The parties dispute

 the extent to which the Supreme Court's Espinosa decision controls this question.

 Navient asserts that, under Espznosa:(1)ifa debtor wishes to discharge student loans

 in a Chapter 13 plan, he or she must seek and obtain a dischargeability order before

  or as a precondition of plan confirmation; and(2)the treatment of student loans in a

  confirmed chapter 13 plan binds the debtors and creditors—even if the parties and

  the bankruptcy court do not undertake a separate adversary proceeding on

  dischargeability before confirming the plan. Plaintiffs, on the other hand, argue that

  the Supreme Court in Espinosa "never held (or even addressed)that the question of

  dischargeability was res judicator[,]" and that its decision was limited to "federally

  insured loans" in any event. Dlct. No. 10 at 7, 10 n.23.




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       Further, neither this Court nor the Supreme Court has determined whether

 private student loans are excepted from discharge as "obligations to repay funds

 received as educational benefits" under § 523(a)(8)(A)(ii)of the Bankruptcy Code.

 Other courts are split. Since the passage of the BAPCPA amendments, a majority

 of courts have held that private student loans are excepted from discharge under §

 523(a)(8)(A)(ii). See, e.g., DesoNmes, 569 F. App'x at 43; Brown, 539 B.R. at 857-

 59; Baiocchi, 389 B.R. at 829-32. But a number of other bankruptcy decisions—

 including by the bankruptcy court below—have found that § 523(a)(8)(A)(ii) does

 not encompass obligations to repay private student loans. See, e.g., Nypave~, 581

 B.R. at 431 and Campbell, 547 B.R. at 49. The only decision from a circuit court of

 appeals—the Second Circuit's Desormes opinion, which adopted the majority

 position—is unpublished.

        Finally, both issues involve matters of public concern. The first, res judicata,

  addresses the extent to which public documents approved by a court bind debtors

  and creditors in a bankruptcy case. It also addresses the extent to which Supreme

  Court precedent controls that question. And the second, the dischargeability of

  student loans, addresses a question that arises with relative frequency in bankruptcy

  cases and similarly affects debtors and creditors alike.



        ~ The Fifth Circuit accepted a direct, interlocutory appeal to resolve whether
  § 523(a)(8)(A)(ii) encompasses private student loans. CrockeN et al. v. Navzent
  Solutions, LLC et al., No. 18-20254(5th Cir.). This Court should do the same.
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                     2.    Direct, immediate appeal of the order would materially
                           advance the suit below and the public's interest.

        When the bankruptcy court denied Navient's motion to dismiss, it made

 threshold findings about the viability of Plaintiffs' claims and causes of action.

 Those findings concern questions that this Court does not appear to have previously

 considered.    Because Navient has other fact-intensive defenses available to

 Plaintiffs' claims, economy favors appellate review ofthe bankruptcy court's ruling

 on its motion to dismiss before the parties engage in potentially unnecessary,

 expensive, and disruptive discovery—not to mention motions practice and trial.

        The public also has an interest in prompt, conclusive guidance from the Tenth

  Circuit. The questions that Navient's motion presented concern the treatment of

 student loans in bankruptcy. How the Tenth Circuit resolves them will affect

  numerous parties—both debtors and creditors—throughout the Circuit. As with the

  parties, the public at large has an interest in a speedy answer to pressing questions

  ofthe treatment ofstudent loans in bankruptcy that garner significant media attention

  and affect many debtors in this Circuit and around the country.

        Faced with questions similar to those at issue here, the Fifth Circuit accepted

  a direct, interlocutory appeal from the U.S. Bankruptcy Court for the Southern

  District of Texas. Navient Solutions, LLC v. Crocker, No. 18-90016 (5th Cir. April

  25,2018)(copy attached hereto as E~ibit C). The bankruptcy court in that case sua

  sponte certified under 28 U.S.C. § 158(d) its resolution of a motion for summary

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 judgment raising the same 11 U.S.C. § 523(a)(8)(A)(ii)issues as in this case because

 that would be the "most efficient way" of obtaining conclusive appellate review of

 dispositve, gating questions. See Haas a/kIa C~ocke~ v. Navient, Inc., Adv. Case

 No. 16-03175, Dkt. No. 197 at 12(Bankr. S.D. Tex. March 5 2018)(copy attached

 as Ex. D hereto). Further to this point, given the uncertainty and divided opinions

 on the legal questions, the bankruptcy court in CNocker noted that it did not"want to

 go through a long, drawn out, complicated ...hearing if[it] turned]out to be wrong

 on" the potentially dispositive legal questions. Id. And, in addition to serving the

 interests of the parties and the court, certification would serve the greater public

 interest, given that "the issue regarding the statutory interpretation question [i.e.,

 whether § 523(a)(8)(A)(ii) encompasses private student loans]...comes up a lot."

 Id. The matter is now fully briefed and under advisement by the Fifth Circuit.

                                     CONCLUSION

        For the reasons described above,the Court should accept this matter for direct,

 interlocutory appeal under 28 U.S.C. § 158(d)(2).




                           [Signaturefollows on nextpage.]




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 Dated: October 9, 2018               Respectfully submitted,

                                      /s/E~zc E. Johnson

                                      Eric E. Johnson
                                      633 Seventeenth Street, Suite 3000
                                      Denver, Colorado 80202
                                      Telephone: 303.297.2900
                                      E-Mail: ejohnson@shermanhoward.com

                                      Counselfog Appellant




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                            CERTIFICATE OF COMPLIANCE

       This motion complies with the type-volume limitation of Fed. R. App. P.
 27(d)(2)(A) because:

        • It contains 5,178 words.

        • I relied on my word processor to obtain the count and it is Word Version
          2010.

       This brief complies with the typeface and type-style requirements of Fed. R.
 App. P. 27(d)(1)(E) because:

        • It has been prepared in a proportionally spaced 14-point Times New
          Roman font using Microsoft Word.

       I certify that the information on this form is true and correct to the best of
  my knowledge and belief formed after a reasonable inquiry.



  Dated: October 9, 2018.

                                                 lsl Eric E. Johnson
                                                 Counselfor Appellant




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                                  CERTIFICATIONS

        1.    I hereby certify all required privacy redactions have been made.

        2. - I hereby certify that the-hard-paper-copies o€-this brief-which-are being
 submitted to the Court are exact copies of the PDF version of this brief which was
 filed electronically via the Court's ECF system.

        3.    I hereby certify that a copy of the foregoing UNOPPOSED
 PETITION FOR DIRECT, INTERLOCUTORY APPEAL, as submitted in
 Digital Form via the court's ECF system, is an exact copy of the written document
 filed with the Clerk and has been scanned for viruses with the most recent version
 of a commercial virus scanning program (Kasperslcy Security for Virtualization 3.0
 Light Agent Service Pacic 1), updated October 9, 2018), and according to the
 program are free of viruses.

 Dated: October 9, 2018.

                                                lsl ENic E. Johnson
                                                Counselfog Appellant




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                             CERTIFICATE OF SERVICE

       I hereby certify that on October 9, 2018, I electronically filed the foregoing

 Petition with the Clerlc of this Court using the ~MIE~F System, which will send a

 notification of electronic filing to all counsel of record who are registered CM/ECF

 users, and that I served a copy on counsel for Appellees-Plaintiffs by email and U.S.

 Mail, as follows:

 Austin Smith,
 Smith Law Group
 3 Mitchell Place
 New York, New York 10017
 Austinnacsmithlaw~roup.com

                                              lsl Epic E. Johnson
                                              Counselfog Appellant




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                                      Ex. A

             ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             F'OR THE DISTRICT O~ COLORADO

     In re:

     BYRON PATTERSON McDANIEL JR.                Case No. 09-37480 KHT
     and LAURA PAIGE McDANIEL,
                                                 Chapter 13
           Debtors.


     BYRON PATTERSON McDANIEL JR.                Adversary No, 17-01274 KHT
     and LAURA PAIGE McDANIEL,

           Plaintiff,
      v.
      NAVIENT SOLUTIONS, LLC,

           Defendant.


                ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE

            THIS MATTER comes before the Court on a Motion to Dismiss Plaintiffs'
     Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
     Impertinent Matter Under Fed.R.Civ.P. 12(fi~ (the "Motion") (Docket #8) filed by
     Defendant Navient Solutions, LLC ("Navient"), the Response (Docket #10)filed by
     Debtors Byron Patterson McDaniel Jr. and Laura Paige McDaniel (together,
     "Plaintiffs" or "Debtors"), and Navient's Reply (Docket #14). The Court heard oral
     argument on March 20, 2018 and has considered the pleadings, arguments, and
     supplemental authorities submitted. For the reasons stated herein, the Court
     denies the Motion.

              JURISDICTION

            This Court has jurisdiction of this proceeding pursuant to 28 U.S.C. §§ 1334
      and 157. This is a core proceeding pursuant to 28 U.S.C, §§ 157(b)(2). Navient
      consents to entry of final orders or judgments of the Bankruptcy Court in this
      matter.




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    II.      BACKGROUND

           On December 24, 2009, Plaintiffs filed a voluntary Chapter 13 case and plan,
     using the standard form (Case No. 09-37480, Docket #2).

           In their bankruptcy schedules, Plaintiffs listed debts to "Sallie Mae,"
    described as "educational," and they also listed debts to "Great Lakes." (Case
    No. 09-37480, Docket #1). Nevertheless, Plaintiffs did not check the box in
    Section V.E. of the plan indicating they had student loans. The Chapter 13 Trustee
    objected to the plan on several grounds, including the plan "ma[de] no provision
    for debtor's non-dischargeable student loan." Case No. 09-37480, Docket #12.

           On April 1, 2010, PlaintifFs filed an amended Chapter 13 plan (the "Plan").
     This time, Plaintiffs indicated in Section V.E, of the Plan they had student loans
     and proposed to treat them "as an unsecured Class Four claim or as follows:
     deferred until end of plan." Case No. 09-37480, Docket #25. The Court confirmed
     the Plan on May 4, 2010. Case No. 09-37480, Docket #32.

           A total of nine proofs of claim were filed by Sallie Mae entities and Great
     Lakes Higher Education Corp. Case No. 09-37480, Claims Register. The Great
     Lakes claims (Proofs of Claim Nos. 6 and 7) were subsequently assigned to
     Educational Credit Management Corp. and are based upon Federal Stafford
     Loans. At least five of the Sallie Mae claims (Proofs of Claim Nos. 25 through 29)
     were filed by or on behalf of Navient.

           The Court entered an Order for Discharge of Plaintiffs on March 3, 2015,
     granting them a discharge under section 1328(a) of Title 11, United States Code
     ("Discharge Order"). Case No, 09-37480, Docket #54.

           On June 30, 2017, the Court granted Plaintiffs' motion to reopen their
     Chapter 13 case. Thereafter, Plaintiffs filed this adversary proceeding against
     Navient, requesting a declaratory judgment pursuant to 28 U.S.C. § 2201 and
     Fed.R.Bankr.P. 7001(9) that certain "Tuition Answer Loans" held by Navient are
     not excepted from discharge under 11 U.S.C. § 523(a)(8) and were, therefore,
     discharged upon entry of the Discharge Order. They also seek damages for
     alleged willful violations of the discharge injuncfiion by Navient pursuant to
     11 U.S.C. ~§ 105 and 524.

      III.   PLAINTIFFS' CLAIMS

            The Complaint contains general allegations concerning the history of
      changes to 11 U.S.C. § 523(a)(8) and Navient's alleged efforts to deceive "student
      debtors and subvert the orderly working of the bankruptcy courts ...[by] originating




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    and servicing dischargeable consumer loans and disguising them as non-
    dischargeable student loans." Complaint, ¶1. Navient seeks to strike many of
    these general allegations.

          Plaintiffs allege Section 523(a)(8)~, as originally enacted in 1978, prohibited
    discharge of federal student loans during the first five years of repayment absent
    undue hardship but "[t]hrough a series of amendments, which first lengthened and
    then eliminated the five-year non-dischargeability time frame, it has become
    increasingly difficult for debtors to attain discharges of their student loan debts."
    Complaint, ¶9. Prior to BAPCPA2, Section 523(a)(8) was "easy to apply because
    the exception to dischargeability was absolute. If a student loan was issued or
    guaranteed by the federal government, it was non-dischargeable absent a showing
    of `undue hardship.' [However,this fueled the belief that all student loans are non-
    dischargeable." Complaint, ¶13.

           In 2005, the enactment of BAPCPA afforded limited protection to some
     private educational loan products "to the extent that such [lending] supplemented
     and mirrored federal student lending: money lent to eligible students at Title IV
     accredited schools solely for tuition, room, board, and books (`Qualified Education
     Loans')." Complaint, ¶11,

           Plaintiffs allege Navient(formerly known as Sallie Mae or SLM Corporation)
     was  not satisfied with the loan origination volume and restrictions associated with
     Qualified Educational Loans. Complaint, ¶12. Therefore, Navient created new
     loan products that are in essence dischargeable consumer loans, deceiving
     student borrowers by representing to them that "the Bankruptcy Code prohibited
     discharge of any loan made to any person for any educational purpose."
     Complaint, ¶16 and ¶12.3

           The problem was made worse because Section 523(a)(8) is self-executing,
     and "thus its correct application relies on the good faith and honesty of creditors."
     Complaint, ¶14. "Importantly, the discharge order does not specifically state which
     loans, if any, are presumptively excepted from discharge. Rather, it states that the
     order does not discharge some debts, including `debts for most student loans."' Id.

    'All Sections referred to herein are to the Bankruptcy Code, 11 U.S.C. § 101, of seq.
     2 Bankruptcy Abuse and Consumer Protection Act, Pub. L. No. 109-8, § 220, 119 Stat. 23, 59
      (2005)(hereafter, "BAPCPA"),

      3 While Navient was marketing these new loan products to student borrowers, Navient was also
        attempting to securitize the new loan products for sale on the secondary market. Plaintiffs allege
        to avoid securities violations, Navient disclosed to its potential (sophisticated) investors in
        student loan asset-backed securities prospectuses that "pursuant to section 523(a)(8), only
        private loans made for qualified expenses were excepted from discharge." Complaint, ¶19.




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            Plaintiffs assert a creditor has the burden to prove its debt is encompassed
     by Section 523(a)(8) and is presumptively nondischargeable, then the burden
     shifts to the debtor to show undue hardship. Complaint, ¶15, "Absent an
     adversary proceeding, any educational debt not encompassed by section
     523(a)(8) is automatically and as a matter of law discharged upon entry of the                                     I
     discharge order. Accordingly, it is left to the creditors to determine whether their
     particular educational loan is excepted from discharge by Section 523(a)(8) and,
     where confusion exists, seek clarity from the court. The creditor's good faith and
     the threat of sanctions are the only checks on compliance with discharge
     injunctions." Id.

            In the Complaint, PlaintifFs also make specific allegations regarding the
     Tuition Answer Loans held by Navient. Plaintiffs allege the Tuition Answer
     Program is adirect-to-consumer loan product outside the confines of the financial
     aid office and in excess of the school's published "Cost of Attendance" ("COA").
     Complaint, ¶17. From 2004-2007, Plaintiffs borrowed $107,467 in six (6) Sallie
     Mae Tuition Answer Loans. Complaint, ¶20. The total balance of these Tuition
     Answer Loans is now $245,264, "despite consistent monthly payments of more
     than $2,000 for several years." Complaint, ¶21.

           Plaintiff Laura Paige McDaniel attended Lakeland College from 2004 to
     2007. Complaint, ¶22. Her COA for qualified tuifiion and related expenses for each
     year was: $5,340 in 2004, $10,650 in 2005, $6,450 in 2006, and $6,390 in 2007,
     as reflected on Tuition Statements issued by Lakeland College to Ms. McDaniel
     attached to the Complaint as Exhibit A. Complaint, ¶23. Ms. McDaniel borrowed
     the COA in the form of federal student loans, as reflected on Federal Stafford Loan
     documentation attached to the Complaint as Exhibit C. Complaint, ¶24.

             Plaintiffs borrowed an additional $107,467 through the Tuition Answer
      Loans, "made outside the financial aid office and [not] for qualified education
      expenses," Complaint, X25. Attached as Exhibit B to the Complaint are copies of
      loan applications and promissory notes for the Tuition Answer Loans. Id. The
      Tuition Answer Loans were not made solely for the COA and accordingly, were not
      "qualified education loans" as defined in Section § 523(a)(8)(B). Complaint, ¶26.4

            Debtors listed the Tuition Answer Loans on their Bankruptcy Schedule F.
      Complaint, ¶27. Debtors made payments totaling $26,782 on the Tuition Answer
      Loans during their Chapter 13 bankruptcy case. Complaint, ¶28.

      4 The Court notes, however, one of the loan documents in Exhibit B to the Complaint contains
        the following language: "this loan is a qualified education loan as described in Section 221(d)(1)
        of the Internal Revenue Code of 1986." Exhibit B to Complaint, p.14 of 40.




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           Navient was. notified of the Discharge Order. Complaint, ¶30. Instead of
    charging the Tuition Answer Loans off, Navient demanded payments in violation
    of the Discharge Order and the Bankruptcy Code. Complaint, ¶32. Plaintiffs allege
    "owing to [Navient's] tactics, [P]laintiffs have repaid $37,460 on these discharged
    debts. These payments were not made `voluntarily' but were made solely based
    on Defendant Navient's material misrepresentations regarding the legal status and
    character of the Tuition Answer Loans." Complaint, ¶33, Navient's "abusive,
    deceptive and harassing collection efforts" after entry of the Discharge Order"were
     made knowingly and willfully in violation of this Court's discharge orders and must
     be sanctioned." Complaint, ¶34.

     IV,    NAVIENT'S MOTION

           Navient requests dismissal of the Complaint for failure to state a claim under
    Fed.R.Civ.P. 12(b)(6) (~'ed.R.Bankr.P. 7012(b)). Navienfi also moves to strike
    certain allegations as immaterial and impertinent matter under Fed.R.Civ.P.12(~
    (Fed.R.Bankr.P. 7012(b)).

             Navient asserts the confirmed Plan distinguished the Tuition Answer Loans
     from Plaintiffs' other dischargeable unsecured debts in Class Four and treated
     them "as non-dischargeable." Motion, p.16; see also Motion, p.17 ("[i]nstead of
     filing an adversary proceeding to seek a discharge oftheir loans, Debtors amended
     their [Plan to expressly provide that their [Tuition Answer] Loans would not be
     discharged along with their other unsecured claims") (emphasis in original).
     Accordingly, Navient argues principles of res judicata prohibit Plaintiffs from
     reversing their earlier position taken in the Plan, in light of the finality of the Plan
     confirmation order and the Supreme Court's decision in United Sfudent Aid Funds,
     Inc. v. Espinosa, 559 U.S. 260 (2010).

            Alternatively, Navient argues dismissal is warranted because the Complaint,
     on its face, establishes the Tuition Answer Loans are excepted from discharge as
     "obligation[s] to repay funds received as an educational benefit" under Section
     523(a)(8)(A)(ii). Through the Tuition Answer Loans, Ms. McDaniel "received the
     funds that allowed [her] to attend Lakeland College. Indeed,[Plaintiffs certified to
      Navient `all of the loan proceeds .. .are to pay expenses directly related to
     attending' Lakeland College." Motion, p.19 (quoting Complaint, Exhibit B, pp.6,
     31, 38 of 40). Then, when they filed bankruptcy, Plaintiffs scheduled the debt as
     "educational" in nature. Motion, p.19. "By enabling Ms. McDaniel to enroll in and
      attend college and support her personal decision to improve her life through higher




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    education, the loans conferred `educational benefits' on her and are therefore                         ',
    excepted from discharge. in bankruptcy." Motion, p.20.

           In support, Navient cites cases holding private student loans are
    "obligation[s] to repay funds received as an educational benefit" under Section
    523(a)(8)(A)(ii). Because the "Debtors do not, and cannot, allege that they. used
    their [Tuition Answer] Loans for anything but educational purposes, nothing in
    Debtors' Complaint allows them to avoid the same result." Motion, pp,22-23,
     Navient contends the cases that hold otherwise are badly reasoned, and those
    courts misapply the principles of statutory interpretation they invoke.

            Since the Tuition Answer Loans were not discharged, Navienfi asserts there
     can be no violation of the discharge injunction. In any case, Navient argues this
     claim should be dismissed because the discharge injunction is enforceable only
     through contempt proceedings and there is no private right of action for violation
     of the discharge injunction. Since Plaintiffs' claim must be construed as a claim
     far contempt, the order under which they seek contempt must be "clear and
     specific." The Discharge Order is not "clear and specific" but rather, provides most
     student loans are not dischargeable. Motion, p.35.

            Navient also moves to strike paragraph 1 and paragraphs 9 through 19 of
     the Complaint because the allegations set forth in these twelve paragraphs
     constitute a "superfluous attack on [Navient's] character, inappropriate for a short
     and plain statement of the claim." Motion, p.37 (citations omitted). Navient
     contends the overblown and non-specific allegations in these paragraphs malign
     Navient, refer to "pervasive, systemic wrongdoing" and have no bearing on any
     issues in this case. Motion, p.38. Plaintiffs' "allegations of nonspecific fraud
     perpetrated by unnamed actors using unspecified means against unnamed victims
     are inflammatory, unnecessary, and irrelevant", and the Court should strike them
     as either a superfluous attack on character, or deficiently pleaded fraud claims. Id.

     V.      DISCUSSION

             A.     The Rule 12(b)(6) Motion to Dismiss.

            Rule 8 notice pleading "requires a short and plan statement of the claim
      showing that the pleader is entitled to relief." Fed.R.Civ.P. 8(a)(2); Fed.R.Bankr.P,
      70Q8. "[H]eightened fact pleading of specifics" is not required; rather, a party must
      assert "only enough facts to state a claim to relief that is plausible on its face .. ,
      to nudge his] claims across the line from conceivable to plausible ..." Bell Atl.
      Corp. v. Twombly, 550 U.S. 544, 570(2007).




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               Failure to state a claim is a defense that may be presented by motion.
-       Fed.R.Civ_P. '12(b)(6); F~d,R.Bankr.P. 7Q12(b). On a motion to dismiss, this Caurt
        must accept all well-pled facts in the Complaint as true and view them in the light
        most favorable fo Plaintiff. Barnes v. Harris; 783 F:3d 1185, 1191-92 (10th Cir.
        2015)(citing Sutton u. Utah State Sch. for the Deaf ~ Blind, 173 F.3d 1226, 1236
        (10t" Cir. 1999). But"the tenet that a court must accept as true all of the allegations
        contained in a complaint is inapplicable to legal conclusions." Ashcroft v. Igbal,
        556 U.S, 662, 678 (2009).

              Granting a motion to dismiss "is a harsh remedy which must be cautiously
        studied, not only to effectuate the spirit of the liberal rules of pleading but also to
        protect the interests of justice." Dias v. City and Cnty. of Denver, 567 F.3d 1169,
        1178 (10th Cir. 2009)(citing Duran v. Canis, 238 F.3d 1268, 1270 (10'" Cir. 2001)
        (quotation omitted)).

               The Court reviews Navient's Motion with the above principles in mind.
         Section 523(a)(8) provides a discharge under section 1328(b) does not discharge
         an individual debtor from any debt —

                 (8) Unless excepting such debt from discharge under this
                 paragraph would impose an undue hardship on the debtor and the
                 debtor's dependents, for

                       (A)(i) an educational benefit overpayment or loan made,
                       insured or guaranteed by a governmental unit, or made
                       under any program funded in whole or in part by a
                       governmental unit or nonprofit institution; or

                             (ii) an obligation to repay funds received as an
                             educational benefit, scholarship or stipend; or

                        (B) any other educational loan that is a qualified education
                        loan, as defined in section 221(d)(1) of the Internal Revenue
                        Code of 1986, incurred by a debtor who is an individual .. .

         11 U.S.C. § 523(a)(8).

                        1.      The Parties' Respective Burdens.

                 The parties agree Plaintiffs bear the burden of proving "undue hardship," but
         they disagree over who must bring an adversary proceeding to determine whether
         a student loan falls within the nondischargeable rubric of Section 523(a)(8) in the
         first place, as this section of the Bankruptcy Code is self-executing. This dispute




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     is academic; Plaintiffs did bring this adversary proceeding, and the Court finds it
   ......was not too late for them to do so. Compare Fed.R.Bankr.P. 4007(c)(complaints
     to determine dischargeability of a debt under Section 523(c) must be filed no later
     than 60 days after the first date set forthe meeting of creditors) with Gimbel v. U.S.                ',
      Dept of Educ. (In re Gimbel), Adv. No, 17-01048-j, 2018 WL 1229718, *4 (Bankr.                       '; j
      D.N.M. March 8, 2018)("there is no deadline expressly imposed by the Code or
      Rules for filing an adversary proceeding to determine whether a student loan debt
      should be excepted from the discharge under § 523(a)(8)").

           As to the burden of proof, it remains on the creditor to show its debt is
     excepted from discharge under Section 523. Grogan v. Garner, 498 U.S. 279, 287                        ~'~
                                                                                                           ;.
     (1991). Thus Navient, "as a creditor, must prove, by a preponderance of the
     evidence, that a debt exists and the debt is the type excepted from discharge under
     § 523(a)(8)." Hoffman v. Educ. Credit Mgmt. Corp. (In re Hoffman), 557 B.R. 177,                             ';
     184 (Bankr. D. Colo. 2016)(citations omitted).

                    2.      Principles of Res Judicata and Espinosa.

           Res judicata applies when the following three elements exist: "(1) a [final]
     judgment on the merits in an earlier action;(2) identity of parties or privies in the
     two suits; and (3) identity of the cause of action in both suits." Vl/ilkes v. Wyo. Dept
     of Emp't Div. of Labor Standards, 314 F.3d 501, 504 (10th Cir. 2002)(as amended
     Jan. 14, 2003)(quoting King v. Union Oil Co., 117 F.2d 443, 445 (10th Cir. 1997)).

             Navient's res judicafia argument suffers from a fatal flaw: the Plan does not
      say what Navient says it does. It is true the confirmed Plan is final and binds
      Plaintiffs and all of their creditors, including Navient. But the Plan did not specify
      one way or the other whether the Tuition Answer Loans were -- or were not —
      discharged; the Plan is simply not instructive on this point. Section V.E. of the Plan
      only specifies Plaintiffs' student leans -- of which they had several, including
      Federal Stafford Loans owing to Great Lakes or its assigns —were "to be treated
      as an unsecured Class Four claim or as follows: deferred until end of plan." Case
      No. 09-37480, Docket #25. The Plan is silent as to the dischargeability or non-
      dischargeability of the Tuition Answer Loans vis-a-vis Plaintiffs' other educational
      loans, or other unsecured debts. Nowhere in the Plan does it state the Tuition
      Answer Loans, or any of Plaintiffs' student loans, were nondischargeable; Navient
      relies upon a mischaracterization of the terms of the Plan.

            Nor does Plaintiffs' description of Navient's debt on their Bankruptcy
      Schedules as "educational" influence its dischargeability. "Educational" loans, or
      "student" loans, are not nondischargeable simply because they are labeled as
      such; they must meet one or more of the criteria set forth in Section 523(a)(8). "A
      construction so broad would be incompatible with the 'well known' guide that




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     exceptions to discharge 'should be confined to those plainly expressed."'
     Kawaauhau       v. Geiger, 523 U.S. 57,62(1998)(quoting Gleason v. Thaw, 236 U.S.
                (1915))......_
    ...558, 562

          In Espinosa, the Supreme Court held the lender was bound by the terms of
    the debtors' confirmed plan even though confirmation of that plan was legal error.
    United Student Aid Funds, Inc, v. Espinosa, 559 U.S. 260, 275 (2010). The
    Chapter 13 plan in Espinosa expressly provided the debtors' student loans were
    discharged for undue hardship, and the creditor had actual notice of the plan and
    did not object. Id, at 264-265.

            Navient contends Espinosa applies in the reverse and mandates the
     conclusion Plaintiffs' claims are barred on account of their confirmed Plan. But the
     true reverse of Espinosa would be a plan that expressly provided the Tuition
     Answer Loans, or any of Plaintiffs' student loans, were not dischargeable. Here,
     the Plan contains no explicit statement or determination as to the dischargeability
     of any of Plaintiffs' student loans. Navient's reliance upon Espinosa as controlling
     authorifiy over the outcome of this case is misplaced.

            Because the confirmed Plan is not a final determination on the merits, the
     Court will not dismiss PlaintifFs' Section 523(a)(8) claim on the basis of resjudicata
     or application of Espinosa.

                     3.      Section 523(a)(8)(A)(ii).

            Absent undue hardship, Section 523(a)(8)(A)(ii) excepts from discharge "an
     obligation to repay funds received as an educational benefit, scholarship or
     stipend." 11 U.S.C. 523(a)(8)(A)(ii). The crux of the dispute is whether the Tuition
     Answer Loans fall within the ambit of this subsection as a matter of law. Courts in
     other jurisdictions are divided on the issue, with some courts holding private loans
     that provide an educational benefit to the borrower fit within Section 523(a)(8)(A)(ii)
     (the view espoused by Navient), and other courts embracing a much narrower
     view, holding such educational loans are not included within this particular
     subsection (Plaintiffs' position).5 There is no controlling authority on point within
     the Tenth Circuit.

          The Court's inquiry "begins where all such inquiries must begin: with the
     language of the statute itself." Unites' States v, Ron Pair Enterprises, Jnc., 489

      5 While the parkies dispute whose side is in the majority, the recent trend is clearly in favor of
      Plaintiffs' position. In their Response, Plaintiffs indicate there are 18 cases that support Navient's
      position, and cite 18 cases that support their own position, including 8 of the last 9 cases decided
      since 2016. Since the time the parties' briefs were submitted, additional decisions have been
      rendered in other districts also supporting Plaintiffs' view of Section 523(a)(8)(A)(ii).




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     U.S. 235, 241 (1989). If the statute's language is plain, "the sole function of the
                                    . to its terms." Id. (quoting Caminefti v. United
     courts is to enforce it according
     States, 242 U.S. 470, 485(191 7)).

             "When interpreting statutory language, this court 'must look to the particular
     statutory language at issue, as well as the language and design of the statute as
     a whole."' Office of Thrift Supervision v. Overland Park Fin. Corp. (In re Overland
     Park Fin. Corp.), 236 F.3d 1246, 1252 (10th Cir. 2001) (citing True Oi! Co. v.
     Comm'r of Internal Revenue, 170 F'.3d 1294, 1299 (10th Cir.1999) (quotation
     marks and citation omitted)). Section 523(a)(8)(A)(ii) cannot be read in isolation;
     it is necessary to read Section 523(a)(8) as a whole. "The meaning — or ambiguity
     — of certain words or phrases may only become evident when placed in context."
     Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 54 (Bankr. E.D.N.Y.
     2016)(citing Brown v. Gardner, 513 U.S. 115, 118 (1994)).

            Section 523(a)(8)(A)(ii) is sandwiched in between Sections 523(a)(8)(A)(i)
     and (B). Notably absent from Section 523(a)(8)(A)(ii) is the word "loan" which is
     used in both Sections 523(a)(8)(A)(i) and 523(a)(8)(B). In Section 523(a)(8)(A)(i),
     Congress excepted from discharge "an educational benefit overpayment or loan
     made, insured, or guaranteed by a governmental unit, or made under any program
     funded in whole or in part by a governmental unit or nonprofit institution". 11 U.S.C.
     § 523(a)(8)(A)(i)(emphasis added). The disjunctive "or" in Section 523(a)(8)(A)(i)
     is significant, because it distinguishes an "educational benefit overpayment" from
     a "loan." See, e.g., Loughrin v. United States, 134 S.Ct. 2384, 2390, 189 L.Ed.2d
     411 (2014) (in reviewing the language of the federal bank fraud statute in which
     elements of the crime were separated by the word "or," the Supreme Court
     considered what "or" customarily means: "th[e] term's `ordinary use is almost
     always disjunctive, that is, fihe words it connects are to be given separate
      meanings"')(quoting United States v. Woods, 571 U.S. 31, 45 (2013)).

             The word "loan" is also used in Section 523(a)(8)(B), which excepts from
      discharge "any other educational loan that is a qualified education loan, as defined
      in section 221(d)(1) of the Internal Revenue Code of 1986, incurred by a debtor
      who is an individual". 11 U.S,C. 523(a)(8)(B).

             Navient argues the fact Congress did not use the word "loan" in Section
      523(a)(8)(A)(ii) does not matter because an "obligation to repay funds received" is
      a loan; this phrase could not possibly fail to include loans -- it is just more inclusive
      and expansive. Motion, pp.29-30. But given the specific language employed by
      Congress in Sections 523(a)(8)(A}(i) and (B) and the absence of the word "loan"
      from Section 523(a)(8)(A)(ii), the Court concludes "an obligation to repay funds
      received as an educational benefit, scholarship or stipend" does not include a loan.
      "[W]hen `Congress includes particular language in one section of a statute but
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    omits it in another' —let alone in the very next provision —this Court `presume[s]'
    that Congress intended a difference__in meaning." Loughrin v. United States, 134
    S.Ct. 2384, 2390, 189 L.Ed.2d 411 (2014)(emphasis added)(quoting Russello v.
    United States, 464 U.S. 16, 23(1983)(further citation omitted)).

          Moreover, another critical little word appearing in Section 523(a)(8)(A)(ii) is
    the word "as." "As" is a qualifier; it denotes how the funds were received. In a
    recent decision, the Bankruptcy Court for the Southern District of Texas examined
    the word "as" in Section 523(a)(8)(A)(ii};

           The use of the word "as" denotes "in the character or under the name
           of." [T]o the contrary, "for" denotes "in consideration for        in
           exchange for." [T]he Court concludes that 523(a)(8)(A)(ii) created a
           new category of nondischargeable debts specifically tailored to
           address a perceived need. That need did not include all loans that
           were in some way used by a debtor for education.

     Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R. 830, 836(Bankr. S.D,
     Tex. 2018)(quoting Black's Law Dictionary (6th ed. 1990)). This Court agrees. The
     language of the statute sets an educational benefit apart from a loan, and excepts
     from discharge a category of obligations in Section 523(a)(8)(A)(ii) that does not
     include Ioans but rather,"educational benefits]","scholarship[s]", and "stipend[s]."6

            If Navient's interpretation of Section 523(a)(8)(A)(ii) is correct — i.e.,
     obligations that confer educational benefits are excepted from discharge —there
     would be no need for a separate provision excepting from discharge benefit
     overpayments or loans made, insured, or guaranteed by governmental units, or
     under programs funded by governmental units or nonprofit institutions (Section
     523(a}(8)(A)(i)). Nor would there be any need for a separate provision excepting
     from discharge "qualified education loans" (Section 523(a)(8)(B)). Navient's
     interpretation offends a "cardinal principle" of statutory construction, that courts
     have a "duty to give effect, if possible, to every clause and word of a statute."
     Unifed Stales v. Smith, 756 F.3d 1179, 1187 (10th Cir. 2014)(quoting Duncan v.
      Walker, 533 U,S. 167, 174(2001)(internal quotation marks and brackets omitted)).


       Like the court in Campbell, it is not necessary for this Courk to decide whether the educational
       benefits, scholarships, and stipends referred to in Section 523(a)(8)(A)(ii) include only those
       made insured, or guaranteed by a governmental unit, or made under any program funded in
       whole or in part by a governmental unit or nonprofit institution; the crux of the issue here is
       whether an "educational benefit" in Section 523(a)(8)(A)(ii) encompasses a private loan such
       as the Tuition Answer Loans, See Campbell v. Citibank, N.A. (Jn re Campbe!!), 547 B,R. 49, 59
       (Bankr. E.D.N.Y, 2016)(comparing Sensient Technologies Corp, v. Baiocchi (In re Baiocchi),
       389 B.R. 828, 831-32 (Bankr. E.D. Wis. 2008) with In re Nunez, 527 B.R. 410, 415 (Bankr. D.
       Or. 2015)).
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           In Campbell,. decided in 2016,..the Bankruptcy Court for the Eastern District
    of New York denied a lender's motion to dismiss debtor's complaint to determine
    dischargeability of a private bar study loan, holding Section 523(a)(8}(A)(ii) did not
    encompass such a loan. Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49
    (Bankr. E.D.N.Y. 2016). The Campbell court reasoned that if Section
    523(a)(8)(A)(ii) applied to loans, it would "swallow" the other sections of 523(a)(8).
    In re Campbell, 547 B.R. at 55.

            Navient argues Campbell was wrongly decided; Section 523(a)(8)(A)(ii)
     does not render other provisions of Section 523 superfluous but rather, that
     subsection provides "limited overlapping coverage" consistent with Supreme Court
     precedent, In Huskylnt'1 Elec., Inc, v. Ritz, 136 S.Ct. 1581, 194 L.Ed.2d 655(2016)
     (concluding some overlap in coverage regarding the definition of "actual fraud" did
     not render Section 523(a) redundant). Reply, p.24. In other words, Section
     523(a)(8)(A)(ii) catches instances of nondischargeability that other subparts of
     523(a)(8) might miss, "reinforc[ing] the broad scope of the discharge exception for
     student loans." Motion, p.26. Unlike other subsections, Navient poinfis out that
     Section 523(a)(8)(A}(ii) requires funds to be "received," so "both a private bar-study
     loan and a judgment debt to a co-signor on a defaulted government-backed
      university loan that the co-signor paid in full would be exempt from discharge under
      523(a)(8)(A}(ii) but not § 523(a)(8)(A)(i) or (B), respectively." Motion, pp.25-26.
      The Court is not persuaded by this somewhat circular argument. If the legislature
      intended Section 523(a)(8)(A)(ii) to address potential liability to a co-signor, it could
      have done so explicitly; for example, Section 523 expressly includes separate
      categories of nondischargeable debt "incurred to pay a tax to the United States
      that would be nondischargeable pursuant to paragraph (1)" and "incurred to pay a
      tax to a governmental unit, other than the United States, that would be
      nondischargeable under paragraph (1)." 11 U.S.C. 523(a)(14),(14A).

           Accordingly, based upon the plain language of the statute, #his Court
     embraces the trending narrower view of Section 523(a)(8}(A)(ii) espoused in
     Campbell. See, e,g., Crocker v. Navient Solutions, LLC (tn re Crocker), 585 B.R.
     830 (Bankr. S.D. Tex. 2018); Nypaver v. Nypaver (In re Nypaver), 581 B.R. 431
     (Bankr. W.D. Pa. 2018); Essangui v. SLF V-2015 Trust (In re Essangui), 573 B.R.
     614 (Bankr. D. Md. 2017); Dufrane v. Navient Solutions, Inc. (In re Dufrane), 566
     B.R. 28 (Bankr. C.D. Ca. 2017); Campbell v. Citibank, N.A. (In re Campbell), 547
     B.R. 49(Bankr. E.D.N.Y. 2016).

            To the extent there is any ambiguity in Section 523(a)(8)(A)(ii), the docfirine
      of noscitur a sociis and the legislative history both support the narrower view,
      Employing the doctrine of noscitur a sociis, the Campbell court considered the
      meaning of "educational benefit" in the context of its surrounding words:

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    "scholarship" and "stipend." !n re Campbell, 547 B.R. at 55. Under this doctrine,
    "when.a statute contains_a list,_each word in that list presumptively has a `similar'
     meaning." Id, (citing Yates v. United States, 135 S.Ct. 1074, 1089, 191 L.Ed.2d
    64 (2015) (Alito, J., concurring in the judgment) (citing Gustafson v. AIloyd Co.,
     513 U.S. 561, 576(1995)). The Campbell court noted "'[s]cholarship' and `stipend'
     both refer to funds which are not generally required to be repaid by the recipient"
     and concluded "educational benefit" may be understood the same way; they are
     all forms of conditional grants, not loans. !n re Campbell, 547 B.R. at 55. This
     Court agrees. A "scholarship" is a "grant of financial aid to a student." The
     American Heritage College Dictionary, 1220 (3d ed. 1997). A "stipend" is a "fixed
     and regular payment, such as a salary." Id., at 1335. A "benefit" is a "payment
     made or an entitlement available in accordance wifih a wage agreement, an
     insurance policy, or a public assistance program." Id., at 127. These words all
     signify granting, not borrowing.?

            Navient argues noscitur a sociis was misapplied in Campbell, given the
     broader context of Section 523(a)(8). But in this Court's opinion, as discussed
     above, the broader context of Section 523(a)(8) — in which the words "loan" and
     "or" appear in its neighboring subsections — supports a narrow construction of
     Section 523(a)(8)(A)(ii). Navient's argument that a loan used for educational
     purposes confers an educational benefit on the borrower,just like scholarships and
     stipends do, strays from both the text of the statute and the context in which it was
     enacted.

           As to the context, Section 523(a)(8) was enacted to safeguard "the solvency
     of government education loan programs"for "future students". In re Campbell, 547
     B.R. at 59-60 (citing In re Pelkowski, 990 F.2d 737, 742 (3~d Cir. 1993)(quoting
     124 Cong. Rec. 1791-9 Representative Ertel) (further citations omitted)),
     Section 523(a)(8) of the Bankruptcy Reform Act of 1978 excepted from discharge
     any debt —

            to a governmental unit, or a nonprofit institution of higher education,
            for an educational loan, unless —




       Navient complains a list of three items is insufficient to employ the doctrine, citing Graham
       County Soil and Wafer Conservation Dist, v, United States ex rel. Wilson, 559 U.S. 280, 288
       (2010). But in that case, unlike here, the Supreme Court declined to employ noscitur a sociis
       to a list of three disparafe terms: "congressional," "administrative," and "Governmental
       Accounting Office." Graham County Soi! and Water Conservation Dist. v, United States ex rel.
        Wilson, 559 U.S. at 288 (finding each of the three terms "quite distinct from the other no matter
        how construed}(emphasis added).

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                                                                                                            USBC 122
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              (A) such loan first became due before five years before the date of
                  the filing of the petition; or

              (B) excepting such debt from discharge under this paragraph will
                  impose an undue hardship on the debtor and the debtor's
                  dependents;

     Bankruptcy Reform Act of 1978, Pub. L. No. 95--598 § 523(a)(8)(H.R. 8200), Nov.
     6, 1978, 92 Stat. 2549, 2591 (1978).

          The term "educational benefit" first appeared in Section 523(a)(8) in 1990,
     when the statute was amended to except from discharge any debt:

            far an educational benefit overpayment or loan made, insured, or
            guaranteed by a governmental unit, or made under any program
            funded in whole or in part by a governmental unit or nonprofit
            institution, or for an obligation to repay funds received as an
            educational benefit, scholarship or stipend .. .

     Crime Control Act of 1990, Pub, L. No. 101-647 § 3621(1), 104 Stat. 4789, 4965
     (1990). The amendment to Section 523(a}(8) by the Crime Control Act also
     extended the period of repayment in Section 523(a)(8)(A) to seven years. Id.

            The Campbell court examined the sparse legislative history and hearing
     testimony behind the 1990 amendments to Section 523(a)(8). In re Campbell, 547
     B.R. at 55. At the hearing, Bob Wortham, a United States attorney from the
     Eastern District of Texas, explained the amendments to Section 523(a)(8) added
     "to the list of non-dischargeable debts, obligations to repay educational funds
     received in the form of benefits (such as VA benefits), scholarships (such as
     medical service corps scholarships) and stipends", citing U.S. Dept of Health and
     Human Servs. v. Smith, 807 F'.2d 122 (8t" Cir. 1986) in his statemenfi. See In re
      Campbell, 547 B.R. at 55 (citing Federal Debt Collection Procedures of 1990;
     Hearing on P.L. 101-647 before the H. Subcomm. on Econ. and Commercial Law,
      H. Judiciary Committee 101St Cong. 74-75 (June 14, 1990)(Mr. Brooks' Questions
     for the Record for Mr. Wortham)).

             In Smith, the Eighth Circuit held the pre-1990 version of Section 523(a)(8)
      encompassed a federal tuition assistance grant to a medical student who had
      defaulted on its conditions. U.S. Dept of Health and Human Sews, v. Smith, 807
      F.2d 122 (8t" Cir. 1986). In reaching its decision, the Eighth Circuit was mindful of
      the "background and purpose of 523(a)(8) of the Bankruptcy Code" to correct a
      significant problem "[u]nder fihe Bankruptcy Act, [i.e.,] educational loans were

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    dischargeable resulting in millions of dollars in federally guaranteed loans
    d~#aul#ed upon annually." Smith, 8Q7 F.2d at 126{emphasis added)(quoting /n re
    Shipman, 33 B.R. 80, 82(Bankr. W.D. Mo. 1983)).

            Navient points out the sparse legislative history examined in Campbell is a
     single remark, not made by a legislator, regarding a prior version of the statute.
     Motion, p.31. However, that selfsame sparsity of legislative history regarding the
     addition of "educational benefit" to Section 523(a)(8) suggests the legislature did
     not intend to extensively expand nondischargeability to private educational loans.
     A subsequent amendment to the statute supports this conclusion. With the
     enactment of BAPCPA in 2005, subsection (B) was added to Section 523(a)(8),
     including as nondischargeable "any other educational loan that is a qualified
     education loan, as defined in section 221(d)(1) of the Internal Revenue Code of
     1986, incurred by a debtor who is an individual". Bankruptcy Abuse Prevention
     and Consumer Protection Act of 2005, Pub. L. No. 109-8, S. 256, 109th Cong.,
     § 220, 119 Stat. 23, 59 (2005). BAPCPA also separated subsection (A) into two
     subsections, (A)(i) and (A)(ii), without any changes to the text. If Section
     523(a)(8)(A)(ii) expanded the statute to include all loans that confer educational
      benefits, subsection (B) —adding "qualified education loans" under 26 U.S.C.
     § 221(d)(1) as nondischargeable —would have been wholly unnecessary.

             Even if this Court were to agree with Navient, it would be premature to
     dismiss Plaintiffs' Complainfi under Section 523(a)(8)(A)(ii); at this stage in the
     litigation, the underlying facts are not sufficiently developed. But the Court is
     persuaded by Plaintiffs' view that Section 523(a)(8)(A)(ii) does not encompass the
     Tuition Answer Loans, based upon the plain language of the statute, and in
     addition, applicable canons of statutory interpretation and the legislative history.

                    4.     Claim for Violation of the Discharge Injunction.

            The Discharge Order granted Plaintiffs a discharge under Section 1328(a).
     Section 1328(a) specifies that the bankruptcy discharge for Chapter 13 debtors is
     as to "all debts provided for by the plan or disallowed under section 502 of this title,
     except any debt — ... of the kind specified in ...(section 523(a)(8)]." 11 U.S.C.
     § 1328(a)(2)(emphasis added). Pursuant to the Bankruptcy Code, the Discharge
     Order "operates as an injunction against the commencement or continuation of an
     action, the employment of process, or an act, to collect, recover, or offset any such
     debt as a personal liability of the debtor, whether or not discharge of such debt is
     waived". 11 U.S.C. § 524(a)(2).

            Navient argues Plaintiffs' claim for violation of the discharge injunction is
      defective because there is no private right of action for such claim, and the
      Discharge Order was not specific enough to be enforced against Navient on

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      contempt grounds; the Discharge Order did not clearly identify prohibited conduct
    - as the Order"lacked such a statemen#about their [Tuition Answer]Loans". Reply,
      p.29.                                                                                                          i

            While the Tenth Circuit has not determined whether there is a private right
     of action under Section 524(a)(2), it is clear the Court's equitable powers under
     Section 105(x) extend to decide claims "to enforce and remedy violations of
     substantive provisions of the Bankruptcy Code, including in particular the
     discharge injunction in 524(a)(2)." Paul v. Iglehart (In re Paul), 534 F.3d 1303,
     1306 (10t" Cir. 2008)(citations vmitted).8 Thus,"Section 524(a)(2) operates as `an
     equitable remedy precluding the creditor, on pain of contempt, from taking any
     actions to enforce the discharged debt."' Gray v. Nussbeck (In re Gray), 586 B.R.
     347, 353(Bankr. D. Kan. 2018)(quoting Espinosa v. United Stafes Aid Funds, lnc,,
     553 F.3d 1193, 1200 (9th Cir. 2008), aff'd, 559 U.S. 260 (2010) (emphasis in
     original)).

            To be held in contempt, a court must find (1)the party violated a specific and
     definite order; (2) the party had notice of the order; and (3) the party did in fact
     violate the order. Lucre Mgmt. Grp., LLC v. Schempp Real Estate, LLC(!n re lucre
     Mgmt. Grp., LLC), 365 F, 3d 874, 875 (10th Cir. 2004). In order to prevail in a civil
     contempt proceeding, Plaintiffs' burden is high; they must prove the alleged
     violation by clear and convincing evidence. Reliance Ins. Co. v. Masf Const. Co.,
     159 F.3d 1311, 1315 (10th Cir. 1998).

            The Court concludes Plaintiffs have stated a valid claim for contempt. The
     Discharge Order and the statutory bases for its issuance and enforcement
     (Sections 1328 and 524(a)(2)) are broad and unequivocal. All debts were
     discharged, except those enumerated in Section 1328(a). There is no such thing
     as a personalized discharge order addressed to each creditor in a given
      bankruptcy case. That neither party sought to determine the dischargeability of
     the Tuition Answer Loans until now does not alter whether or not the debts were
      discharged under Section 523(a)(8) at the time the Discharge Order was entered;
     thereafter they both proceeded at their own risk. Any ambiguity in the law, or
      uncertainty as to the injunction's applicability to the Tuition Answer Loans, is
      relevant to the inquiry as to whether any contempt violation, if proven, was willful.
      Accordingly, the Court will not dismiss the claim on that basis. Whether or not the
      evidence at trial will support the claim is a matter for another day.


      8 The Court rejects the notion Plaintiff's claim would need to be dismissed on procedural grounds
      for failure to file a motion for contempt in the main bankruptcy case, as that requirement would
      elevate form over substance, See, e.g., Gray v, Nussbeck(!n re Gray), 586 B.R. 347, n.19(Bankr.
      D. Kan, 2018); Montano v. First Light Fed. Credit Union (In re Montano), 398 B.R. 47, 55-56
      (Bankr. D.N.M. 2008).
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            B.      The Rule 12(f) Motion to Strike.

          Rule 12(f~ allows a court to strike from a pleading "any redundant,
    immaterial, impertinent, or scandalous matter."               Fed.R.Civ,P. 12(fi~;
    Fed.R.Bankr.P. 7012(b). But "[s]triking a portion of a pleading is a drastic remedy;
    the federal courts generally view motions to strike with disfavor and infrequently
    grant such requests. Purze! Video GmbH v. Smoak, ~ 1 F.Supp.3d 1020, 1029
    (D. Colo. 2014)(citing 5C Arthur R. Miller &Mary Kay Kane, Federal Practice and
    Procedure § 1380(3d ed. 2011)).

            The purpose of Rule 12(fi~ "is to conserve time and resources by avoiding
     litigation of issues which will not affect the outcome of a case." Sierra Club v. Tri—
     State Generation &Transmission Assn, 173 F.R.D. 275, 285(D. Colo.1997)(citing
      United States v. SmugglerDurant Mining Corp., 823 F.Supp. 873, 875
     (D. Colo.1993)). Accordingly, courts deny motions to strike immaterial and                          '.
     impertinent matter "unless it can be shown that no evidence in support of the
     allegations] would be admissible." United States v. Shell Oil Co., 605 F.Supp.
     1064, 1085 (D. Colo. 1985)(quoting Lipsky v. Commonwealth Unifed Corp., 551
      F.2d 887, 893 (2d Cir. 1976)). "Only allegations `so unrelated to plaintiff's claims
      as to be unworthy of any consideration' should be stricken." /d. (quoting EEOC v.
      Ford Motor Co., 529 F.Supp. 643, 644 (D. Colo. 1982)). Further, °[i]rrelevant                       ~
      allegations will be stricken as scandalous only if they degrade defendants' moral
      character, contain repulsive language, or detract from the dignity of the court."
      Sierra Club, 173 F.R.D, at 285 (citing Nault's Auto. Sales v. American Honda Motor
      Co., 148 F.R.D. 25, 30(D.N.H.1993)(further citation omitted)).

             "Even where the challenged allegations fall within the categories set forth
      in the rule, a party must usually make a showing of prejudice before the court will
      grant a motion to strike," Sierra Club, 173 F.R.D. at 285. ."Inappropriately
      hyperbolic allegations, ill-conceived attempts at levity, and other similar
      manifestations of bad judgment in drafting pleadings, by themselves, fall short of
      the threshold that Rule 12(f~ contemplates." Saylavee LLC v. Hockler, 228 F.R.D.
      425, 426(D. Conn. 2005).

            It is important to keep in mind Plaintiffs' allegations are made against a
      corporate entity in a matter that will be tried to the Court. Although Plaintiffs'
      allegations in paragraphs 1 and 9 through 19 may be hyperbolic, they are not so
      unrelated to Plaintiffs' claims as to be unworthy of any consideration. To the
      contrary, the allegations are relevant to Plaintiffs' claim for violation of the
      discharge injunction. The Caurk, therefore, denies Navient's motion to strike the
      allegations.



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    Adversary No. 17-01274 KHT


     VI,   CONCLUSION

             For the reasons stated herein, the Court DENIES the Motion to Dismiss
     PlaintifFs` Claims Under Fed.R.Civ.P. 12(b}(6) and Motion to Strike Immaterial and
     Impertinent Matter Under Fed.R.Civ.P. 12(fl filed by Defendant Navient Solutions,
     LLC.

     Dated: September 24, 2018.
                                               BY THE COURT:



                                               Kimberley H. Tyson
                                               United States Bankruptcy Judge




                                              18



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                                      Ex.B

          JOINT CERTIFICATION FOR DIRECT,INTERLOCUTORY APPEAL




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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

  In re:                                        )
                                                        Case No, 09-37480(KHT)
  BYRON PATTERSON MCDANIEL JR, )
  AND LAURA PAIGE MCDANIEL     )                        Chapter 13

           Debtors.                             )


   BYRON PATTERSON MCDANIEL JR. )
   AND LAURA PAIGE MCDANIEL,    }
                                                        Adversary Proceeding No. 17-01274-KHT
           Plaintiffs,                          )
   v.                                           )

   NAVIENT SOLUTIONS,LLC,                       )

            Defendant,                           )



                 CERTIFICATION TO COURT OF APPEALS BY ALL PARTIES


            A notice of appeal having been filed in. the above-captioned matter on October 9, 2018,

   Plaintiffs Byron Patterson McDaniel Jr. and Laura Paige McDaniel, and Defendant Navient

   Solutions,LLC("NSL," and with Plaintiffs, the "Parties"), who are all of the parties in this case

   acting jointly, hereby certify to the court under 28 U.S.C. § 158(d)(2)(A) and Fed. R. Bankr. P,

   8006(c)that a circumstance specified in 28 U.S.C. § 158(d)(2) exists as stated below.

            Leave to appeal in this matter;

            D       is required under 28 U,S.C. § 158(a)

             ❑      is not required under 28 U.S,C. § l S8(a)

             This certification arises in an appeal from this Court's Order on Motion to Dismiss and

   Motion to Strike (the "Order"), dated September 24, 2018 (Dlct. No. 30), which is an




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  interlocutory order or decree. Accordingly, the Parties hereby request leave to appeal as required

  by 28 U,S.C. § 158(a).

         _ In accordance with 28 U.S,C. § 158(d)(2)(A)(i)-(iiJ, the Parties hereby certify that:

                 i,      the judgment, order or decree involves a question of
                         law as to which there is no controlling decision of
                         the court of appeals for the circuit or of the Supreme
                         Court of the United States, or involves a matter of
                         public importance;

                  ii.    the judgment, order ox decree involves a question of
                         law requiring resolution of conflicting decisions;
                         and

                  iii.     an immediate appeal from the judgment, order or
                           decree may materially advance the progress of the
                           case or proceeding in which the appeal is taken.




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           Dated this 9th day of October, 2018,

                                                  SHERMAN &HOWARD L.L.C.


                                                  /s/Eric E. Johnson
                                                  Eric E. Johnson
                                                  Carla R. Martin
                                                  633 Seventeenth Street, Suite 3000
                                                  Denver, Colorado 80202
                                                  Tel:(303)297-2900
                                                  E-Mail: ejohnson@shermanhoward,com
                                                           cmartin@shermanhoward.com

                                                  Counselfor Navient Solutions, LLC



                                                  —and—


                                                  /s/Austin Smith
                                                  Austin Smith
                                                  SMITH LAW GROUP
                                                  3 Mitchell Place
                                                  New York, New York 10017
                                                  Tel: (917)992-2121
                                                  E-mail: austin@acsmithlawgroup.com

                                                  Counselfor Plaintiffs Byron Patterson
                                                  McDaniel Jr, and Laura Paige McDaniel




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                                   CERTIFICATE OF SERVICE


          The undersigned hereby certifies the fol~o~vving parties received a true anc~ earreet copy a#
  the foregoing CERTIFICATION TO COURT OF APPEALS BY ALL PARTYES via a
  Notice of Electronic Filing transmitted by CM/ECF in accordance with Local Bankruptcy Rule
  5005-4(a) on the 9th day of October, 2018;

   Austin Smith
   austin@acsmithlawgroup.com




                                                 /s/Roberta Nettl




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                                      Ex.C

        FIFTH CIRCUIT ORDER GRANTING MOTION FOR LEAVE TO APPEAL,
                     NA VIENTSOLUTIONS.LLC V. CROCKER




                                        ~►
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                         United States Court ofAppeals
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     I,YLC W.CAYG~                                                         TCL,504-310-7700
     CLCRK                                                              G00 S. MA~ST'RI PLACE
                                                                       1Y~W ORLEANS,LA 70130



                                  April 25, 2018

     MEMORANDUM TO COUNSEL OR P1~RTTES LISTED BELOW:

          No. 18-90016      Navient    Solutions,           L.L.C.,    et    al    v.    Evan
     Crocker, et al
                            No. 16-3175


     Enclosed is an order entered i.n this case.


                                        Sincerely,

                                        LYLE W. CAYCE, Clerk
                                            t

                                                ~ ~,~~~
                                        By:
                                               c~ ~
                                        Ange ique B. Tar ie, Deputy Clerk
                                        504-310-7715

     Mr.   Jason W. Burge
     Mr.   George F. Carpinello
     Mr.   Thomas Miles Farrell
     Mr.   Dion W. Hayes
     Mr.   Kyle Hosmer
     Ms.   Karen Elizabeth Sieg
     Ms.   Lynn Elizabeth Swanson
     Ms.   Susan Tran




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               IN THE UNITED STATES COURT OF APPEALS
                        F4R THE FIFTH CTRC~C.TIT


                                      No. 18-90016


     1n re: Evan Brian Crocker, also known as Crocker Legal, P.L.L.C.

                 Debtor

     NAVIENT SOLUTIONS,L,L.C.; NAVIENT CREDIT FINANCE
     CORPORATION,

                 Petitioners

     v.

     EVAN BRIAN CROCKER, also known as Crocker Legal, P.L.L.C., formerly
     known as Evan Brian Haas; MICHAEL SHAHBAZI,formerly known as
     Montana Shahbazi; WENDY L. LANDES; RAEGENA SETTZ-MOULDS,

                 Respondents



                                 Motion for Leave to Appeal
                               Pursuant to 28 U.S.C. § 158(d)


     Before DAMS, CLEMENT, and OWEN, Circuit Judges.

     PER CURIAM:

            IT IS ORDERED that i;he unopposed motion for leave to appeal under
     28 U.S.C. § 158(d) is GRANTED.




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                                      Ex.D

       TRANSCRIPT FROM HEARING ON MOTION FOR SUMMARY JUDGMENT,
                    CROCKER V. NA T~IENT SOLUTIONS.LLC`




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                                 UNTIED STATES BANiCRUPTC'Y COURT
                                   SOUTHEIt~ DISTRICT OF TEl{AS




             EVAN BRIAN I~AAS,                         CASE NO: 16-03175
                                                       AllVERSARY
                               Pl.aintiff,
                                                       ~Touston, Texas
                   mss.
                                                       Monday, Mach 5, 2018
             NA'VIEAIT, INC, ET AL,
                                                       (3:28 p.m, to 4:20 p.m.)
                               Defendants.


                                   MOTION E'OR SUMMARY JUDGMENT

                              BEFOk2E THE HOI~TORABLE DAVID R. JONES,
                                  UI~TITED STATES BANIZRUPTCY JUDGE




              Appearances:                   See page 2

              Court Reporter:                Recorded; FTR

              Transcribed by:                Exceptional Reporting Services, Inc.
                                             P.O. Box 18666
                                             Corpus Christi, TX 78480-8668
                                             361 949-2986




              Proceedings recorded by electronic sound recording;
              transcript produced by tzanscription service.
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                               EXCEPTIOATIIL REPORTTY~TG SERVICES, INC




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         1              Houston, Texas; Monday, March 5, 201.8; 3:28 p.m.
                           _
         2                                  (Call to orc~er~

         3          (Heari.ng already in progress)

         4                THE COURT:       -- 3175, Haas versus Navient.

         5                MR. F1IRRELT~:    Judge, our adversaries were not right

          6    out there in the hall.       You want to go see if T can ~incl them?

          7               THE COURT:       Yes, I greatly appreciate that.

          8    Hopefully they won't be far.

          9         (Pause trom 3;28 p.m, to 3;29 p.m.)

         1.0              MR. F1~RRELL:      Xour Honor, they are not out there.

         1~.   They -- I saw them get in the elevator when we took. the last

         12    break but I don't know which direction they went.

         1.3               THE COURT:      Got it, thank you.   Beat laid plans, Y


         14    suppose.

         15                MR. FARRELL:      But I'm sure they'11 be ra.ght here.

         16                THE COURT:      oh, they went to the library?       All right,


         1.7   okay, got it.    Hopefully it won't be long.

         18         {pause from 3:29 p.m. to 3:30 p.m.}

         19                MR. SPEAKER:      Thank you, your Honor.

         20                THE COURT:      Certainly.   All right, --


         21                MR. SPEAKER:      Sorry, your Honor (inda.sc.)

         22                TTiE COURT:     I -- it -- you~re not late, it's exactly

          23    3:30.   So called the case.      If you~d just go ahead and mace

          24    your appearances, please.       Mr. Farrell, we'11 start with you.

          25               //
                                EXCEPTIONAL REPORTING SERVICES, INC



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         1                 MR. BURGS:    -- kicked the can who Jcnows how far down

         2 I the road.

         3                 THE COURT:     Right.   Here's my 'view o~ the most

         4    efficient way.      I've thought a lot about this if you ha~ren't

         5    figured that out.       I may be wrong about so many things but I~ve

         6    thought about it a lot, is that if a party was going to appeal

          7   the issue regarding the statutory interpretation question, it

          8   would seem to me that I can immediately certify ghat for direct

          9   appeal to the Fifth Circuit; because Z agree quite honestly not

         10   only in this case but this interpretation question comes up a

         11   1.ot.   And it would be nice to have something nice, succinct, on

         12   the point, not driven by something else, but only ors this

         13   issue.      And so my thought would be is that if I Certified it

         14   for a direct appeal, is that I would shay everything sufficient

         15   to allow the losing party to go to the Fifth Circuit and. seek a

         16   stay.    Obviously if the circuit stayed it, then the answer is -

         17   - T mean., there isn't going to be a.ny decision by me that would

         18   change that.       I~ the circuit refused the direct appeal, wha,ch

         19   i~ Certainly has the right to do, the T think that that would

         20   dictate a different set of results,            Z also think that a


         21   decision to deny motion to stay by the ClY'CUl~ would send a

         22   message not to me as to the mera.ts of what they thought but as

         23   to what they expected to occur in the 7.itigation.              So that's


         24    actually my thought.        Because T agree with you, I don't wand ~o

         25    go through a long, drawn out, complicated cer~ifiCation heax9.ng
                                 EXCEPTIONAL REPORTING SERVICES, ThTC



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         1.    if I turn out to be wrong on this issue.        Or I don't want the

         2     certification to fall apart because I god it wrong from the

         3     Plaintiffs' point of view.        Z just -- to me, i~ just made

         4     sense.   Any -- either one of you have a reaction to that?

         S                MR. FARRELL:      That was our thought when we filed the

         6     motion, Judge.    And, you know, we didn't put explicitly in

         7     papers that was the plan, but I came here today planning to

         8     tell you --

         g                THE COURT:     Sure.

        10                MT2. FARR~T,L:     -- exactly what Z told yqu.       So we

        1.1    think that makes sense.

        12                THE COURT:       nll right.   So what --- you agree?

        1.3               MR. BURGS:       And, I mean, my only concern. a.s that T

        14     think that, you know, deferring time does harm to this class.

        15     But I -- you know, I think --

         16               THE COURT:       How So?                       -

         17               NlIZ. SURGE:     Well, only because our class members,

         18    these debts, the ones that are at issue in this case, a.t is

         1.9   true that they are no longer getting discharge violations --

         20               THE COURT:       Right.

         2~               MR. B'(7RGE:     -- from what the reports we're hearing.

         22    But these debts are still on their credit reports, they~re

         23    still impacting their access to Credit.         Tt's still causing

         24    problems for them as they move forward because these debts have

         25    not formally been recognized as discharged by Navient.             T agree
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                                          CERTIFICATION




                                                                  from the
             I certify that the foregoing is a correct transcript

             electronic sound recording of the proceedings in the above-

             entz.tled matter.




                         ~-„.
                                                                    March 8, 2018


                          Signed                                       Dated




                                     TON2 I3UDSON, TRANSCRIBER




                                EXCEPTIONAL REPORTING SERV'TCES, TNC




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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                             )
                                    )                 Case No. 09-37480-KHT
 BYRON PATTERSON McDANIEL JR.       )
 AND LAURA PAIGE McDANIEL           )                 Chapter 13
                                    )
       Debtors.                     )
 __________________________________ )
                                    )
 BYRON PATTERSON McDANIEL JR.       )
 AND LAURA PAIGE McDANIEL,          )
                                    )                 Adversary Proceeding No. 17-01274-KHT
       Plaintiffs,                  )
 v.                                 )
                                    )
 NAVIENT SOLUTIONS, LLC,            )
                                    )
       Defendant.                   )
 _____________________________________________________________________________
    DEFENDANT NAVIENT SOLUTIONS, LLC’S UNOPPOSED MOTION TO STAY
        ADVERSARY PROCEEDING PENDING INTERLOCUTORY APPEAL
 _____________________________________________________________________________

          Defendant Navient Solutions, LLC (“NSL”), pursuant to 11 U.S.C. § 105 and Federal Rule

 of Bankruptcy Procedure 8007(a)(1) and (e), respectfully requests that the Court stay this

 adversary proceeding in its entirety, including the deadline to answer or otherwise respond to the

 complaint, pending resolution of NSL’s appeal of this Court’s Order on Motion to Dismiss and

 Motion to Strike, entered on September 24, 2018, Dkt. No. 30 (the “Order”). In support, NSL

 states as follows:

                               CERTIFICATION OF NON-OPPOSITION

          NSL is authorized to certify to the Court that Plaintiffs do not oppose the stay pending

 appeal requested in this motion, in the interest of efficiency and economy. Plaintiffs oppose NSL’s

 substantive position in the appeal.




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                                           BACKGROUND

          Plaintiffs filed a joint chapter 13 bankruptcy proceeding in this Court on December 24,

 2009. (Case No. 09–37480, Dkt. No. 1.) On July 12, 2017, Plaintiffs filed this Adversary

 Proceeding against NSL. (Dkt. No. 1.) In relevant part, they allege that certain loans they obtained

 for Laura Paige McDaniel to attend Lakeland College were discharged in their chapter 13

 bankruptcy case. (See id. ¶¶ 20–34, 36.) Plaintiffs further allege that subsequent acts by NSL to

 collect on the loans violated their discharge injunction. (See id. ¶¶ 38–41.)

          NSL moved to dismiss Plaintiffs’ complaint on October 10, 2017. (Id., Dkt. No. 8.) NSL

 asserted two primary arguments supporting the Court’s dismissal of Plaintiffs’ lawsuit. First, that

 res judicata (arising from their amended chapter 13 plan and the order confirming it) bars their

 claims. (Id. at 12–20.) And second, that Plaintiffs’ loans are excepted from discharge as

 “obligation[s] to repay funds received as an educational benefit” under § 523(a)(8)(A)(ii) of the

 Bankruptcy Code. (Id. at 19–32.)

          Through the Order, the Court denied NSL’s motion on September 24, 2018. NSL is filing

 contemporaneously herewith a Certification to Court of Appeals by All Parties and Unopposed

 Petition for Direct, Interlocutory Appeal (“Petition for Direct Appeal”). In the Petition for Direct

 Appeal, a copy of which is attached as Exhibit A hereto, NSL seeks leave from the Tenth Circuit,

 on an unopposed basis, to present the following questions on direct, interlocutory appeal:

          1.     Did the bankruptcy court err in denying NSL’s motion to dismiss on res
                 judicata grounds?

          2.     Did Congress except student loans from discharge in bankruptcy as an
                 “obligation to repay funds received as an educational benefit” under
                 § 523(a)(8)(A)(ii) of the Bankruptcy Code?




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          For the reasons that follow, NSL now asks that the Court stay this matter pending the

 outcome of NSL’s petition for direct, interlocutory appeal to the Tenth Circuit.1

                                              LEGAL STANDARDS

          Under Bankruptcy Rule 8007, a party may move in the bankruptcy court for “the

 suspension … of proceedings in a case or other relief permitted by subdivision (e).” Fed. R. Bankr.

 P. 8007(a)(1)(D). In turn, 8007 (e) provides that a bankruptcy court may suspend proceedings in

 the case or issue other appropriate orders during the pendency of an appeal. Fed. R. Bankr. P.

 8007(e).

          In determining whether to grant a stay pending appeal, courts consider whether the

 applicant has made a strong showing of likelihood of success on the merits, whether the applicant

 will be irreparably harmed absent a stay, whether the stay will substantially injure the other parties

 and where the public interest lies. Lang v. Lang (In re Lang), 414 F.3d 1191, 1201 (10th Cir.

 2005) (citing Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). Although the moving party has the

 burden on each of the elements, where the moving party establishes that the three “harm” factors

 favor a stay, the probability of success requirement is relaxed. F.T.C. v. Mainstream Marketing

 Servs., 345 F.3d 850, 852 (10th Cir. 2003).

 II.      THE COURT SHOULD STAY THE MATTER PENDING THE APPEAL

          The Court should grant this unopposed motion and stay the adversary proceeding in its

 entirety pending NSL’s appeal because all four stay considerations are met here. See In re Lang,

 414 F.3d at 1201. Because a sufficient showing on the last three factors regarding the relative




 1
   As a protective alternative measure, NSL is also filing contemporaneously herewith an unopposed motion for leave
 to appeal the Order to the Tenth Circuit Bankruptcy Appellate Panel, pending the Tenth Circuit’s resolution of the
 Petition for Direct Appeal.

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 harms relaxes the first consideration of success on the merits, F.T.C., 345 F.3d at 852, NSL first

 addresses the harm factors.

          Without a stay, both sides will be harmed by having to expend time and money on litigation

 that may be mooted by the interlocutory appeal. Either of the issues that are the subject of the

 interlocutory appeal, if resolved in NSL’s favor, would be dispositive of this matter. Accordingly,

 both sides will save the time and expense of litigation that may prove to have been unnecessary if

 NSL prevails in the appeal.

          Plaintiffs also agree that a stay will best conserve the parties’ time and expense of litigation

 and have stipulated to the direct, interlocutory appeal of these important issues. Thus, the stay will

 not substantially injure Plaintiffs.

          The public interest in judicial efficiency and conservation of judicial resources also favors

 staying this matter pending the appeal. A stay will avoid the Court expending judicial resources

 on pre-trial matters, dispositive motions, and trial.

          At least one other court, when faced with this same situation, stayed the adversary

 proceeding pending a direct, interlocutory appeal on the precise issue under § 523(a)(8) that is

 presented in NSL’s appeal of this Court’s Order.2 See Crocker v. Navient Solutions, LLC, Adv.

 Pro. No. 16-03175 (DRJ) (Dkt. No. 220) at 1 (Bankr. S.D. Tex. April 6, 2018) (copy attached as

 Exhibit A to the Petition for Direct Appeal, Exhibit A hereto). The Crocker court reasoned that it

 did not “want to go through a long, drawn out, complicated … hearing if [it] turn[ed] out to be

 wrong on” the potentially dispositive legal questions. Id. at 12:24-13:1.

          The three “harm” factors thus weigh in favor of a stay. Accordingly, the requirement for

 showing a probability of success on the merits is relaxed. F.T.C., 345 F.3d 850, 852. Though the


          2
           The Fifth Circuit accepted the direct, interlocutory appeal and the matter has been fully briefed and is
 awaiting potential oral argument before that Court.

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 Tenth Circuit has not spoken on the issues that are the subject of NSL’s interlocutory appeal, this

 Court has noted that numerous other courts in the country have already decided that student loans

 are excepted from discharge as “obligations to repay funds received as educational benefits” under

 § 523(a)(8)(A)(ii) of the Bankruptcy Code. (See Order at 9 n. 5.). Accordingly, NSL has a

 sufficient probability of success on the merits of its appeal to warrant a stay.

                                             CONCLUSION

          For the reasons described, and with the consent of Plaintiffs, NSL respectfully requests that

 the Court enter an order staying this matter in its entirety pending NSL’s appeal of the Order. A

 form of proposed order is submitted herewith.

          Dated this 9th day of October, 2018.

                                                 SHERMAN & HOWARD L.L.C.


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                                                 Counsel for Navient Solutions, LLC




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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies the following parties received a true and correct copy of
 the foregoing DEFENDANT NAVIENT SOLUTIONS, LLC’S UNOPPOSED MOTION TO
 STAY ADVERSARY PROCEEDING PENDING INTERLOCUTORY APPEAL via a
 Notice of Electronic Filing transmitted by CM/ECF in accordance with Local Bankruptcy Rule
 5005-4(a) on the 9th day of October, 2018:

  Austin Smith
  austin@acsmithlawgroup.com




                                              /s/ Roberta Neal




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                              ,~'or t~je ~Gent~j Circuit


            In r~e Byron Patterson McDaniel Jr. and Laura Paige McDaniel,

                                              Debtors.


              Byron Patterson McDaniel Jr. and Laura Paige McDaniel,

                                              Appellees-Plaintiffs,

                                         v.

                               Navient Solutions, LLC,

                                              Appellant-Defendant.


            ON APPEAL FROM THE UNITED STATES BANKRUPTCY
                 COURT FOR THE DISTRICT OF COLORADO


     UNOPPOSED PETITION FOR DIRECT,INTERLOCUTORY APPEAL


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   Telephone: 303.297.2900

    Counselfor Appellant-Defendant




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                         CORPORATE DISCLOSURE STATEMENT

          Pursuant to Federal Rules of Appellate Procedure 26.1, Appellant Navient
   Solutions, LLC discloses that the following entity -owns 1Q°fo ar more of its equity
   interests:

         Navient Corporation

                                               /s/Epic E. Johnson
                                               Counselfor Appellant-Defendant




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                         DISCLOSURE OF OPPONENTS'POSITION

          Pursuant to Local Rule 27.1, the undersigned counsel of record certifies that
   he has contacted counsel for the Appellees=P~a Miffs wha indicated thatAppei~ee~-
   Plaintiffs do not oppose the Tenth Circuit accepting this direct, interlocutory appeal
   (without prejudice to or waiver of their rights or arguments on the merits).

                                                   /s/Eric E. Johnson
                                                   CounselfoNAppellants-Defendants




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                                SUMMARY OF ARGUMENT

          This appeal presents two important questions about the discharge order

   entered at the conclusion of a bankruptcy case. First, must a Chapter 13 plan or the

   order confirming it contain an express finding on the dischargeability of student

    loans to operate as res judicata? And second, are private student loans excepted from

    discharge as "obligations to repay funds received as educational benefits" under

    § 523(a)(8)(A)(ii) ofthe Bankruptcy Code?

          Appellant-Defendant Navient Solutions, LLC ("Navient") raised these issues

    in a motion to dismiss the adversary proceeding below. The bankruptcy court denied

    Navient's motion, concluding(1)that Plaintiffs' Chapter 13 plan did not contain an

    "explicit statement or determination as to the dischargeability of any of Plaintiffs'

    student loans[,]" so was not a final determination on the merits of that question, and

    (2) that private student loans are not excepted from discharge under

    § 523(a)(8)(A)(ii). See Ex. A at 8-15.

           Navient seeks permission to appeal the bankruptcy court's order, attached as

    Exhibit A. This Court has jurisdiction and discretion to accept the appeal under 28

    U.S.C. § 158 and the Federal Rules ofBankruptcy Procedure(as incorporated by the

    Federal Rules of Appellate Procedure). 28 U.S.C. § 158(a)(3), (d)(2)(A)(i), (iii);

     Fed. R. App.P. 5(a)(2), 6(c); Fed. R.Bankr.P. 8004(a),(e), 8006(e),(g). The parties




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   agree about the need for this Court's guidance, and therefore jointly certified the

   matter for direct, interlocutory appeal pursuant to 28 U.S.C. § 158(d)(2)(A). Ex. B.

          This Court should accept the appeal. First, this Court has not spoken to the

   precise issue of whether the treatment of student loans in a confirmed Chapter 13

    plan operates as res judicata as to the dischargeability of such loans—or whether an

    express finding as to dischargeability is required. It should do so now, particularly

    given that a question exists as to whether the Supreme Court's decision in United

    Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260(2010), controls the case. In that

    case, the Supreme Court held that a plan's treatment of student loans does operate

    as res judicata, but the bankruptcy court held that Espinosa is inapplicable here

    because it purportedly requires a level of"express finding" that the plan in this case

    lacks (and Plaintiffs claim that Espinosa is limited to federal loans).

          Second, neither the Supreme Court nor this Court has considered whether

    private student loans are excepted from discharge under § 523(a)(8)(A)(ii) of the

    Bankruptcy Code. Other courts are split on the question. The majority, including

    the Second Circuit (in an unpublished decision) and the Western District of

    Michigan (in an appellate capacity),find that private student loans aye excepted from

    discharge under § 523(a)(8)(A)(ii). The minority, including the bankruptcy court

    below, the Bankruptcy Appellate Panel for the Ninth Circuit, and the Bankruptcy




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   Court for the Eastern District of New York, do not. Binding guidance from this

   Court is thus needed.

          Finally, direct, immediate review by this Court will materially advance the

   case. This petition presents gating questions that this Court has not previously

   considered. Judicial economy favors early appellate guidance, which will save the

   bankruptcy court and the parties the considerable resources that discovery,

   subsequent dispositive motions, and (possibly) trial will consume. In addition, the

   public interest also favors direct, interlocutory review by this Court. Navient's

    petition presents questions that arise with relative frequency in bankruptcy cases.

    Early, authoritative guidance from this Court would thus benefit more than just the

    parties here; it would benefit the public at large.

    I.     BACKGROUND NECESSARY TO UNDERSTAND THE QUESTIONS PRESENTED1

           A.    Appellees-Plaintiffs contend that they discharged their obligations
                 to repay their private student loans in bankruptcy.

           All facts necessary to resolve the questions presented are undisputed.

    Between 2004 and July 2007, Plaintiffs borrowed over $100,000 in six Sallie Mae

    Tuition Answer Loans (the "Educational Loans") for Laura Paige McDaniel to

    attend Lakeland College. Adversary Proceeding No. 17-1274, Dkt. No. 1 ¶¶ 20, 22,



           1 Because this appeal proceeds from the denial of Navient's motion to
    dismiss, the following facts are taken from Plaintiffs' complaint, Plaintiff s
    bankruptcy schedules, and documents of which the Court can take judicial notice.
    See, e.g., Ashcroft v. Iqbal, 556 U.S. 662,678(2009).
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   25. 26 (Bankr. D. Colo. July 12, 2017)(the "AP"). Navient is the current servicer

   for Plaintiffs' Educational Loans.

          In their promissory notes, Plaintiffs certified that "all ofthe loan proceeds are

   to pay expenses directly related to attending" Lakeland College. AP,Dkt. No. 1, Ex.

   B at 6, 31, 38. Plaintiffs also certified that they "must immediately repay any funds

    that [they] receive which cannot reasonably be attributed to meeting ...educational

    expenses related to attendance at" Lakeland College. Id. at 6, 14, 31, 38.

          Plaintiffs further agreed that any undisbursed funds obtained through the

    Educational Loans could be canceled if Ms. McDaniel "ceas(ed] to be enrolled at"

    Lakeland College." Id. at 5, 31, 37. And in at least one promissory note Plaintiffs

    certified that the relevant Educational Loan "is a qualified education loan as

    described in Section 221(d)(1) of the Internal Revenue Code of 1986 ... and .. .

    therefore is not dischargeable in bankrcuptcy[.]" Id. at 14.

          In December 2009,Plaintiffs filed a voluntary Chapter 13 bankruptcy petition

    in the U.S. Bankruptcy Court for the District of Colorado. Id. at ¶ 27. Plaintiffs

    listed eleven Navient loans in their bankruptcy schedules. Case No.09-37480, Dkt.

    No. 1 at 31-33 (Bankr. D. Colo. Dec. 24, 2009)(the `Bankruptcy Case). In their

    schedules—which they signed under penalty of perjury— Plaintiffs labeled all of

    the Navient loans as "Educational." Id. Plaintiffs scheduled their obligations under

     all of their Educational Loans as non-contingent, liquidated, and undisputed. Id.


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         With their petition, Plaintiffs also filed their original Chapter 13 plan (the

   "Original Plan").             Case, Dkt. No.2 at 7. In their Original Plan, Plaintiffs

   indicated they had "no student loans," despite listing eleven "Educational" loans in

   Schedule F. Id. Compare Bankruptcy Case, Dkt. No. 1 at 31-33.

         In January 2010,the Chapter 13 Trustee objected to confirmation ofPlaintiffs'

   Original Plan because, among other things, it made "no provision for debtor's [sic]

   non-dischargeable student loan [sic]. 1322(b)(10) [sic]." Bankruptcy Case, Dkt.

   No. 12. Two months later, following a hearing, the bankruptcy court sustained the

   Chapter 13 Trustee's objection, denied confirmation of the Original Plan, and

   ordered Plaintiffs to file a new plan. Bankruptcy Case, Dkt. No. 18.

          As the Court required, Plaintiffs filed their Amended Plan on April 1, 2010.

    Bankruptcy Case,Dkt. No. 25. Rather than omitting their Educational Loans as they

    did in their Original Plan, in the Amended Plan Plaintiffs indicated that they had

   "Student Loans." Id. at 6. Further, Plaintiffs expressly stated that their "student

    loans" would not be treated as "an unsecured Class Four claim," id., thereby

    distinguishing their Educational Loans from their other dischargeable "Class Four"

    unsecured claims.

          Next, far from seeking to discharge their Educational Loans,Plaintiffs drafted

    into their plan unique language providing that the Educational Loans would be

    "deferred until end of plan." Id. Nothing in the Amended Plan indicated that


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   Plaintiffs sought to discharge any portion ofthe Educational Loans. To the contrary,

   Plaintiffs expressly distinguished their_ Educational Loans from their other

   dischargeable Class Four unsecured claims.

          The Amended Plan also provided that Debtors would make collective

   payments to all unsecured creditors, including Navient, totaling $40,134.10 during

   the five-year plan period. Id. at 6. Thus,the Amended Plan provided that all student-

   loan creditors would receive their pNo rata share of plan payments as unsecured

    creditors during the plan payment period, deferring all other amounts to be paid

    under the terms of the respective non-discharged loans until the "end of plan," at

    which time those loans would be paid in full according to their terms. Id. at 6, ~

    IV.D.2.a.

          The same day that they filed it, April 1, 2010, Plaintiffs served on Navient a

    copy of the Amended Plan. Bankruptcy Case, Dkt. No: 26. On May 4, 2010, the

    bankruptcy court entered its order confirming the Amended Plan (the "Confirmation

    Order"). Bankruptcy Case, Dkt. No. 32. Plaintiffs allege they paid Navient $26,782

    as its share of the $40,134.10 total paid to unsecured creditors during the five-year

    payment period under the Amended Plan. AP. Dkt. No. 1 ¶ 28.

          Five years after confirmation, Plaintiffs certified to the Court that they

    completed all plan payments and requested a discharge. Bankruptcy Case, Dkt. No.

    53. The bankruptcy court issued its general discharge order(the "Discharge Order")


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   on March 3, 2015. Bankruptcy Case, Dkt. No. 54. The Discharge Order states that

   among the "[d]ebts that are not [d]ischarged" are "[d]ebts for most student loans."

   Id. at 2.

          For two years following their discharge from their other unsecured claims,

    Plaintiffs allege they continued to make monthly payments to Navient on their

    Educational Loans, totaling $37,460. AP,Dkt. No. 1 ¶ 33. But in June 2017, more

    than two years after the discharge of their other claims, more than seven years after

    they confirmed their Amended Plan, and nearly eight years after they filed for

    bankruptcy listing eleven "Educational" loans as undisputed debts—all the while

    remaining silent about any intent to seek to discharge their Educational Loans—

    Plaintiffs sued Navient, contending that their Educational Loans are dischargeable

    and were discharged by the general Discharge Order. Id. ¶~ 35-41.

    II.   LEGAL BACKGROUND NECESSARY FOR THE QUESTIONS PRESENTED

           A.    Res judicata and Supreme Court precedent bar Plaintiffs' claims.

          "Claim preclusion [res judicata] applies when three elements exist:(1)a final

    judgment on the merits in an earlier action;(2) identity of parties or privies in the

    two suits; and (3) identity of the cause of action in both suits." MACTEC Inc. v.

    Gorelick, 427 F.3d 821, 831 (10th Cir. 2005). If a party demonstrates these

    elements, "res judicata is appropriate unless the party seeking to avoid preclusion

    did not have a `full and fair opportunity' to litigate the claim in the prior suit." Id.



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          The Supreme Court considered these principles in the Chapter 13 bankruptcy

            in Espinosa. There,....a debtor filed a Chapter 13 plan that proposed to

   (impermissibly) discharge a portion of his student loan debt. 559 U.S. at 268-69.

   Although the debtor did not initiate the required adversary proceeding to obtain a

   dischargeability determination, the court confirmed his plan.             Id.    Before

    confirmation, the lender didn't object to the proposed discharge of part of the

    debtor's student loan. Id. at 265.

          Years later, the lender sought to collect on its student loan. The debtor resisted

    on the basis of his confirmed plan. The lender sought to set aside the confirmation

    order as void under Federal Rule of Civil Procedure 60(b)(4) because, the creditor

    argued, the order violated the Bankruptcy Code and Rules due to the debtor's failure

    to commence an adversary proceeding and obtain a determination of

    dischargeability. Id.

           The Supreme Court first held that "a Chapter 13 plan that proposes to

    discharge a student loan debt without [a dischargeability determination] violates

    §§ 1328(a)(2)and 523(a)(8)." Id. at 276. "Failure to comply with this self-executing

    requirement[,]" the Court went on,"should prevent confirmation of the plan even if

    the creditor fails to object, or to appear in the proceeding at all." Id. at 276-77. The

     Court then admonished the bankruptcy court that "to comply with § 523(a)(8)'s

     directive, [it] must make an independent determination of[dischargeability] before




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   a plan is confirmed, even if the creditor fails to object or appear in the adversary

   proceeding." Id. at 277-78 (internal quotations and citations omitted).

          The Court also held, however, that the lender's failure to object to

    confirmation or to take proper action required by Federal Rule of Civil Procedure 60

    precluded relief from the bankruptcy court's improper confirmation order. It wrote

    that, "[g]iven the [Bankruptcy] Code's clear and self-executing requirement for [a

    dischargeability determination before a student loan debt can be discharged, the

    Bankruptcy Court's failure to make a [dischargeability determination] before

    confirming Espinosa's plan was a legal error." Id. at 275. "But[,]" the Court went

    on,"the order remains enforceable and binding on [the lender] because [the lender]

    had notice of the error and failed to object or timely appeal." Id. at 275 (internal

    citation omitted). In other words, Espinosa held that where a plan addresses

    dischargeability of student loans, it operates as res judicata even if the parties and

    the bankruptcy court did not undertake a separate adversary proceeding before

    malting a dischargeability determination.

           B.    Congress excepted student loans from discharge in bankruptcy.

           When a debtor completes his or her bankruptcy case, the court issues an order

    discharging the debtor from liability on properly scheduled debts. See, e.g., 11

     U.S.C. §§ 727, 1328. That statutory right is qualified. See Grogan v. Gamer,498

     U.S. 279, 286(1991)("We have previously held that a debtor has no constitutional




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   or `fundamental' right to a discharge in bankruptcy."). Specifically, Congress has

   excepted certain categories of debts from discharge in bankruptcy. Id.; 11 U.S.C.

   § 523. Chief among them are debts for student loans. 11 U.S.C. § 523(a)(8).

         Specifically, § 523(a)(8) of the Bankruptcy Code provides that a discharge

   does not apply to:

               (A)(i) an educational benefit overpayment or loan made,
                      insured, or guaranteed by a governmental unit, or
                      made under any program funded in whole or in
                      part by a governmental unit or nonprofit
                      institution; or

                (A)(ii) an obligation to repay funds received as an
                        educational benefit, scholarship, or stipend; or

               (B)      any other educational loan that is a qualified
                        education loan, as defined in section 221(d)(1) of
                        the Internal Revenue Code of 1986, incurred by a
                        debtor who is an individual[.]

    11 U.S.C. § 523(a)(8).2 Congress most recently revised § 523(a)(8) in April 2005,

    when it passed the Bankruptcy Abuse Prevention and Consumer Protection Act

   ("BAPCPA")amendments to the Bankruptcy Code. Pub. L. No. 109-08,§ 220, 119

    Stat. 23, 59(Apr. 20, 2005).

          Since the enactment of the BAPCPA amendments, a majority of courts have

    concluded that private student loans are excepted from discharge as "obligations to


           2 This exception to discharge does not apply if it would cause an "undue
    hardship on the debtor and the debtor's dependents[.]" 11 U.S.C. § 523(a)(8).
    Plaintiffs have not alleged undue hardship in this case.
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   repay funds received as educational benefits" under § 523(a)(8)(A)(ii). See, e.g.,

   Deso~mes v. United States, 569. F. App'x 42, 43(2d Cir. 2014); Brown v. CitiBank,

   N.A., 539 B.R. 853, 857-59 (Bankr. C.D. Cal. 2015); 5ensient Techs. Corp. v.

   Baiocchi, 389 B.R. 828, 829-32 (Bankr. E.D. Wis. 2008).3 A number of decisions

   from other bankruptcy courts, however, have concluded that § 523(a)(8)(A)(ii) does

   not encompass obligations to repay private student loans. See, e.g., Nypave~ v.

   Nypave~, 581 B.R. 431 (Bankr. W.D.Pa. 2018)and Campbell v. Citibank, N.A., 547

    B.R. 49(Bankr. E.D.N.Y. 2016).

          Approximately twenty decisions have adopted the legal position that Navient

    advocates here.4 And approximately fifteen decisions, including the bankruptcy


          3 A 2008 decision from the District of Arizona concluded that private student
    loans were not excepted from discharge under the pre-BAPCPA version of
    § 523(a)(8), and thus does not apply here. London-Marble v. Steeling, No. 06-274,
    2008 WL 2705374, at *3-4 (D. Ariz. July 9, 2008). Further, London-Marble
    diverged from the earlier finding in Micko v. Student Loan Fin. Corp. that student
    loans are excepted from discharge. 356 B.R. 210, 213-17 (Bankr. D. Ariz. 2006).
    Micko also applied the pre-BAPCPA version of § 523(a)(8), but it analyzed the
    amended language at length in doing so.

          4 See, e.g., Deso~mes, 569 F. App'x 42 (2d Cir. 2014); Maas v. Northsta~
    Educ. Fin., Inc., 514 B.R. 866(W.D. Mich. 2014)(sitting in an appellate capacity);
    De la Rosa v. Kelly, —B.R.—, No. 17-3320, 2018 WL 1474890, at *3-7 (Bankr.
    S.D. Tex. Mar. 23, 2018)Rizo~ v. Acapita Educ. Fin. Copp., 553 B.R. 144 (Bankr.
    D. Alaska 2016); Shaw v. EduCap, Inc., No. 08-30319, 2015 WL 1000213, at *2-3
    (Banlcr. S.D. Tex. Mar. 3, 2015); Am. Airlines Fed. Credit Union v. Cardona, No.
    15-16365, 2015 WL 9459883(Bankr. S.D. Fla. Dec. 23, 2015); Brown, 539 B.R. at
    853; Brown v. Rust, 510 B.R. 562 (Bankr. E.D. Ky. 2014); Benson v. Corbin, 506
    B.R. 287(Bankr. W.D. Wash. 2014); Accounts Mgmt. v. Vasa, No. 140109,2014
     WL 6607512(Bankr. D.S.D. Nov. 19, 2014); Beesley v. Royal Bank ofCanada,No.
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   court below, have adopted the legal position asserted by Plaintiffs.5 The question is

   now before the Fifth Circuit on direct, interlocutory appeal. CNocke~ et al. v. Navient

   Solutions, LLC et al., No. 18-20254 (5th Cir.). That appeal is fully briefed and

   awaiting calendaring of oral argument, if any, and resolution.




   12-24194, 2013 WL 5134404 (Bankr. W.D. Pa. Sept. 13, 2013); Chicago
   Patrolmen's Fed. Credit Union v. Daymon, 490 B.R. 331 (Bankr. N.D. Ill. 2013);
   Rumen v. Am. Educ. Servs.,469 B.R. 553(Bankr. M.D.Pa. 2012);Liberty Bay Credit
    Union v. Belfo~te, No. 10-22742,2012 WL 4620987(Banlcr. D. Mass. Oct. 1, 2012);
   Rabbi Har~~y H. Epstein School, Inc. v. Goldstein, No. 11-81255,2012 WL 7009707
   (Bankr. N.D. Ga. Nov. 26, 2012); Carow v. Chase Loan Se~v., No. 10-30264, 2011
   WL 802847 (Bankr. D.N.D. Mar. 2, 2011); Skipworth v. Citibank Student Loan
    Copp., No. 09-83982, 2010 WL 1417964 (Bankr. N.D. Ala. Apr. 1, 2010); Roy v.
   Sallie Mae, Inc., No. 08-33318, 2010 WL 1523996 (Bankr. D.N.J. Apr. 15, 2010);
   Baiocchi, 389 B.R. at 828; Micko, 356 B.R. at 216 (discussing BAPCPA
   amendment, but applying pre-BAPCPA statute).

           5 See, e.g., McDaniel, No. 17-1274, Dkt. No. 30 (Bankr. D. Colo. Sept. 24,
    2018); Kashika~ v. Turnstiel Capital Mgmt., LLC, 567 B.R. 160 (B.A.P. 9th Cir.
    2017); Inst. OfImaginal Studies v. Ch~istoff, 527 B.R. 624 (B.A.P. 9th Cir. 2015);
    C~ockeN, Ex. A; Nypaver, 481 B.R. at 431; Wiley v. Wells Fargo Bank, N.A., 579
    B.R. 1 (Bankr. D. Me. 2017); In re Essangui, 573 B.R. 614 (Bankr. D. Md. 2017);
    Duf~ane v. Navient Solutions, Inc., 566 B.R. 28 (Bankr. C.D. Cal. 2017); In re
    Schultz, No. 16-3042, 2016 WL 8808073 (Bankr. D. Minn. Dec. 13, 2016)
    (interlocutory ruling not reduced to order, which is now a nullity because the case
    settled); Campbell, 547 B.R. at 28; Citizens Bank v. Decena, 549 B.R. 11 (Bankr.
    E.D.N.Y. 2016), ~ev'd and remanded on other^ grounds, 562 B.R. 202 (E.D.N.Y.
    2016); In re Meyer, No. 15-13193, 2016 WL 3251622 (Bankr. N.D. Ohio June 6,
    2016); Swenson v. Swenson, No. 16-10016, 2016 WL 4480719 (Bankr. W.D. Wis.
    Aug. 23,2016); Nunez v. Key Educ. Res./GLESl,527 B.R.410(Bankr. D. Or. 2015);
    London-Marble, 2008 WL 2705374 at *3-4 (applying pre-BAPCPA statute).
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   III.   THE BANKRUPTCY COURT'S DECISION BELOW

          A.    The bankruptcy court denied Navient's motion to dismiss, which
                decision the parties agree is appropriate for direct, interlocutory
                appeal to this Court.

          Navient moved to dismiss Plaintiffs' claims on October 10, 2017. The motion

   asserted two arguments. First, that principles of res judicata bar Plaintiffs' claims,

   as the treatment of their Educational Loans in their Chapter 13 plan was litigated to

   final determination—i.e., that the Loans would not be discharged, but would be

   "deferred until end of plan." And second, that Plaintiffs' student loans were

    excepted from discharge as "obligations to repay funds received as educational

    benefits" under § 523(a)(8)(A)(ii). The bankruptcy court heard the motion on March

    20, 2018 and denied it roughly six months later. See Exs. A, C.

          On res judicata, the bankruptcy court noted that Plaintiffs' Amended Plan "is

    final and binds Plaintiffs and all of their creditors, including" Navient. Ex. A. at 8.

    But res judicata does not bar Plaintiffs' claims here, the court reasoned, because the

    Amended Plan "did not specify one way or the other whether [Plaintiffs' Educational

    Loans] were—or were not—discharged." Id. More to the point, the bankruptcy

    court emphasized that the Amended Plan does not state whether Plaintiffs'

    Educational Loans were non-dischargeable. Id.           And the court distinguished

    Espinosa on that basis. Id. at 9. In so doing, the court ignored that it had sustained

    the trustee's objection and ruled that the Educational Loans were non-dischargeable,



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   which resulted in the filing and confirmation ofthe Amended Plan treating the loans

   as non-dischargeable.

          On dischargeability, the bankruptcy court adopted the minority position by

   interpreting § 523(a)(8)(A)(ii)to exclude private loans. Id. Among other things, the

   bankruptcy court focused on the use of the phrase "obligation to repay funds" in §

    523(a)(8)(A)(ii), as opposed to the use of the term "loan" in § 523(a)(8)(A)(i) and

   (B). Id. The bankruptcy court also focused on the use of the phrase "received as

    educational benefits" in § 523(a)(8)(A)(ii), which the court found "sets an

    educational benefit apart from a loan, and excepts from discharge a category of

    obligations in Section 523(a)(8)(A)(ii) that does not include loans but rather,

    `educational benefit[s]', `scholarships', and `stipends."' Id. at 11.

    IV.   JURISDICTIONAL STATEMENT

          As discussed more fully below, this Court has jurisdiction to hear a direct

    appeal from an interlocutory order if the parties acting jointly certify:(1) the order

    involves a question for which no controlling circuit court or Supreme Court

    precedent exists, or a matter of public importance; (2) the order involves a legal

    question requiring resolution of conflicting decisions; or (3) an immediate appeal

    may materially advance the case. 28 U.S.C. § 158(a)(3),(d)(2)(A). See, e.g., Ford,

    574 F.3d at 1281-82.




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          The parties agree that this matter satisfies all three conditions for direct,

   interlocutory. appeal, and. therefore made such a certification. This Court thus has

   jurisdiction under 28 U.S.C. § 158(d)(2)(A).

   V.     QUESTIONS PRESENTED

          Navient's appeal will present the following legal questions:

          1.    Did the bankruptcy court err in denying NSL's motion to dismiss on res

   judicata grounds?

          2.     Did the bankruptcy err in concluding that private student loans are not

    excepted from discharge as "obligations to repay funds received as educational

    benefits" under § 523(a)(8)(A)(ii) of the Bankruptcy Code?

    VI.   RELIEF REQUESTED

          Navient will ask this Court to(a)reverse the bankruptcy court's order denying

    its motion to dismiss,(b) hold that Plaintiffs' claims are barred by principles of res

    judicata under Espinosa and its progeny, (c) hold, in the alternative, that private

    student loans are excepted from discharge as "obligations to repay funds received as

    educational benefits" under § 523(a)(8)(A)(ii) of the Bankruptcy Code, and (d)

    remand the case for dismissal of the adversary proceeding with prejudice.




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   VII. REASONS THE APPEAL SHOULD BE ALLOWED

          A.    The Court has jurisdiction to accept a direct, interlocutory appeal
                of the order.

          Before the BAPCPA amendments, no direct route of appeal from the

   bankruptcy court to the circuit court existed. Instead, a party appealed first to the

    district court or bankruptcy appellate panel and then to the circuit court if needed.

    Two flaws plagued this structure. First, the extra layer of review brought attendant

    expense. Second, decisions by a district court or bankruptcy appellate panel are

    generally not binding and lack stare decisis value. See, e.g., Ghadimi v. Ashai, 211

    F. Supp. 3d 1215, 1220-21 (C.D. Cal. 2016). Further,the first problem compounded

    the second: the cost of proceeding through two layers of review meant that many

    appeals stopped at the district court or bankruptcy appellate panel.

          For these reasons, Congress provided fast-track access to the circuit courts of

    appeals in the BAPCPA amendments. 28 U.S.C. § 158(d). See, e.g., Ford, 574 F.3d

    at 1281-82;see also Woolsey v, Citibank, N.A.,696 F.3d 1266,1268(l Oth Cir. 2012)

    (Gorsuch, J.) (discussing direct, interlocutory appeals). Now, the parties acting

    jointly may certify matters for direct appeal to the circuit courts where the following

    circumstances exist:

                 i.     the judgment, order or decree involves a question of
                        law as to which there is no controlling decision of
                        the court of appeals for the circuit or ofthe Supreme
                        Court of the United States, or involves a matter of
                        public importance;


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                ii.    the judgment, order or decree involves a question of
                       law requiring resolution of conflicting decisions; or

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                       decree may materially advance the progress of the
                       case or proceeding in which the appeal is taken.

   28 U.S.C. § 158(d)(2)(A).6      The parties agree that all three bases for direct,

    interlocutory appeal exist here, giving the Court jurisdiction to accept a direct,

    interlocutory appeal of the bankruptcy court's order.

          B.     The Court should accept a direct,interlocutory appeal ofthe order.

          As discussed more fully below,the Court should accept a direct, interlocutory

    appeal of the bankruptcy court's order because it: (a) involves questions of law for

    which no controlling precedent exists and matters of public importance;(b)involves

    resolutions of conflicting decisions; and (c) will materially advance the litigation

    below. Among other things, the Court can provide guidance on whether a Chapter

    13 plan must contain an explicit finding of non-dischargeability to operate as res

    judicata. The Court can also provide guidance for a question of broad concern on

    which other courts are split: the non-dischargeability of private student loans in

    bankruptcy. These issues are not fact-intensive. Finally, direct, immediate appeal

    will materially advance the litigation below: it will conserve the bankruptcy court's

    and the parties' resources by authoritatively ruling on threshold issues that will



         6 The Court's acceptance of a direct appeal satisfies the requirement that
    Navient obtain leave to appeal an interlocutory order. Fed. R. Bankr. P. 8004(e).
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   entirely dispose of the case if Navient prevails. See, e.g., Ford, 574 F.3d at 1281-

   82(accepting direct, interlocutory appeal).

                       1.    The order involves questions of law on which no
                             controlling precedent exists, resolution of conflicting
                             decisions, and matters ofpublic importance.

          This Court has not spoken to whether a Chapter 13 plan must contain an

    explicit finding of non-dischargeability to operate as res judicata. The bankruptcy

    court concluded that it must—even where the issue is litigated prior to confirmation

    of the plan and the plan is amended to comport with the bankruptcy court's ruling

    on a trustee's objection that the plan could not be confirmed until it provided

    appropriate treatment for Plaintiffs' non-dischargeable loans. The parties dispute

    the extent to which the Supreme Court's Espinosa decision controls this question.

    Navient asserts that, under Espinosa:(1)if a debtor wishes to discharge student loans

    in a Chapter 13 plan, he or she must seek and obtain a dischargeability order before

    or as a precondition of plan confirmation; and (2)the treatment of student loans in a

    confirmed chapter 13 plan binds the debtors and creditors—even if the parties and

    the bankruptcy court do not undertake a separate adversary proceeding on

    dischargeability before confirming the plan. Plaintiffs, on the other hand, argue that

    the Supreme Court in Espinosa "never held (or even addressed)that the question of

    dischargeability was resjudicata[,]" and that its decision was limited to "federally

    insured loans" in any event. Dkt. No. 10 at 7, 10 n.23.




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          Further, neither this Court nor the Supreme Court has determined whether

   private student loans are. excepted from discharge as "obligations to repay funds

   received as educational benefits" under § 523(a)(8)(A)(ii) of the Bankruptcy Code.

    Other courts are split. Since the passage of the BAPCPA amendments, a majority

    of courts have held that private student loans are excepted from discharge under §

    523(a)(8)(A)(ii). See, e.g., Deso~mes, 569 F. App'x at 43; Brown, 539 B.R. at 857-

    59; Baiocchi, 389 B.R. at 829-32. But a number of other bankruptcy decisions—

    including by the bankruptcy court belowhave found that § 523(a)(8)(A)(ii) does

    not encompass obligations to repay private student loans. See, e.g., Nypaver, 581

    B.R. at 431 and Campbell, 547 B.R. at 49. The only decision from a circuit court of

    appeals—the Second Circuit's Desormes opinion, which adopted the majority

    positionis unpublished.

          Finally, both issues involve matters of public concern. The first, res judicata,

    addresses the extent to which public documents approved by a court bind debtors

    and creditors in a bankruptcy case. It also addresses the extent to which Supreme

    Court precedent controls that question. And the second, the dischargeability of

    student loans, addresses a question that arises with relative frequency in bankruptcy

    cases and similarly affects debtors and creditors alike.


          ~ The Fifth Circuit accepted a direct, interlocutory appeal to resolve whether
    § 523(a)(8)(A)(ii) encompasses private student loans. Crocker et al. v, Navient
    Solutions, LLC et al., No. 18-20254 (5th Cir.). This Court should do the same.




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                       2.    Direct, immediate appeal of the order would materially
                             advance the suit below and the public's interest.

          When the bankruptcy court denied Navient's motion to dismiss, it rr~ade

   threshold findings about the viability of Plaintiffs' claims and causes of action.

    Those findings concern questions that this Court does not appear to have previously

    considered.   Because Navient has other fact-intensive defenses available to

    Plaintiffs' claims, economy favors appellate review of the bankruptcy court's ruling

    on its motion to dismiss before the parties engage in potentially unnecessary,

    expensive, and disruptive discovery—not to mention motions practice and trial.

          The public also has an interest in prompt, conclusive guidance from the Tenth

    Circuit. The questions that Navient's motion presented concern the treatment of

    student loans in bankruptcy. How the Tenth Circuit resolves them will affect

    numerous parties—both debtors and creditors—throughout the Circuit. As with the

    parties, the public at large has an interest in a speedy answer to pressing questions

    ofthe treatment ofstudent loans in bankruptcy that garner significant media attention

    and affect many debtors in this Circuit and around the country.

          Faced with questions similar to those at issue here, the Fifth Circuit accepted

    a direct, interlocutory appeal from the U.S. Bankruptcy Court for the Southern

    District of Texas. Navient Solutions, LLC v. Crocker, No. 18-90016 (5th Cir. April

    25,2018)(copy attached hereto as Exhibit C). The bankruptcy court in that case sua

    sponte certified under 28 U.S.C. § 158(d) its resolution of a motion for summary

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     judgment raising the same 11 U.S.C. § 523(a)(8)(A)(ii)issues as in this case because

__   that would be the "most efficient way" of obtaining conclusive appellate review of

     dispositive, gating questions. See Haas a/k/a CNocke~ v. Navient, Inc., Adv. Case

     No. 16-03175, Dkt. No. 197 at 12 (Banlcr. S.D. Tex. March 5 2018)(copy attached

     as Ex. D hereto). Further to this point, given the uncertainty and divided opinions

     on the legal questions, the bankruptcy court in C~ockeN noted that it did not"want to

     go through a long, drawn out, complicated ...hearing if[it] turned] out to be wrong

     on" the potentially dispositive legal questions. Id. And, in addition to serving the

     interests of the parties and the court, certification would serve the greater public

     interest, given that "the issue regarding the statutory interpretation question [i.e.,

     whether § 523(a)(8)(A)(ii) encompasses private student loans]...comes up a lot."

     Id. The matter is now fully briefed and under advisement by the Fifth Circuit.

                                         CONCLUSION

            For the reasons described above,the Court should accept this matter for direct,

     interlocutory appeal under 28 U.S.C. § 158(d)(2).



                               [Signaturefollows on next page.]




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   Dated: October 9,...2018...._      Respectfully submitted,

                                      /s/E~^ic E. Johnson

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                                      Counselfor Appellant




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                              CERTIFICATE OF COMPLIANCE

         This motion complies with the type-volume limitation of Fed. R. App. P.
   27~d)~2)~A) because:

         • It contains 5,178 words.

         • I relied on my word processor to obtain the count and it is Word Version
           2010.

          This brief complies with the typeface and type-style requirements of Fed. R.
    App. P. 27(d)(1)(E) because:

          • It has been prepared in a proportionally spaced 14-point Times New
            Roman font using Microsoft Word.

         I certify that the information on this form is true and correct to the best of
    my knowledge and belief formed after a reasonable inquiry.



    Dated: October 9, 2018.

                                                   lsl Eric E. Johnson
                                                   CounselfoN Appellant




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                                     CERTIFICATIONS

         1.     I hereby certify all required privacy redactions have been made.

          2.     I hereby certify that the hard paper copies of this brief which are being
   submitted to the Court are exact copies of the PDF version of this brief which was
   filed electronically via the Court's ECF system.

          3.    I hereby certify that a copy of the foregoing UNOPPOSED
   PETITION FOR DIRECT, INTERLOCUTORY APPEAL, as submitted in
   Digital Form via the court's ECF system, is an exact copy of the written document
   filed with the Clerk and has been scanned for viruses with the most recent version
   of a commercial virus scanning program (Kaspersky Security for Virtualization 3.0
   Light Agent Service Pack 1), updated October 9, 2018), and according to the
   program are free of viruses.

   Dated: October 9, 2018.

                                                   lsl Eric E. Johnson
                                                   Counselfog Appellant




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                                CERTIFICATE OF SERVICE

          I hereby certify that on October 9, 2018, I electronically filed the foregoing

   Petition with the Clerk of this Court using the CM/ECF System, which will send a

   notification of electronic filing to all counsel of record who are registered CM/ECF

    users, and that I served a copy on counsel for Appellees-Plaintiffs by email and U.S.

    Mail, as follows:

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                                                   lsl Eric E, Johnson
                                                   Counselfor Appellant




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                                      Ex. A

               ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

     In re:

     BYRON PATTERSON McDANIEL JR.                Case No. 09-37480 KHT
     and LAURA PAIGE McDANIEL,
                                                 Chapter 13
          Debtors.


     BYRON PATTERSON McDANIEL JR.                Adversary No. 17-01274 KHT
     and LAURA PAIGE McDANIEL,

          Plaintiff,
     v.

      NAVIENT SOLUTIONS, LLC,

          Defendant.


               ORDER ON MOTION TO DISMISS AND MOTION TO STRIKE

            THIS MATTER comes before the Courk on a Motion to Dismiss Plaintiffs'
     Claims Under Fed.R.Civ,P. 12{b)(6) and Motion to Strike Immaterial and
     Impertinent Matter Under Fed.R.Civ.P. 12(fi~ (the "Motion") (Docket #8) filed by
     Defendant Navient Solutions, L.LC ("Navient"), the Response (Docket #10)filed by
     Debtors Byron Patterson McDaniel Jr. and Laura Paige McDaniel (together,
     "Plaintiffs" or "Debtors"), and Navient's Reply (Docket #14). The Court heard oral
     argument on March 20, 2018 and has considered the pleadings, arguments, and
     supplemental authorities submitted. For the reasons stated herein, the Court
     denies the Motion.

              JURISDICTION

           This Court has jurisdiction of this proceeding pursuant to 28 U.S.C. §§ 1334
     and 157. This is a core proceeding pursuant to 28 U.S,C, §§ 157(b)(2). Navient
     consents to entry of final orders or judgments of the Bankruptcy Court in this
     matter.




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    II.    BACKGROUND

          On December 24, 2009, Plaintiffs filed a voluntary Chapter 13 case and plan,
    using the standard form (Case No. 09-37480, Docket #2).

           In their bankruptcy schedules, Plaintiffs listed debts to "Sallie Mae,"
    described as "educational," and they also listed debts to "Great Lakes." (Case
    No. 09-37480, Docket #1). Nevertheless, Plaintiffs did not check the box in
    Section V.E. of the plan indicating they had student loans. The Chapter 13 Trustee
    objected to the plan on several grounds, including the plan "ma[de] no provision
    for debtor's non-dischargeable student loan." Case No, 09-37480, Docket #12.

           On April 1, 2010, Plaintiffs filed an amended Chapter 13 plan (the "Plan"}.
     This time, Plaintiffs indicated in Section V.E, of the Plan they had student loans
     and proposed to treat them "as an unsecured Class Four claim or as follows:
     deferred until end of plan." Case No. 09-37480, Docket #25. The Court confirmed
     the Plan on May 4, 2010. Case No. 09-37480, Docket #32.

           A total of nine proofs of claim were filed by Sallie Mae entities and Great
     Lakes Higher Education Corp. Case No. 09-37480, Claims Register. The Great
     Lakes claims (Proofs of Claim Nos. 6 and 7) were subsequently assigned to
     Educational Credit Management Corp. and are based upon Federal Stafford
     Loans, At least five of the Sallie Mae claims (Proofs of Claim Nos. 25 through 29)
     were filed by or on behalf of Navient.

           The Court entered an Order for Discharge of Plaintiffs on March 3, 2015,
     granting them a discharge under section 1328(a) of Title 11, United States Code
     ("Discharge Order"). Case No. 09-37480, Docket #54.

           On June 30, 2017, the Court granted Plaintiffs' motion to reopen their
     Chapter 13 case. Thereafter, Plaintiffs filed this adversary proceeding against
     Navient, requesting a declaratory judgment pursuant to 28 U.S.C. § 2201 and
     F'ed.R.Bankr.P. 7001(9) that certain "Tuition Answer Loans" held by Navient are
     not excepted from discharge under 11 U.S.C. § 523(a)(8) and were, therefore,
     discharged upon entry of the Discharge Order. They also seek damages for
     alleged willful violations of the discharge injunction by Navient pursuant to
     11 U.S.C. ~§ 105 and 524.

             PLAINTIFF'S' CLAIMS

            The Complaint contains general allegations concerning the history of
      changes to 11 U.S.C. § 523(a)(8) and Navient's alleged efforts to deceive "student
      debtors and subvert the orderly working of the bankruptcy courts . , .[by] originating




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    and servicing dischargeable consumer loans and disguising them as non-
    _dischargeable student loans." Complaint,_~(1. Navient seeks to strike many of
    these general allegations.

          Plaintiffs allege Section 523(a)(8)~, as originally enacted in 1978, prohibited
    discharge of federal student loans during the first five years of repayment absent
    undue hardship but "[t]hrough a series of amendments, which first lengthened and
    then eliminated the five-year non-dischargeability time frame, it has become
    increasingly difficult for debtors to attain discharges of their student loan debts."
    Complaint, ¶9. Prior to BAPCPA~, Section 523(a)(8) was "easy to apply because
    the exception to dischargeability was absolute. If a student loan was issued or
    guaranteed by the federal government, it was non-dischargeable absent a showing
    of `undue hardship.' [However,this fueled the belief that all student loans are non-
    dischargeable." Complaint, ¶13.

           In 2005, the enactment of BAPCPA afforded limifed protection to some
     private educational loan products "to the extent that such jlending] supplemented
     and mirrored federal student lending: money lent to eligible students at Title IV
     accredited schools solely for tuition, room, board, and books (`Qualified Education
     Loans')." Complaint, ¶11.

           Plaintiffs allege Navient (formerly known as Sallie Mae or SLM Corporation)
     was not satisfied with the loan origination volume and restrictions associated with
     Qualified Educational Loans. Complaint, ¶12. Therefore, Navient created new
     loan products that are in essence dischargeable consumer loans, deceiving
     student borrowers by representing to them that "the Bankruptcy Code prohibited
     discharge of any loan made to any person for any educational purpose."
     Complaint, ¶16 and ¶12.3

           The problem was made worse because Section 523(a)(8) is self-executing,
     and "thus its correct application relies on the good faith and honesty of creditors."
     Complaint, ¶14. "Importantly, the discharge order does not specifically state which
     loans, if any, are presumptively excepted from discharge. Rather, it states that the
     order does not discharge some debfis, including `debts for most student loans."' Id.

       All Sections referred to herein are to the Bankruptcy Code, 11 U.S.C. § 101, of seq.
     2 Bankruptcy Abuse and Consumer Protection Act, Pub. L. No. 109-8, § 220, 119 Stat. 23, 59
      (2005)(hereafter, `BAPCPA°).

      3 While Navient was marketing these new loan products to student borrowers, Navient was also
        attempting to securitize the new loan products for sale on the secondary market. Plaintiffs allege
        to avoid securities violations, Navient disclosed to its potential (sophisticated) investors in
        student loan asset-backed securities prospectuses that "pursuant to section 523(a)(8), only
        private loans made for qualified expenses were excepted from discharge." Complaink, ¶19.




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            PlaintifFs assert a creditor has. the burden to prove its debt is_encompassed
     by Section 523(a)(8) and is presumptively nondischargeable, then the burden
     shifts to the debtor to show undue hardship. Complaint, ¶15. "Absent an
     adversary proceeding, any educational debt not encompassed by section
     523(a)(8) is automatically and as a matter of law discharged upon entry of the
     discharge order. Accordingly, it is left to the creditors to determine whether their
     particular educational loan is excepted from discharge by Section 523(a)(8} and,
     where confusion exists, seek clarity from the court. The creditor's good faith and
     the threat of sanctions are the only checks on compliance with discharge
     injunctions." Id.

            In the Complaint, Plaintiffs also make specific allegations regarding the
     Tuition Answer Loans held by Navient. Plaintiffs allege the Tuition Answer
     Program is adirect-to-consumer loan product outside the confines of the financial
     aid office and in excess of the school's published "Cost of Attendance" ("COA").
     Complaint, ¶17. From 2004-2007, Plaintiffs borrowed $107,467 in six (6) Sallie
     Mae Tuition Answer Loans. Complaint, ¶20. The total balance of these Tuition
     Answer Loans is now $245,264, "despite consistent monthly payments of more
     than $2,000 for several years." Complaint, ¶21.

           Plaintiff Laura Paige McDaniel attended Lakeland College from 2004 to
     2007. Complaint, ¶22. Her COA for qualified tuition and related expenses for each
     year was: $5,340 in 2004, $10,650 in 2005, $6,450 in 2006, and $6,390 in 2007,
     as reflected on Tuition Statements issued by Lakeland College to Ms. McDaniel
     attached to the Complaint as Exhibit A. Complaint, X23. Ms, McDaniel borrowed
     the COA in the form of federal student loans, as reflected on Federal Stafford Loan
     documentation attached to the Complaint as Exhibit C. Comptainfi, ¶24.

             Plaintiffs borrowed an additional $107,467 through the Tuition Answer
      Loans, "made outside the financial aid office and jnot] for qualified education
      expenses." Complaint, ¶25. Attached as Exhibit B to the Complaint are copies of
      loan applications and promissory notes for the Tuition Answer Loans. Id. The
      Tuition Answer Loans were not made solely for the COA and accordingly, were not
      "qualified education loans" as defined in Section § 523(a)(8)(B). Complaint, ¶26.4

            Debtors listed the Tuition Answer Loans on fiheir Bankruptcy Schedule F.
      Complaint, ¶27. Debtors made payments totaling $26,782 on the Tuition Answer
      Loans during their Chapter 13 bankruptcy case. Complaint, ¶28.

      ^ The Court notes, however, one of the loan documents in Exhibit B to the Complaint contains
        the following language; "this loan is a qualified education loan as described in Section 221(d)(1)
        of the Internal Revenue Code of 1986." Exhibit B to Complaint, p.14 of 40.




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           Navient was. notified of.the Discharge Order. Complaint, ¶30. Instead of
    charging the Tuition Answer Loans off, Navient demanded payments in violation
    of the Discharge Order and the Bankruptcy Code. Complaint, ¶32. Plaintiffs allege
    "owing to [Navient's] tactics, [P]laintiffs have repaid $37,460 on these discharged
    debts. These payments were not made 'voluntarily' but were made solely based
    on Defendant Navient's material misrepresentations regarding the legal status and
    character of the Tuition Answer Loans," Complaint, ¶33, Navient's "abusive,
    deceptive and harassing collection efforts" after entry of the Discharge Order "were
     made knowingly and willfully in violation of this Court's discharge orders and must
     be sanctioned." Complaint, ¶34.

     IV.    NAVIENT'S MOTION

            Navient requests dismissal of the Complaint for failure to state a claim under
     Fed.R.Civ.P. 12(b)(6) (Fed.R.Bankr.P. 7012(b)), Navient also moves to strike
     certain allegations as immaterial and impertinent matter under Fed.R.Civ.P.12(f)
     (Fed.R.Bankr.P. 7012(b)).

             Navient asserts the confirmed Plan distinguished the Tuition Answer Loans
     from Plaintiffs' other dischargeable unsecured debts in Class Four and treated
     them "as non-dischargeable." Motion, p.16; see also Motion, p,17 ("[i]nstead of
     filing an adversary proceeding to seek a discharge of their loans, Debtors amended
     their [P]lan to expressly provide that their [Tuition Answer] Loans would not be
     discharged along with their other unsecured claims") (emphasis in original).
     Accordingly, Navient argues principles of res judicata prohibit Plaintiffs from
     reversing their earlier position taken in the Plan, in light of the finality of the Plan
     confirmation order and the Supreme Court's decision in United Student Aid Funds,
     Inc. v. Espinosa, 559 U.S. 260 (2010).

            Alternatively, Navient argues dismissal is warranted because the Complaint,
     on its face, establishes the Tuition Answer Loans are excepted from discharge as
     "obligationCs] to repay funds received as an educational benefit" under Section
     523(a)(8)(A)(ii). Through the Tuition Answer Loans, Ms. McDaniel "received the
     funds that allowed [her] to attend Lakeland College. Indeed,[Plaintiffs] certified to
     Navient `all of the loan proceeds ...are to pay expenses directly related to
     attending' Lakeland College." Motion, p.19 (quoting Complaint, Exhibit B, pp.6,
     31, 38 of 40). Then, when they filed bankruptcy, Plaintiffs scheduled the debt as
     "educational" in nature. Motion, p.19. "By enabling Ms. McDaniel to enroll in and
     attend college and support her personal decision to improve her life through higher




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     education, the loans conferred 'educational benefits' on her and are therefore
   ......excepted.#rom discharge..in bankruptcy." Motion, p.20.

           In support, Navient cites cases holding private student loans are
    "obligation[s] to repay funds received as an educational benefit' under Section
    523(a)(8)(A)(ii}. Because the "Debtors do not, and cannot, allege that they. used
    their [Tuition Answer] Loans for anything but educational purposes, nothing in
    Debtors' Complaint allows them to avoid the same result." Motion, pp.22-23.
     Navient contends the cases tha# hold otherwise are badly reasoned, and those
    courts misapply the principles of statutory interpretation they invoke.

            Since the Tuition Answer Loans were nofi discharged, Navient asserts there
     can be no violation of the discharge injunction. In any case, Navient argues this
     claim should be dismissed because the discharge injunction is enforceable only
     through contempt proceedings and there is no private right of action for violation
     of the discharge injunction. Since Plaintiffs' claim must be construed as a claim
     for contempt, the order under which they seek contempt must be "clear and
     specific." The Discharge Order is not "clear and specific" but rather, provides most
     student loans are not dischargeable. Motion, p.35.

            Navient also moves to strike paragraph 1 and paragraphs 9 through 19 of
     the Complaint because the allegations set forth in these twelve paragraphs
     constitute a "superfluous attack on [Navient's] character, inappropriate for a short
     and plain statement of the claim." Motion, p.37 (citations omitted). Navient
     contends the overblown and non-specific allegations in these paragraphs malign
     Navient, refer to "pervasive, systemic wrongdoing" and have no bearing on any
     issues in this case. Motion, p.38. Plaintiffs' "allegations of nonspecific fraud
      perpetrated by unnamed actors using unspecified means against unnamed victims
     are inflammatory, unnecessary, and irrelevant", and the Court should strike them
     as either a superfluous attack on character, or deficiently pleaded fraud claims. Id.

     V.      DISCUSSION

             A.     The Ruble 12(b)(6) Motion to Dismiss.

            Rule 8 notice pleading "requires a short and plan statement of the claim
      showing thatthe pleader is entitled to relief." Fed.R.Civ.P. 8(a)(2); Fed.R.Bankr.P.
      7008. "[H]eightened fact pleading of specifics" is not required; rather, a party must
      assert "only enough facts to state a claim to relief that is plausible on its face .. .
      to nudge hisJ claims across the line from conceivable to plausible , .." Bell Atl.
      Corp. v. Twombly, 550 U.S. 544, 570(2007).




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               Failure to state a claim is a defense that may be presented by motion.
-       Fed.R.Civ.P.12(b)(6); Fed.R.Bankr.P. 7012(b). On a motion to dismiss, this Caurt
        must accept all well-pled facts in the Complaint as true and view them in the light
        most favorable fo Plaintiff. Barnes v. Harris, 783 F.3d 1185, 1191-92 (10th Cir.
        2415)(citing Sutton v. Utah State Sch. for the Deaf ~ Blind, 173 F.3d 1226, 1236
        (10th Cir. 1999). But "the tenet that a court must accept as true all of the allegations
        contained in a complaint is inapplicable to legal conclusions." Ashcroft v. Igbal,
        556 U.S, 662, 678 (2009).

              Granting a motion to dismiss "is a harsh remedy which must be cautiously
        studied, not only to effectuate the spirit of the liberal rules of pleading but also to
        protect the interests of justice." Dias v. City and Cnty. of Denver, 567 F.3d 1169,
        1178 (10th Cir. 2009)(citing Duran v. Carris, 238 F.3d 1268, 1270 (10t" Cir. 2001)
        (quotation omitted)}.

               The Court reviews Navient's Motion with the above principles in mind.
         Section 523(a)(8) provides a discharge under section 1328(b) does not discharge
         an individual debtor from any debt —

                 (8) Unless excepting such debt from discharge under this
                 paragraph would impose an undue hardship on the debtor and the
                 debtor's dependents, for

                       (A)(i) an educational benefit overpayment or loan made,
                       insured or guaranteed by a governmental unit, or made
                        under any program funded in whole or in part by a
                       governmental unit or nonprofit institution; or

                             {ii) an obligation to repay funds received as an
                             educational benefit, scholarship or stipend; or

                       (B) any other educational loan that is a qualified education
                       loan, as defined in section 221(d)(1) of the Internal Revenue
                       Code of 1986, incurred by a debtor who is an individual .. .

          11 U.S,C. § 523(a)(8).

                        1.      The Parties' Respective Burdens.

                  The parties agree Plaintiffs bear the burden of proving "undue hardship," but
          they disagree over who must bring an adversary proceeding to determine whether
          a student Ioan falls within the nondischargeable rubric of Section 523(a)(8) in the
          first place, as this section of the Bankruptcy Code is self-executing. This dispute




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     is academic; Plaintiffs did bring this adversary proceeding, and the Court finds it

     to determine dischargeability of a debt under Section 523(c) must be filed no later
     than 60 days after the first date set for the meeting of creditors) with Gimbel v. U.S.
     Dept of Educ. (fn re Gimbel), Adv. No. 17-01048-j, 2018 WL 1229718, *4 (Bankr.
     D.N.M. March 8, 2018)("there is no deadline expressly imposed by the Code or
     Rules for filing an adversary proceeding to determine whether a student loan debt
     should be excepted from the discharge under § 523(a)(8)"),

           As to the burden of proof, it remains on the creditor to show its debt is
     excepted from discharge under Section 523, Grogan v. Garner,498 U.S. 279, 287
     (1991). Thus Navient, "as a creditor, must prove, by a preponderance of the
     evidence, that a debt exists and the debt is the type excepted from discharge under
     § 523{a)(8)," Hoffman v. Educ. Credit Mgmt, Corp. (In re Hoffman), 557 B.R. 177,
     184 (Bankr. D. Colo. 2016)(citations omitted).

                     2.     Principles of Res Judicata and Espinosa.

           Res judicafa applies when the following three elements exist. "(1) a [final]
     judgment on the merits in an earlier action;(2) identity of parties or privies in the
     two suits; and (3)identity of the cause of action in both suits." Wilkes v. Wyo. Dept
     of Emp't Div, of Labor Standards, 314 F.3d 501, 504 (10th Cir. 2002)(as amended
     Jan. 14, 2003)(quoting King v. Union Oil Co., 117 F.2d 443, 445 (10th Cir, 1997)).

              Navient's resjudicata argument suffers from a fatal flaw: the Plan does not
      say what Navient says it does. It is true the confirmed Plan is final and binds
      Plaintiffs and all of their creditors, including Navient. But the Plan did not specify
      one way or the other whether the Tuition Answer Loans were — or were not —
      discharged; the Plan is simply not instructive on this point. Section V.E. of the Plan
      only specifies Plaintiffs' student loans — of which they had several, including
      Federal Stafford Loans owing to Great Lakes or its assigns —were "to be treated
      as an unsecured Class dour claim or as follows: deferred until end of plan." Case
      No. 09-37480, Docket #25. The Plan is silent as to the dischargeability or non-
      dischargeability of the Tuition Answer Loans vis-a-vis Plaintiffs' other educational
      loans, or other unsecured debts. Nowhere in the Plan does it state the Tuition
      Answer Loans, or any of Plaintiffs' student loans, were nondischargeable; Navient
       relies upon a mischaracterization of the terms of the Plan.

            Nor does Plaintiffs' description of Navient's debt on their Bankruptcy
      Schedules as "educational" influence its dischargeability. "Educational" loans, or
      "student" loans, are not nondischargeable simply because they are labeled as
      such; they must meet one or more of the criteria set forth in Section 523(a)(8). "A
      construction so broad would be incompatible with the 'well-known' guide that




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    exceptions to discharge `should be confined to those plainly expressed."'
    Kawaauha   u v. Geiger, 523 U.S. 57,62(1998)(quoting Gleason v. Thaw, 236 U.S.
             (1915))..._
    558, 562

          In Espinosa, the Supreme Court held the lender was bound by the terms of
    the debtors' confirmed plan even though confirmation of that plan was legal error.
    United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 275 (201 Q). The
    Chapter 13 plan in Espinosa expressly provided the debtors' student loans were
    discharged for undue hardship, and the creditor had actual notice of the plan and
    did not object. Id. at 264-265.

            Navient contends Espinosa applies in the reverse and mandates the
     conclusion Plaintiffs' claims are barred on account of their confirmed Plan. But the
     true reverse of Espinosa would be a plan that expressly provided the Tuition
     Answer Loans, or any of Plaintiffs' student loans, were not dischargeable. Here,
     the Plan contains no explicit statement or determination as to the dischargeability
     of any of Plaintiffs' student loans. Navient's reliance upon Espinosa as controlling
     authorifiy over the outcome of this case is misplaced.

            Because the confirmed Plan is not a final determination on the merits, the
     Court will not dismiss Plaintiffs' Section 523(a)(8) claim on the basis of resjudicata
     or application of Espinosa.

                     3.     Section 523(a)(8)(A)(ii).

            Absent undue hardship, Section 523(a)(8)(A}(ii) excepts from discharge "an
     obligation to repay funds received as an educational benefit, scholarship or
     stipend." 11 U.S.C. 523(a)(8)(A)(ii). The crux of the dispute is whether the Tuition
     Answer Loans fall within the ambit of this subsection as a matter of law. Courts in
     other jurisdictions are divided on the issue, with some courts holding private loans
     that provide an educational benefit to the borrower fit within Section 523(a)(8)(A)(ii)
     (the view espoused by Navient), and other courts embracing a much narrower
     view, holding such educational loans are not included within this particular
     subsection (Plaintiffs' position),5 There is no controlling authority on point within
     the Tenth Circuit.

           The Court's inquiry "begins where all such inquiries must begin: with the
      language of the statute itself." Unites States v. Ron Pair Enterprises, Inc., 489

      5 While the parties dispute whose side is in the majority, the recent trend is clearly in favor of
      Plaintiffs' position. In their Response, Plaintiffs indicate there are 18 cases that support Navient's
      position, and cite 18 cases that support their own position, including 8 of the last 9 cases decided
      since 2016. Since the time the parties' briefs were submitted, additional decisions have been
      rendered in other districts also supporting Plaintiffs' view of Section 523(a)(8)(A)(ii).




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    U.S. 235, 241 (1989). If the statute's language is plain, "the sole function of the
    courts- is to-en#once it according to its terms." Id. quoting_ Caminetti v. United
    States, 242 U.S. 470, 485 (1917)).

            "When interpreting statutory language, this court `must look to the particular
                                                                                       as
     statutory language at issue, as well as the language and design of the statute
     a whole."' Otfice of Thrift Supervision v. Overland Park Fin. Corp. (In re Overland
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     Park Fin. Corp.), 236 F.3d 1246, 1252 (1 Qth Cir. 2001) (citing True Oil Co,
     Comm'r of Internal Revenue, 170 F.3d 1294, 1299 (10th Cir.199 (quotat  9)         ion
     marks and citation omitted)). Section 523(a)(8}(A)(ii) cannot be read in isolation;
     it is necessary to read Section 523(a)(8} as a whole. "The meaning — or ambiguity
        of certain words or phrases may only become evident when placed in context."
     Campbell v. Citibank, N.A. (In re Campbell), 547 B.R. 49, 54 (Bankr. E.D.N.Y.
     2016)(citing Brown v. Gardner, 513 U.S, 115, 118 (1994)).

            Section 523(a)(8)(A)(ii) is sandwiched in between Sections 523(a)(8)(A)(i)
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     and (B). Notably absent from Section 523(a)(8)(A)(ii) is the word "loan" which
     used in both Sections 523(a)(8)(A)(i) and 523(a)(8)(B). In Section 523(a)(8     ){A)(i),
     Congress excepted from discharge "an educational benefit overpayment or loan
     made, insured, or guaranteed by a governmental unit, or made under any program
     funded in whole or in park by a governmental unit or nonprofit insfiitution". 11 U.S.C.
     § 523(a)(8)(A)(i)(emphasis added). The disjunctive "or" in Secfiion 523(a)(8)(A)(i)
     is significant, because it distinguishes an "educational benefit overpayment" from
     a "loan." See, e.g., L,oughrin v: United States, 134 S.Ct. 2384, 2390, 189 L.Ed.2d
     411 (2014) (in reviewing the language of the federal bank fraud statute in which
     elements of the crime were separated by the word "or," the Supreme Court
     considered what "or" customarily means: "th[e] term's `ordinary use is almost
     always disjunctive, that is, the words it connects are to be given separate
      meanings"')(quoting United States v. Woods, 571 U.S. 31, 45(2013)).

            The word "loan" is also used in Section 523(a)(8)(B), which excepts from
      discharge "any other educational loan that is a qualified education loan, as defined
      in section 221(d)(1) of the Internal Revenue Code of 1986, incurred by a debtor
      who is an individual". 11 U.S.C. 523(a)(8)(B).

             Navient argues the fact Congress did not use the word "loan" in Section
      523(a)(8)(A)(ii) does not matter because an "obligation to repay funds received" is
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      a loan; this phrase could not possibly fail to include loans -- it is just more inclusiv
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      and expansive. Motion, pp.29-30. But given the specific languag
      Congress in Sections 523(a)(8)(A)(i) and (B) and the absence of the word "loan"
      from Section 523(a)(8)(A)(ii), the Court concludes "an obligation to repay funds
      received as an educational benefit, scholarship or stipend" does not include a loan.
      "[WJhen 'Congress includes particular language in one section of a statute but
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    omits it in another' —let alone in the very nexf provision —this Court `presume[s]'
    that-Congress intended a difference in meaning." Loughrin v. United States, 134
    S.Ct. 2384, 2390, 189 L.Ed.2d 411 (2014)(emphasis added)(quoting Russello v,
    United States, 464 U.S. 16, 23(1983)(further citation omitted}).

          Moreover, another critical little word appearing in Section 523(a)(8)(A)(ii) is
    the word "as." "As" is a qualifier; it denotes how the funds were received. In a
    recent decision, the Bankruptcy Court for the Southern District of Texas examined
    the word "as" in Section 523(a)(8)(A)(ii):

            The use of the word "as" denotes "in the character or under the name
            of." [T]o the contrary, "for" denotes "in consideration for            in
            exchange for." [T]he Court  conclud  es that 523(a)(8) (A)(ii) created  a
            new category of nondischargeable debts         specifica lly tailored  to
            address a perceived need. That need did not include all loans that
            were in some way used by a debtor for education.

     Crocker v. Navient Solutions, LLC (In re Crocker), 585 B.R. 830, 836(Bankr. S.D.
     Tex. 2018)(quoting Black's Law Dictionary (6th ed. 1990)). This Court agrees. The
     language of the statute sets an educational benefit apart from a loan, and excepts
     from discharge a category of obligations in Section 523(a)(8)(A)(ii) that does not
     include loans but rather,"educational benefits]","scholarship[s]", and "stipend[s]."6

            If Navient's interpretation of Section 523(a)(8)(A)(ii) is correct — i.e.,
     obligations that confer educational benefits are excepted from discharge —there
     would be no need for a separate provision excepting from discharge benefit
     overpayments or loans made, insured, or guaranteed by governmental units, or
     under programs funded by governmental units or nonprofit institutions (Section
     523(a)(8)(A)(i)). Nor would there be any need for a separate provision excepting
     from discharge "qualified education loans" (Section 523(a)(8)(B)). Navient's
     interpretation offends a "cardinal principle" of statutory construction, that courts
     have a "duty to give effect, if possible, to every clause and word of a statute."
      United Stafes v. Smith, 756 F.3d 1179, 1187 (10'h Cir. 2014)(quoting Duncan v.
      Wacker,533 U.S. 167, 174(2001)(internal quotation marks and brackets omitted)).


        Like the court in Campbell, it is not necessary for this Court to decide whether the educational
        benefits, scholarships, and stipends referred to in Section 523(a)(8)(A)(ii) include only those
        made insured, or guaranteed by a governmental unit, or made under any program funded in
        whole or in part by a governmental unit or nonprofit institution; the crux of the issue here is
        whether an "educational benefit" in Section 523(a)(8)(A)(ii) encompasses a private loan such
        as the Tuition Answer Loans. See Campbell v. Citibank, N.A. (Jn re Campbell), 547 B.R, 49, 59
        (Bankr. E,D.N.Y. 2016)(comparing Sensient Technologies Corp. v. Baiocchi (In re Baiocchi),
        389 B.R. 828, 831-32 (Bankr. E.D. Wis. 2008) with In re Nunez, 527 B.R. 410, 415(Bankr. D,
        Or. 2015)).
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           In Campbell,.decided in 2016, the Bankruptcy Court for the Eastern District
    of New York denied a lender's motion to dismiss debtor's complaint to determine
    dischargeability of a private bar study loan, holding Section 523(a)(8)(A)(ii) did not
    encompass such a loan. Campbell v. Citibank, N.A. (In re CampbeN), 547 B.R. 49
    (Bankr. E.D.N.Y. 2016). The Campbell court reasoned that if Section
    523(a)(8)(A)(ii) applied to loans, it would "swallow" the other sections of 523(a)(8).
    In re Campbell, 547 B.R. at 55.

            Navient argues Campbell was wrongly decided; Section 523(a)(8){A)(ii)
     does not render other provisions of Section 523 superfluous but rather, that
     subsection provides "limited overlapping coverage" consistent with Supreme Court
     precedent, In Husky Int'1 Elec., Inc, v. Ritz, 136 S.Ct. 1581, 194 L.Ed,2d 655(2016)
     (concluding some overlap in coverage regarding the definition of "actual fraud" did
     not render Section 523(a) redundant). Reply, p.24. In other words, Section
     523(a)(8)(A)(ii) catches instances of nondischargeability that other subparts of
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     523(a)(8) might miss, reinforcing]the broad scope of the discharge exception for
     student loans." Motion, p.26. Unlike other subsections, Navient points out that
     Section 523(a)(8)(A)(ii) requires funds to be "received," so "both a private bar-study
     loan and a judgment debt to a co-signor on a defaulted government-backed
      university loan that the co-signor paid in full would be exempt from discharge under
     523(a)(8)(A)(ii) but not § 523(a)(8)(A)(i) or (B), respectively. Motion, pp.25-26.
      The Court is not persuaded by this somewhat circular argument. If the legislature
      intended Section 523(a)(8)(A)(ii)to address potential liability to a co-signor, it could
      have done so explicitly; for example, Section 523 expressly includes separate
      categories of nondischargeable debt "incurred to pay a tax to the United States
      that would be nondischargeable pursuant to paragraph (1)" and "incurred to pay a
      tax to a governmental unit, other than the United States, that would be
      nondischargeable under paragraph (1)." 11 U.S.C. 523(a)(14),(14A).

           Accordingly, based upon the plain language of the statute, this Court
     embraces the trending narrower view of Section 523(a)(8)(A)(ii) espoused in
     Campbell. See, e.g., Crocker v. Navienf Solutions, LLC (In re Crocker), 585 B.R.
     830 (Bankr. S.D. Tex. 2018); Nypaver v. Nypaver (In re Nypaver), 581 B.R. 431
     (Bankr. W.D. Pa. 2018); Essangui v. SLF V-2015 Trust (In re Essangui), 573 B.R.
     614 (Bankr. D. Md. 2017); Dufrane v. Navienf Solutions, lnc. (In re Dufrane), 566
     B.R. 28 (Bankr. C.D. Ca. 2017); Campbell v. Citibank, N.A. (In re Campbell), 547
     B.R. 49(Bankr. E.D.N.Y. 2016).

            To the extent there is any ambiguity in Section 523(a)(8)(A)(ii), the doctrine
      of noscitur a sociis and the legislative history both support the narrower view,
      Employing the doctrine of noscitur a sociis, the Campbell court considered the
      meaning of "educational benefit" in the context of its surrounding words:

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    "scholarship° and "stipend." In re Campbell, 547 B.R. at 55. Under this doctrine,
    "when a_statuts_~ontain~ a list, each word in that list presumptively has a `similar'                              ',
     meaning." Id. (citing Yates v, United States, 135 S.Ct. 1074, 1089, 191 L.Ed.2d
    64 (2015) (Alito, J., concurring in the judgment) (citing Gustafson v. Alloyd Co.,
     513 U.S. 561, 576(1995)). The Campbell court noted'"[s]cholarship' and `stipend'
     bath refer to funds which are not generally required to be repaid by the recipient"
     and concluded "educational benefit" may be understood the same way; they are
     all forms of conditional grants, not loans. In re Campbell, 547 B.R. at 55. This
     Court agrees. A "scholarship" is a "grant of financial aid to a student." The
     American Heritage College Dictionary, 1220 (3d ed. 1997). A "stipend" is a "fixed
     and regular payment, such as a salary." Id., at 1335. A "benefit" is a "payment
     made or an entitlement available in accordance wifih a wage agreement, an
     insurance policy, or a public assistance program." td,, at 127. These words all
     signify granting, not borrowing.

            Navient argues noscitur a sociis was misapplied in Campbell, given the
     broader conte~ of Section 523(a)(8). But in this Court's opinion, as discussed
     above, the broader context of Section 523(a)(8) — in which the words "loan" and
     "or" appear in its neighboring subsections — supports a narrow construction of
     Section 523(a)(8)(A)(ii). Navient's argument that a loan used for educational
     purposes confers an educational benefit on the borrower,just like scholarships and
     stipends do, strays from both the text of the statute and the context in which it was
     enacted.

           As to the context, Section 523(a)(8} was enacted to safeguard "the solvency
     of government education loan programs"for "future students". In re Campbell, 547
     B.R. at 59-60 (citing In re Pelkowski, 990 F.2d 737, 742 (3rd Cir. 1993)(quoting
     124 Cong. Rec. 1791-9 Representative Ertel) (further citations omitted)).
     Section 523(x)(8) of the Bankruptcy Reform Act of 1978 excepted from discharge
     any debt —

            to a governmental unit, or a nonprofit institution of higher education,
            for an educational loan, unless —




       Navient complains a list of three items is insufficient to employ the doctrine, citing Graham
       County Soil and Wafer Conservation Dist. v. United States ex rel. Wilson, 559 U.S. 280, 288
       (2010). But in that case, unlike here, the Supreme Court declined to employ noscitur a sociis
       to a list of three disparate terms: "congressional," "administrative," and "Governmental
       Accounting Office." Graham County Soil and Wafer Conservation Dist. v. United States ex rel.
        Wilson, 559 U.S, at 288 (finding each of the three terms "quite distinct from the other no matter
        how construed (emphasis added).

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              (A) such loan first became due before five years before the.date of
                  the filing of the petition; or

              (B) excepting such debt from discharge under this paragraph will
                  impose an undue hardship on the debtor and the debtor's
                  dependents;

     Bankruptcy Reform Act of 1978, Pub. L, No. 95-598 § 523{a)(8)(H.R. 8200), Nov.
     6, 1978, 92 Stat. 2549, 2591 (1978).

          The term "educational benefit" first appeared in Section 523(a)(8) in 1990,
     when the statute was amended to except from discharge any debt:

            for an educational benefit overpayment or loan made, insured, or
            guaranteed by a governmental unit, or made under any program
            funded in whole or in part by a governmental unit or nonprofifi
            institution, or for an obligation to repay funds received as an
            educational benefit, scholarship or stipend .. .

     Crime Control Act of 1990, Pub. L. No. 101-647 § 3621(1), 104 Stat. 4789, 4965
     (1990). The amendment to Section 523(a)(8) by the Crime Control Act also
     extended the period of repayment in Section 523(a)(8)(A) to seven years. Id.

            The Campbell court examined the sparse legislative history and hearing
     testimony behind the 1990 amendments to Section 523(a)(8). In re Campbell, 547
     B.R. at 55. At the hearing, Bob Wortham, a United States attorney from the
     Eastern District of Texas, explained the amendments to Section 523(a)(8) added
     "to the list of non-dischargeable debts, obligations to repay educational funds
     received in the form of benefits (such as VA benefits), scholarships (such as
     medical service corps scholarships) and stipends", citing U.S. Dept of Health and
     Human Sews, v. Smifh, 807 F.2d 122 (8th Cir. 1986) in his statement. See In re
      Campbell, 547 B.R. at 55 (citing Federal Debt Collection Procedures of 1990;
      Hearing on P.L. 101-647 before the H. Subcomm. on Econ. and Commercial Law,
      H. Judiciary Committee 101St Cong. 74-75 (June 14, 1990)(Mr. Brooks' Questions
     for the Record for Mr. Wortham)).

             In Smith, the Eighth Circuit held the pre-1990 version of Section 523(a)(8)
      encompassed a federal tuition assistance grant to a medical student who had
      defaulted on its conditions. U.S. Dept of Health and Human Sews. v. Smith, 807
      F.2d 122 (8t" Cir. 1986). In reaching its decision, the Eighth Circuit was mindful of
      the "background and purpose of 523(a)(8) of the Bankruptcy Code" to correct a
      significant problem "[u]nder the Bankruptcy Act, [i.e.,] educational loans were

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    dischargeable resulting in millions of dollars in federally guaranteed loans
    defau4ted upon annually." Smith, 807 F.2d a# 126{emphasis added)(quoting Jn_re
    Shipman, 33 B.R. 80, 82(Bankr. W.D. Mo. 1983)).

            Navient points out the sparse legislative history examined in Campbell is a
     single remark, not made by a legislator, regarding a prior version of the statute.
     Motion, p.31, However, that selfsame sparsity of legislative history regarding the
     addition of "educational benefit" to Section 523(a)(8) suggests the legislature did
     not intend to extensively expand nondischargeability to private educational loans.
     A subsequent amendment to the statute supports this conclusion. With the
     enactment of BAPCPA in 2005, subsection (B) was added to Section 523(a)(8),
     including as nondischargeable "any other educational loan fihat is a qualified
     education loan, as defined in section 221(d)(1) of the Internal Revenue Code of
     1986, incurred by a debtor who is an individual". Bankruptcy Abuse Prevention
     and Consumer Protection Act of 2005, Pub. L. No. 109-8, S. 256, 109th Cong.,
     § 220, 119 Stat. 23, 59 (2005). BAPCPA also separated subsection {A) into two
     subsections, (A)(i) and (A)(ii), without any changes to the text. If Section
     523(a)(8)(A)(ii) expanded the statute to include all loans that confer educational
      benefits, subsection (B) —adding "qualified education loans" under 26 U.S.C.
     § 221(d)(1) as nondischargeable —would have been wholly unnecessary.

             Even if this Courk were to agree with Navient, it would be premature to
     dismiss Plaintiffs' Complaint under Section 523(a)(8)(A)(ii); at this stage in the
     litigation, the underlying facts are not sufficiently developed. But the Court is
     persuaded by Plaintiffs' view that Section 523(a)(8)(A)(ii) does not encompass the
     Tuition Answer Loans, based upon the plain language of the statute, and in
     addition, applicable canons of statutory interpretation and the legislative history.

                    4.     Claim for Violation of the Discharge Injunction.

            The Discharge Order granted Plaintiffs a discharge under Section 1328(a).
     Section 1328(a) specifies that the bankruptcy discharge for Chapter 13 debtors is
     as to "all debts provided for by the plan or disallowed under section 502 of this title,
     except any debt — ... of the kind specified in ...[section 523(a)(8)]." 11 U.S.C.
     § 1328(a)(2)(emphasis added). Pursuant to the Bankruptcy Code, the Discharge
     Order "operates as an injunction against the commencement or continuation of an
     action, the employment of process, or an act, to collect, recover, or offset any such
     debt as a personal liability of the debtor, whether or not discharge of such debt is
     waived". 11 U.S.C. § 524(a)(2).

            Navient argues Plaintiffs' claim for violation of the discharge injunction is
      defective because there is no private right of action for such claim, and the
      Discharge Order was not specific enough to be enforced against Navient on

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    contempt grounds; the Discharge Order did not clearly identify prohibited conduct
    _as the Order"lacked-such a s#atement about their-[Tuition Answer]_L~ans". Reply,
     p.29.

            While the Tenth Circuit has not determined whether there is a private right
     of action under Section 524(a)(2), it is clear the Court's equitable powers under
     Section 105(a) extend to decide claims "to enforce and remedy violations of
     substantive provisions of the Bankruptcy Code, including in particular the
     discharge injunction in 524(a)(2)." Paul v. Iglehart (In re Paul), 534 F.3d 1303,
     1306 (10th Cir. 2008)(citations omitted).$ Thus,"Section 524(a)(2) operates as `an
     equitable remedy precluding the creditor, on pain of contempt, from taking any
     actions to enforce the discharged debt."' Gray v. Nussbeck (In re Gray), 586 B.R.
     347, 353(Bankr. D. Kan. 2018)(quoting Espinosa v. Unitad States Aid Funds, Inc,,
     553 F.3d 1193, 1200 (9t" Cir. 2008), aff'd, 559 U.S. 260 (201Q) (emphasis in
     original}}.

            To be held in contempt, a court must find (1)the party violated a specific and
     definite order; (2} the party had notice of the order; and (3) the party did in fact
     violate the order. Lucre Mgmt. Grp., LLC v. Schempp Real Estate, LLC(ln re Lucre
     Mgmt. Grp., LLC), 365 F. 3d 874, 875 (10th Cir. 2004). In order to prevail in a civil
     contempt proceeding, Plaintiffs' burden is high; they must prove the alleged
     violation by clear and convincing evidence. Reliance Ins. Co. v. Mast Consf. Co.,
     159 F.3d 1311, 1315 (10th Cir. 1998).

            The Court concludes Plaintiffs have stated a valid claim for contempt. The
     Discharge Order and the statutory bases for its issuance and enforcement
     (Sections 1328 and 524(a)(2)) are broad and unequivocal. All debts were
     discharged, except those enumerated in Section 1328(a}. There is no such thing
     as a personalized discharge order addressed to each creditor in a given
      bankruptcy case. That neither party sought to determine the dischargeability of
     the Tuition Answer Loans until now does not alter whether or not the debts were
     discharged under Section 523(a)(8) at the time the Discharge Order was entered;
     thereafter they both proceeded at their own risk. Any ambiguity in the law, or
      uncertainty as to the injunction's applicability to the Tuition Answer Loans, is
      relevant to the inquiry as to whether any contempt viola#ion, if proven, was willful.
      Accordingly, the Court will not dismiss the claim on that basis. Whether or not the
      evidence at trial will support the claim is a matter for another day.


      $ The Court rejects the notion Plaintiffs claim would need to be dismissed on procedural grounds
      for failure to file a motion for contempt in the main bankruptcy case, as that requirement would
      elevate form over substance. See, e.g., Gray v, Nussbeck(ln re Gray), 586 B.R, 347, n.19(Bankr,
      D. Kan, 2018); Montano v. First Light Fed. Credit Union (In re Montano), 398 B.R, 47, 55-56
      (Bankr. D.N.M. 2008).
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            B.     The Rule 12(f) Motion to Strike.

           Rule 12(~ allows a court to strike from a pleading "any redundant,
     immaterial, impertinent, or scandalous matter."               Fed.R.Civ.P. 12(f~;
     Fed.R.Bankr.P. 7012(b). But "[s]triking a portion of a pleading is a drastic remedy;
     the federal courts generally view motions to strike with disfavor and infrequently
     grant such requests," Pu►zel Video GmbH v. Smoak, 11 F.Supp.3d 1020, 1029
     (D. Colo. 2014)(citing 5C Arthur R. Miller &Mary Kay Kane, Federal Practice and
     Procedure § 1380 (3d ed. 2011)).

            The purpose of Rule 12(f) "is to conserve time and resources by avoiding
     litigation of issues which will not affect the outcome of a case." Sierra Club v. Tri—
     State Generation &Transmission Assn, 173 F.R.D. 275,285(D. Colo.1997)(citing
     United States v. SmugglerDurant Mining Corp., 823 F.Supp. 873, 875
     (D. Colo.1993)). Accordingly, courts deny motions to strike immaterial and
     impertinent matter "unless it can be shown that no evidence in support ~f the
     allegations] would be admissible." United States v. Shell Oil Co., 605 F.Supp.
      1064, 1085 (D. Colo. 1985)(quoting Lipsky v. Commonwealth United Corp., 551
      F.2d 887, 893 (2d Cir. 1976)). "only allegations `so unrelated to plaintiff's claims
      as to be unworthy of any consideration' should be stricken." Id. (quoting EEOC v.
      Ford Motor Co., 529 F.Supp. 643, 644 (D. Colo. 1982)). Further, "[i]rrelevant
      allegations will be stricken as scandalous only if they degrade defendants' moral
      character, contain repulsive language, or detract from the dignity of the court."
      Sierra Club, 173 F.R.D. at 285(citing Nault's Auto. Sales v. American Honda Motor
      Co., 148 F.R.D. 25, 30(D.N.H.1993)(further citation omitted)).

             "Even where the challenged allegations fall within the categories set forth
      in the rule, a party must usually make a showing of prejudice before the court will
      grant a motion to strike." Sierra Club, 173 F.R.D. at 285. ``Inappropriately
      hyperbolic allegations, ill-conceived attempts at levity, and other similar
      manifestations of bad judgment in drafting pleadings, by themselves, fall short of
      the threshold that Rule 12(fi~ contemplates." Saylavee LLC v, Hockler, 228 F.R.D.
      425, 426 (D. Conn. 2005).

            It is important to keep in mind Plaintiffs' allegations are made against a
      corporate entity in a matter that will be tried to the Court. Although Plaintiffs'
      allegations in paragraphs 1 and 9 through 19 may be hyperbolic, they are not so
      unrelated to Plaintiffs' claims as to be unworthy of any consideration. To the
      contrary, the allegations are relevant to Plaintiffs' claim for violation of the
      discharge injunction. The Court, therefore, denies Navient's motion to strike the
      allegations.



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   Case:17-01274-KHT Doc#:30 Filed:09124118     Entered:09/24/18 15;34:11 Page18 of 18

    ORDER ON MOTION TO DISMISS
    Adversary No. 17-01274 KHT                                                                      i


    VI.    CONCLUSION

           For the reasons stated herein, the Court DENIES the Motion to Dismiss
    Plaintiffs` Claims Under Fed.R.Civ.P. 12(b)(6) and Motion to Strike Immaterial and
    Impertinent Matter Under Fed.R.Civ.P. 12(f} filed by Defendant Navient Solutions,
    LLC.

     Dated: September 24, 2018.
                                              BY THE COURT:



                                              Kimberley N. Tyson                                        !
                                              United States Bankruptcy Judge




                                              18




                                                                                         USBC 202
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
                    Doc#:40-2 Filed:10/09/18
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                                      Ex.B

            JOINT CERTIFICATION FOR DIRECT,INTERLOCUTORY APPEAL




                                        2~


                                                                             USBC 203
Case:17-01274-KHT
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                    Doc#:40-2 Filed:10/09/18
                               Filed:10/11/18 Entered:10/09/18
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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

  In re:                                        )
                                                        Case No. 09-37480(KHT)
  BYRON PATTERSON MCDANIEL JR. )
  AND LAURA PAIGE MCDANIEL     )                        Chapter 13

           Debtors.                             )


   BYRON PATTERSON MCDANIEL JR. )
   AND LAURA PAIGE MCDANIEL,    )
                                                        Adversary Proceeding No. 17-01274-KHT
           Plaintiffs,                          )                                                                 ~
   v.                                           )

   NAVIENT SOLUTIONS,LLC,                       )

            Defendant.                           )
                                                                                                                      i


                 CERTIFICATION TO COURT OF APPEALS BY ALL PARTIES


            A notice of appeal having been filed in the above-captioned matter on October 9, 2018,

   Plaintiffs Byron Patterson McDaniel Jr. and Laura Paige McDaniel, and Defendant Navient

   Solutions, LLC("NSL," and with Plaintiffs, the "Parties"), who are all ofthe parties in this case

   acting jointly, hereby certify to the court under 28 U.S.C. § 158(d)(2)(A) and Fed. R. Banlcr. P,

   8006(c) that a circumstance specified in 28 U.S.C. § 158(d)(2) exists as stated below.

            Leave to appeal in this nnatter;

            D       is required under 28 U.S,C, § 158(a)

             ❑      is not required under 28 U.S,C. § l 58(a)

             This certification arises in an appeal from this Court's Order on Motion to Dismiss and

    Motion to Strike (the "Order"), dated September 24, 2018 (Dkt. No. 30), which is an




    49043190.2


                                                                                                       USBC 204
Case:17-01274-KHT
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  interlocutory order or decree. Accordingly,the Parties hereby request leave to appeal as required

  by 28 U,S.C, § 158(a).

          In accordance with 28 U.S.C,.§ 158(d)(2)(A)(i)-(iii), the Parties hereby certify that:

                  i,     the judgment, order or decree involves a question of
                         law as to which there is no controlling decision of
                         the court of appeals for the circuit or of the Supreme
                         Court of the United States, or involves a matter of
                         public importance;                                                                      ',

                  ii,     the judgment, order or decree involves a question of
                          law requiring resolution of conflicting decisions;
                          and

                  iii.     an immediate appeal from the judgment, order or
                           decree may materially advance the progress of the
                           case ox proceeding in which the appeal is taken,




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   49043190.2


                                                                                                      USBC 205
Case:17-01274-KHT
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                    Doc#:40-2 Filed:10/09/18
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                                                                          Page206
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                                                                                   69
                                         221




          Dated this 9th day of October, 2018,

                                                 SHERMAN &HOWARD L.L,C,


                                                 /s/Eric E. Johnson
                                                 Eric E. Johnson
                                                 Carla R. Martin
                                                 633 Seventeenth Straet, Suite 3000
                                                 Denver, Colorado 80202
                                                 Tel:(303)297-2900
                                                 E-Mail; ejohnson@shermanhoward,com
                                                          cmartin@shermanhoward.com

                                                 Counselfor Navient Solutions, LLC



                                                   and


                                                 /s/Austin Smith
                                                 Austin Smith
                                                 SMITH LAW GROUP
                                                 3 Mitchell Place
                                                 New York, New York 10017
                                                 Tel: (917)992-2121
                                                 E-mail: austin@acsmithlawgroup.com

                                                  Counselfor Plaintiffs Byron Patterson
                                                  McDaniel Jr, and Laura Paige McDaniel




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Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
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                                   CERTIFICATE OF SERVICE


          Tl~e ur~~iersigned hereby certifies the ~fl~lowing part}es received atrue-and correct copy of
  the foregoing CERTIFICATION TO COURT OF APPEALS BY ALL PARTIES via a
  Notice of Electronic Filing transmitted by CM/ECF in accordance with Local Bankruptcy Rule
  5005-4(a) on the 9th day of October, 2018;

   Austin Smith
   austin@acsm.ithlawgroup.com




                                                /s/Roberta Neal




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    49043190.2


                                                                                                          USBC 207
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
                    Doc#:40-2 Filed:10/09/18
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                                      Ex.C

                CIRCUIT ORDER GRANTING MOTION FOR LEAVE TO
                       NAT~IENTSOLUTIONS,LLC[~ CROCKER




                                                                             USBC 208
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
                    Doc#:40-2 Filed:10/09/18
                               Filed:10/11/18 Entered:10/09/18
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                                         221
         Case: 18-90016    Document: 00514444924             Page: 1   Date Filed: 04/25/2018




                          United States Cor~~t ofAppeals
                                      FIFTH CIRCUIT
                                            .
                                   OFFICE OF' t'H~; CLERIC

      GYLC W.CAYGE                                                            1'EL. 504-310-7700
      CLERK                                                                G00 S, MAESTRI PLACE
                                                                          IVEW ORLEANS,LA 70130



                                   April 25, 2018

     MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:

          No. 18-90016       Navient    Solutions,            L.L.C.,     et    al    v.    Evan
     Crocker, et al
                             No. 16-3175


     Enclosed is an order entered i.n this case.


                                        Sincerely,
                                        LYLE W. CAYCE, Clerk


                                                   ~ ~,~~~-,
                                         By:
                                         Angelique B. Tar ie, Deputy Clerk
                                         504-310-7715

     Mr.    Jason W. Burge
     Mr.    George F. Carpinello
     Mr.    Thomas Miles Farrell
     Mr .   Di.on W . Hayes
     Mr.    Kyle Hosmer
     Ms.    Karen Elizabeth Sieg
     Ms.    Lynn Elizabeth Swanson
     Ms.    Susan Tran




                                                                                                   USBC 209
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
                    Doc#:40-2 Filed:10/09/18
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          Case: 18-90016   Document: 00514444910     Page: 1    Date Filed: 04/25/2018




               IN THE UNITED STATES COURT OF APPEALS
                       ...FOR THE FIFTH CIRCUIT


                                      No. 18-90016


     1n re: Evan Brian Crocker, also known as Crocker Legal, P.L.L.C.

                 Debtor

     NAVIENT SOLUTIONS,L.L.C.; NAVIENT CREDIT FINANCE
     CORPORATION,

                 Petitioners

     v.

     EVAN BRIAN CROCKER, also known as Crocker Legal, P.L.L.C., formerly
     known as Evan Brian Haas; MICHAEL SHAHBAZI,formerly known as
     Montana Shahbazi; WENDY L. LANDES; RAEGENA SEITZ-MOULDS,

                  Respondents



                                 Motion for Leave to Appeal
                               Pursuant to 28 U.S.C. § 158(d)


     Before DAMS, CLEMENT, and OWEN, Circuit Judges.

     PER CURIAM:

            IT IS ORDERED that the unopposed motion for leave to appeal under
     28 U.S,C. § 158(d) is GRANTED.




                                                                                         USBC 210
Case:17-01274-KHT
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                                      Ex.D

         TRANSCRIPT FROM HEARING ON MOTION FOR SUMMARY JUDGMENT,
                      CROCKER V. NAVIENTSOLUTIONS,LLC




                                        29


                                                                             USBC 211
Case:17-01274-KHT
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                    Doc#:40-2 Filed:10/09/18
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          Case 1G-03175 Document 197 Filed in TXSB on 03/08/18 Page 1 of 46



                                 L7NITED STATES BANiCR'UPTCY COURT
                                   SO'(7THERN DISTRICT OF TEXAS




             EVAN 812IAN HAAS,                  )      CASE NO: 16-03].75
                                                       ADVERSARY
                               Plaintiff,       )
                                                       Houston, Texas
                   vs.                           )
                                                       Monday, March 5, 2018
             NAVIENT, INC, ET AL,                )
                                                       (3:28 p.m, to 4:20 p.m.)
                               Defendants.       )



                                   MOTION E'OI2 StiJNlN1ARY JUDGMENT

                             BEFORE TT-iE HONORABT,E DAVID R. JONES,
                                UNITED STATES BANKRUPTCY JUDGE




              Appearances:                  See page 2


              Court Reporter:               Recorded; E'TR


              Transcribed by:               Exceptional Reporting Services, Inc
                                            P,O. Box 18668
                                            Corpus Christi, TX 78480-8668
                                            361 949-2988




              Proceedings recorded by electronic sound recording;
              transcript produced by transcription service.
                               EXCEPTIONAT, REPORT~NC SERVICES, YI~C




                                                                                  USBC 212
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
                    Doc#:40-2 Filed:10/09/18
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                                                                                2



             APPEAT2ANCES FOR:
                                                             __

             Plaintiff:                    JASON,W. BURGS, ESQ.
                                           Fishman Haygood
                                           201 St. Charles Ave., Suite 4600
                                           New Orleans, LA 70170

                                           MARC D. MSCER.S, ESQ.
                                           Ross Banks May Cron & Cavin
                                           7700 San Felipe, Suite 550
                                           ~-Touston, TX 77063

                                           LYNN E. SWANSON, ESQ.
                                           Jones Swanson Huddell & garrison
                                           601 Poydras St., Suite 2655
                                           New Orleans, LA 70.30

                                           CA'Z'TiY JOHNSON, ESQ.

                                           ADAM CORRAL, ESQ.
                                           Corral Txax~ Singh
                                           1010 Lamar St., Suite 1.160
                                           Tiouston, TX 77002


              Defendants:                  THOMAS M. ~'ARRELL, ESQ.
                                           KAREN ELIZABETH SYEG, ESQ.
                                           McGuire Woods
                                           600 Travis, Suite 7500
                                           Houston, T% 77002




                               EXCEPTIONAL REPORT2DTG SER.VZCES, INC




                                                                               USBC 213
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:36-1
                    Doc#:40-2 Filed:10/09/18
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         1            Houston, Texas; Monday, March 5, 2018; 3:28 p.m.
                          _
         2                                  (Call to order)

         3         (Hearing already in progress)

         4               THE COURT:        -- 3175, Haas versus Navient.

         5               NTR.. ~'ARRELL:    Judge, our adversaries were not right


          6   out there in the hall.         You want to go see if T can find them?

          7              THE COURT:        Yes, T greatly appreciate that.


          8   Hopetul.l.y they won ~ t be far ,

          9         (Pause from 3:28 p.m. to 3:29 p.m.)

         10               MR. FARRELL:       Your Honor, they are not aut there.


         11   They -- I saw them get in the elevator when we took the last

         12   break but I don't know which direction they went.

         13               THE COURT:       Got it, thank you.   Best laicl plans, T


         14   suppose.

         15               MR. FARRELL:       But I'm sure they'll be ri,gh~ here.

         16               THE COURT:       oh, they went to the library?       All right,

         17   okay, got it.     Hopefully it won't be long,

         18         (Pause from 3:29 p.m. to 3:30 p.m.)

         19               MR. SPEAKER:       Thank you, your Honor.


         20               TTiE COURT:      Certainly.   All right, --


         21               MR. SPEAKER:       Sorry, your Honor (indisc.)

         22               THE COURT:       I -- it -- you~re not late, it's exactly

         23   3:30.    So called the case.        I~ you~d just go ahead and make

         24    your appearances, please.        Mr. Farrell, we~l1 start with you.

         z5               //
                               EXCEPTIONAL REPORTING SE2Z'VICES, TT~TC




                                                                                     USBC 214
Case:17-01274-KHT
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                                                                                        12


         ~                 MR. sURGE:     -- kicked the can who knows how far down

         2     the road.

         3                 THE CO'C7RT:   Right.   Here's my view of the most

         4     efficient way.     I've thought a lot about this if you ha~cren't

         5     figured that out.      I may be wrong about so many things but T've

         6     thought about it a lot, is that i~ a party waa going to appeal

         7     the issue regarding the statutory interpretation question, it

         8     would seem to me that I can immeclia~ely certify that for direct

         9     appeal to the Fifth Circuit; because Z agree quite honestly not

        10     only in this case but this interpretation question comes up a

        11     lot.    And it would be nice to have something nice, succinct, on

        12     the point, not dricren by something a1se, but only on this

         13    issue.    And so my thought would be is that if I certified it

         14    for a direct appeal, is that I would stay everything sufficient

         15    to allow the losing party to go to the Fifth Circuit and seek a

         16    stay.    Obviously if the circuit stayed it, then the answer is -

         1.7   - T mean, there isn't going ~.o be any decision by me that would

         18    change that.     If the circuit refused the direct appeal, which

         19    i~ certainly has the right to do, the I think that that would

         20    dictate a different set of results.           I also think that a

         21    decision to deny motion to stay by the circuit would send a

         22    message not to me as to the merits of what they thought but as

         23    to what they expected to occur in the litigation.            So that's

         24    actually my thought.        Because I agree with you, I don't wand to

         25     go through a long, drawn out, complicated certification hearing
                                 E}CCEPTTOI~AL REP012TSNG SE12'VZCES, INC




                                                                                    USBC 215
Case:17-01274-KHT
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         1     if I turn out to be wrong on this issue.         Or I don't want the

         2     certification to fall apart because T got it wrong from the

          3    Plaintiffs' point of view.          I just -- to me, it just made

         4     sense.   Any -- either one of you ha~cre a reaction to that?

          5               MR. FARRELL:      That was our thought when we filed the

          6    motion, Judge.    And, you know, we didn.'t put explicitly in

          7    papers ghat was the p1.an, bud I came here today p~.anning to

          8    tell you -~

          9               THE COURT:       Sure.

         10               Mlt. FARR~I,L:     -- exactly what Z told you.        So we

         11    think that makes sense.

         1.2              THE COURT:       All right.    So what -- you agree?

         13               MR. Bi7RGE:      And, I mean, my only concern is that I

         14    think that, you know, deferring time does harm to this class.

         1.5   But Z -- you know, I think --

         1.6              THE COURT:       How So?

         l.7              NtR. BURGS:      Well, only because our class members,

         1.8   these debts, the ones that are at issue in this case, it is

         l9    true that they are no longer getting discharge violations --

         20               TT~E COURT:      Right.

         21               MR. BU'12GE:     -- from what the reports we're hearing.

         22    But these debts are still on their creda.t. reports, they~re

         23     still impacting their access to credit.          It's still causing

         24     problems for them as they move forward because these debts have

         25     not formally been recognized as dischaxgecl by Navient.            T agree

                                EXCEPTIONAL T2EPORTTNG SERVICES, INC



                                                                                        USBC 216
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         Case 16-03175 Document 197 Filed in TXSB on 03/08/18 Page 46 of 46



                                                    CERTIE'ZCATION




                                                                       the
             I certify that the foregoing is a correct transcript Pram

             electronic sound recording of the proceedings in the above-

             entitled matter.




                             /     .~--cite-~....
                                                                      March 8, 2018


                          Signed                                        Dated




                                         TONI HT7llSON, TRANSCRIBER




                                 EXCEPTIONAL REPORTING SERVICES, INC




                                                                                      USBC 217
Case:17-01274-KHT
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                  Doc#:36-2 Filed:10/11/18
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                                           Entered:10/09/18 15:29:16
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                                                                              1
                                      221


                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                             )
                                    )                  Case No. 09-37480-KHT
 BYRON PATTERSON McDANIEL JR.       )
 AND LAURA PAIGE McDANIEL           )                  Chapter 13
                                    )
       Debtors.                     )
 __________________________________ )
                                    )
 BYRON PATTERSON McDANIEL JR.       )
 AND LAURA PAIGE McDANIEL,          )
                                    )                  Adversary Proceeding No. 17-01274-KHT
       Plaintiffs,                  )
 v.                                 )
                                    )
 NAVIENT SOLUTIONS, LLC,            )
                                    )
       Defendant.                   )
 _____________________________________________________________________________
  [PROPOSED] ORDER GRANTING UNOPPOSED MOTION TO STAY ADVERSARY
               PROCEEDING PENDING INTERLOCUTORY APPEAL
 _____________________________________________________________________________

          THIS MATTER having come before the Court upon Defendant Navient Solutions, LLC’s

 Unopposed Motion to Stay Adversary Proceeding Pending Interlocutory Appeal (the “Motion),

 the Court having reviewed the Motion and the pleadings and files in this matter to the extent

 deemed necessary by the Court, the Court noting that the Motion is unopposed by the Plaintiff,

 and for other good cause appearing, now, therefore:

          IT IS HEREBY ORDERED that, for the reasons set forth in the Motion, the Court hereby

 stays this adversary proceeding in its entirety pending appeal pursuant to Fed. R. Bankr. P.

 8007(a)(1)(D).

 Dated:                 , 2018
          Denver, Colorado           KIMBERLY H. TYSON
                                     UNITED STATES BANKRUPTCY JUDGE




 49044823.3
                                                                                         USBC 218
Case:17-01274-KHT
 Case:17-01274-KHT Doc#:40-2
                    Doc#:38 Filed:10/11/18
                             Filed:10/11/18 Entered:10/11/18
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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:                       )
                              )                        Case No. 09-37480-KHT
 BYRON PATTERSON McDANIEL JR. )
 AND LAURA PAIGE McDANIEL     )                        Chapter 13
                              )
      Debtors.                )
                              )
                              )
 BYRON PATTERSON McDANIEL JR. )
 AND LAURA PAIGE McDANIEL,    )
                              )                        Adversary Proceeding No. 17-01274-KHT
      Plaintiffs,             )
 v.                           )
                              )
 NAVIENT SOLUTIONS, LLC,      )
                              )
      Defendant.              )


                   ORDER GRANTING UNOPPOSED MOTION TO STAY
           ADVERSARY PROCEEDING PENDING INTERLOCUTORY APPEAL


          THIS MATTER having come before the Court upon Defendant Navient Solutions, LLC’s

 Unopposed Motion to Stay Adversary Proceeding Pending Interlocutory Appeal (the “Motion),

 the Court having reviewed the Motion and the pleadings and files in this matter to the extent

 deemed necessary by the Court, the Court noting that the Motion is unopposed by the Plaintiff,

 and for other good cause appearing, now, therefore:

          IT IS HEREBY ORDERED that, for the reasons set forth in the Motion, the Court hereby

 stays this adversary proceeding in its entirety pending appeal pursuant to Fed. R. Bankr. P.

 8007(a)(1)(D).

 Dated: October 11, 2018.
        Denver, Colorado             KIMBERLEY H. TYSON
                                     UNITED STATES BANKRUPTCY JUDGE




                                                                                         USBC 219
Case:17-01274-KHT
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

  In re:

  BYRON PATTERSON McDANIEL JR.                       Case No. 09-37480 KHT
  and LAURA PAIGE McDANIEL,
                                                     Chapter 13
       Debtors.


  BYRON PATTERSON McDANIEL JR.                       Adversary No. 17-01274 KHT
  and LAURA PAIGE McDANIEL,

       Plaintiff,
  v.

  NAVIENT SOLUTIONS, LLC,

       Defendant.


                CERTIFICATION PURSUANT TO 28 U.S.C. § 158(d)(2)

        A notice of appeal having been filed in the above-captioned matter on
 October 9, 2018, and a Joint Certification to the Court pursuant to 28 U.S.C.
 § 158(d)(2)(A) having been filed by Plaintiffs Byron Patterson McDaniel Jr. and
 Laura Paige McDaniel, and Defendant Navient Solutions, LLC (“NSL,” and with
 Plaintiffs, the “Parties”), who are all of the parties in this case acting jointly, the
 Court hereby

       CERTIFIES pursuant to 28 U.S.C. § 158(d)(2)(A) and (B) and Fed. R. Bankr.
 P. 8006(c) that a circumstance specified in 28 U.S.C. § 158(d)(2) exists as stated
 below.

        This certification arises in an appeal from this Court’s Order on Motion to
 Dismiss and Motion to Strike (the “Order”), dated September 24, 2018 (Dkt. No.
 30), which is an interlocutory order or decree. Leave to appeal in this matter is
 required under 28 U.S.C. § 158(a). In accordance with 28 U.S.C. § 158(d)(2)(A)(i)
 and (iii), the Court hereby certifies that:

                    i.      the judgment, order or decree involves a question of law as to
                            which there is no controlling decision of the court of appeals



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                     for the circuit or of the Supreme Court of the United States, or
                     involves a matter of public importance; and

               ii.   an immediate appeal from the judgment, order or decree may
                     materially advance the progress of the case or proceeding in
                     which the appeal is taken.


       The Clerk is directed to transmit this Order, and related notices along with a
 preliminary record to the Clerk of the Tenth Circuit Court of Appeals.

       Dated this 11th day of October, 2018.

                                              BY THE COURT:


                                              _________________________
                                              Kimberley H. Tyson
                                              United States Bankruptcy Judge




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